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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Wednesday , June 13, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 10:03 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS TESTIMONY AND PROCEEDINGS             AS
15       RECORDED AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




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 1                              I N D E X

 2                         DIRECT       CROSS    REDIRECT   RECROSS

 3 Doug Malarkey                         9

 4 Stanley    McLean       12           19

 5 Donald    Rigby         21           39

 6 Michael Johnson         44           57        61

 7 Timothy Anderson        62           78

 8 Nathan King             80           169

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24 Reporter's Certificate                                   222

25 Concordance                                              223




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 1           THE COURT:       Before   I entertain   any preliminary

 2 matter s, let me say something          I feel very strong

 3 strong ly about .      When I have     a jury wait ing , I don't

 4 want to have     them delay ed with      un necessary   preliminary

 5 matter s.     If you have a preliminary       matter    you know

 6 you're    going to need to raise , let me know that ,

 7 hope fully the evening        before , so we can start early and

 8 we not have the jury wait ing .          I don't want the jury

 9 waiting while we debate fine points of law.

10           We're going to conclude        today at 4:30 .

11 Tomorrow , I have a        guilty   plea at 9 o'clock , and we

12 will start at 10:00.          If there are any preliminary

13 matter s for tomorrow , just come for the guilty             plea ,

14 and when it 's over , we will take them up between             the

15 end of the guilty         plea and the beginning    of the

16 proceed ings for the day , and we also start at 10

17 o'clock     on Friday .

18           As of right now , there will be a short day on

19 July 20 because     all of the judge s of this court are

20 venturi ng forth on Capitol          Hill to meet with all of our

21 Congress     member s, and so we will be leavi ng here -- I

22 think we will     be able to have some session          that day but

23 not a whole session .         And as of right now , unless

24 something     change s, such as like I got to get it done

25 earlier , I'm going to have surgery          on July 21 , so we




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 1 will have a nice , three -day weekend        for you for that

 2 weekend .

 3           MR. SUSSMAN :     The 20 th is about a half a day ,

 4 would you estimate       that ?

 5           THE COURT:      Yeah , I think -- if it 's a luncheon ,

 6 I'll probably     see if I can bargain      with the jury to

 7 start at 8:00 or 8:30 and go to 11 :00 or 11 :30 and send

 8 them home , but I won't do that if that 's going to

 9 destroy     the life of some juror .     With that said , Mr.

10 Martin , you have      a preliminary   matter ?

11           MR. MARTIN:      Yes , Your Honor .

12           MR. MONTEMARANO :       Could I ask the Court to give

13 us an idea of when you will know about our being able

14 to re schedule    July 21 to schedule      other thing s on July

15 21 ?

16           THE COURT:      Best I can tell you is there's about

17 a 99 percent     chance , unless    my shoulder   fall s off

18 between     now and then , that that 's going to be off .         The

19 only thing that would happen         is if sudden ly I had to

20 have it done earlier , and we could put it back on , but

21 I think you can pretty        much go to the bank we won't sit

22 on July 21 .

23           MR. MONTEMARANO :       I was going to make travel

24 plan s.

25           THE COURT:      I th ink that 's fair to go .




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 1           MR. MONTEMARANO :    Thank you , Your Honor .

 2           THE COURT:    Yes, sir .

 3           MR. MARTIN:    Very quick ly , Your Honor .

 4 Yesterday , you threw cold water on one of my brother

 5 defense   counsel   when he tr ied to pre serve the record ,

 6 and I just want ed to state that the Fourth           Circuit .

 7           THE COURT:    Tell me what you're      referring       to

 8 because   I'm not sure I know what you mean .

 9           MR. MARTIN:    Well , Mr. Sussman     got up yesterday

10 and he want ed to make a point about renew ing his Motion

11 for Severance    and everyone     though t -- I had a case last

12 year that I argue d in March , and even though           I had

13 move d for Judgment     of Acquittal    and raise d a particular

14 issue and then move d again at the conclusion            of my case

15 in chief , one of the panel member s said to me , well ,

16 Mr. Martin , you didn't     object   to the verdict      sheet , and

17 Mr. Martin    you didn't   raise the issue during        the

18 testimony    of the witness    in question .

19           The point I'm get ting at is , Your Honor , I think

20 the Fourth    Circuit   require s us to make the record          at

21 every opportunity , and I don't think          Mr. Sussman 's

22 wasting   a lot of time yesterday , and I would like to

23 let the Court know that I intend         to stand up and

24 pre serve an issue .

25           THE COURT:    First of all , nobody      should   be




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 1 bash ful in this courtroom        with me .     I expect   you to be

 2 zealous    advocate s.    That 's one of the first oblig ations

 3 you -all have , and if there 's somebody          who think s their

 4 proffer    was not adequate ly heard , I will        be glad to

 5 hear the proffer .       I don't want to shut anybody         off .

 6           MR. MARTIN:     The second     thing , Your Honor , is

 7 before    -- I could n't raise it yesterday , you left the

 8 bench so quick ly , so I could n't address          it after the

 9 jury had left .

10           THE COURT:     Okay .

11           MR. MARTIN:     The next thing is , at some point ,

12 we have to address       a 609 issu e.    Ms. Greenberg      and I

13 have agreed to cross swords         on that , so -- before         he

14 testifi es .

15           MS. GREENBERG:      Your Honor , may I suggest        we

16 come back ten minute s before        the lunch break ?       The

17 witness    won't be on until this afternoon .

18           THE COURT:     I will    try to make the lunch break a

19 little    bit long er than normal , like an hour and ten

20 minute s, so th at we can we take it up without

21 short ening their lunch , plus I have           a judge 's meet ing

22 today , but I'll work out something           on that with you .

23 Okay .    Anything   else ?

24           MR. MONTEMARANO :       With regard    to preliminary

25 matter s, Your Honor , request ing notice          as much in




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 1 advance     as possible , if something       come s up in the

 2 evening , would you want us to           call chambers?

 3            THE COURT:     Yeah , call chamber s and let      us know

 4 you have     a preliminary     matter , but what I want to make

 5 sure is I don't want to have this jury out there

 6 cool ing their heel s.        My over ridi ng concern     is to have

 7 a fair trial for both sides , but my next over ridi ng

 8 concern     is I don't want to take , now 15 citizen s away ,

 9 from th eir livelihood        and everything    else and then have

10 them sit here .

11            So I want to make sure that they are in the

12 seat s hear ing testimony       as I've promise d them .      I don't

13 want to dis courage       anybody     from maki ng proffer s or

14 maki ng preliminary       matter s.     I just want to do it so

15 it's courteous     to the jury , and if       Mr. Sussman    would

16 like at any time today to make an addition al proffer                 on

17 that matter , I will       be glad to hear him .

18            All right .    Are we ready for the jury ?        Bring

19 them in .

20                   (Witness    resume s the stand .)

21                   (Jury returns at 10       :09 a.m.)

22            THE COURT:     Good morn ing , ladies and gentlemen        .

23 I want you to know there 's something           new in the

24 courtroom     today .    I should     tell you a story about that

25 big screen     over there .     That is , at least      I'm being




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 1 facetious , stolen     property .     It does not belong      in this

 2 courtroom , but because     you're     going to be see ing a lot

 3 of evidence , we purloin ed that from courtroom           2A.

 4          This build ing , like many other build ings , was

 5 too small the day it opened .          You may have    noticed       when

 6 you've   come in that there 's a dumpster        outside .      That

 7 is attempt ing to alleviate         one of the problem s.       I told

 8 you there were four district          judge s, and if you count

 9 them , there are three district         judge courtroom s, so

10 there 's a problem .     That 's being remedi ed by that

11 dumpster .

12          When this courthouse        opened , it also did not

13 have enough    magistrate   judge courtroom s, so the newest

14 courtroom    in this court house is       Courtroom   2A, and since

15 it 's the youngest     courtroom , it got all the newest

16 technology , bell s and whistle s, of which that 's one .

17 This is not my courtroom       either .     This is Judge

18 Messitte 's courtroom , and he and I are ironically              high

19 school   classmate s, so I'm using my classmate 's

20 courtroom    for this trial because        it 's big enough     to

21 handle   this many people .

22          Courtroom   2A is the one I'm shari ng until my

23 courtroom    is finish ed , but that 's the long , sad story

24 of we stole that from Courtroom           2A, so my colleague ,

25 Judge Day , has only got one of those thing s in his




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1 courtroom       instead   of the usual two .       With that , you

2 will be better         able to see some of these exhibit s that

3 you might not be able to see on those monitor s.

4             All right .     We're ready to resume

5 cross-examination         of the witness .      You've   already    been

6 sworn .      You may proceed .

7                             CROSS-EXAMINATION

8             BY MR. MONTEMARANO :

9 Q.          Is it Officer     Malarkey ?

10 A.         Corporal     Malarkey .

11 Q.         Corporal ?

12 A.         Yes, sir .

13 Q.         Good morn ing .     How are you , sir ?

14 A.         Fine , sir.     How are you ?

15 Q.         Fine .   I've got      a couple   of question s concern ing

16 your testimony        yesterday    concern ing the vehicle      seizure

17 and John Martin .

18 A.         Yes, sir .

19 Q.         Mr. Malarkey , do you have your note s with you

20 from the stop ?

21 A.         No, sir , I don't have       any paperwork    with me .

22 Q.         Do you recall     that he provided       you a license ?

23 A.         No , I don't believe       he provided    a license , just

24 registration .

25 Q.         What was the add ress on the         registration , if you




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 1 recall ?

 2 A.         I don't recall , sir .

 3 Q.         Did he, at any time in his statement          to you , use

 4 the word Paulette        or name Paula ?

 5 A.         No, sir .

 6            MR. MONTEMARANO :     No further    question s.

 7            MR. MARTIN:      Mr. Goodwin    has no question s for

 8 Officer     Malarkey .

 9            MR. HALL:      Your Honor , very brief ly if I may .

10                            CROSS-EXAMINATION

11            BY MR. HALL:

12 Q.         Corporal , do I understand       correct ly that Mr.

13 Martin     was the only person     in the vehicle ?

14 A.         Yes, sir .     He was the driver    and sole occupant

15 of the vehicle .

16 Q.         You indicated     yesterday    in reference   to several

17 exhibit s that there was a black , powdery          substance ,

18 which was fingerprint         powder ; is that correct ?

19 A.         Reference     to the kilo that we de scribe d

20 yesterday ?     Yes, sir .

21 Q.         And are you aware whether        there are any result s

22 from that fingerprint ing ?

23 A.         No, sir .     I was not advise d as to the result s of

24 the fingerprint ing of any of the evidence .

25 Q.         You have no reason     to believe    that my client ,




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 1 Reece Whiting 's fi ng er print s would have been on there ?

 2 A.          I have   no knowledge     of your client 's

 3 fingerprint s.

 4             MR. HALL:    Thank you .

 5             THE COURT:     Any additional        cross ?

 6             Any re direct ?

 7             MR. WARD:    No .     None from Ms. Dobie .         No

 8 question s, Your Honor .

 9             THE COURT:     You may step down , Officer .             I'm

10 sorry , you do have re direct ?

11             MS. JOHNSTON:        No , I don't,    Your Honor .       We're

12 finish ed with       this witness .

13             THE COURT:     You may step down .

14                          (Witness     excused     at 10 :13 a.m. )

15             MS. JOHNSTON:        Our next officer     would be Officer

16 Mc Lean .

17             THE CLERK:

18 Thereupon,

19                               STANLEY MCLEAN ,

20 having been called as a witness on behalf of the

21 Plaintiff , and having been first duly sworn by the

22 Courtroom Deputy, was examined and testified as

23 follows:

24             THE CLERK:     State your full name            for the record .

25             THE WITNESS:        Officer   Stanley   McLean , Takoma




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 1 Park Police Department .

 2            THE CLERK:      Spell your last name .

 3            THE WITNESS:      M C L E A N.

 4                            DIRECT    EXAMINATION

 5            BY MS. JOHNSTON:

 6 Q.         How long have you been employ ed with the Takoma

 7 Park Police Department ?

 8 A.         Fi ve year s at the time .

 9 Q.         What was your assign ment on or about July 4,

10 2002 ?

11 A.         Takoma Park police operations           , patrol section .

12 Q.         Were you in a uniform ?

13 A.         Uniform ed , mark ed vehicle , yes, ma'am .

14 Q.         And on that day , did you have occasion           to have

15 contact     with a John Martin ?

16 A.         Yes , I did .

17 Q.         Could you de scribe        where and when you had that

18 contact ?

19 A.         Officer   Malarkey       and myself   conduct ed a traffic

20 stop at Tars kin and 13 th Street in reference              to a

21 possible     DUI driver .

22 Q.         When you say "DUI," what do you mean ?

23 A.         Drivi ng under the influence .           He was conduct ing

24 some er rat ic movements        on the road .      We suspect ed he

25 was under     some sort of influence         of toxins.




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 1 Q.         Were you and Officer Malarkey in separate cars?

 2 A.         We were in separate vehicles         .

 3 Q.         Was he the lead car ?

 4 A.         He was the lead car ; I was right be hind him .

 5 Q.         De scribe    what happened      right after the traffic

 6 stop was initiate d.

 7 A.         At the traffic      stop , Officer       Malarkey    and his

 8 partner , Officer        Mueller , approach ed the       vehicle .        At

 9 that time , Officer Mueller          approached the passenger

10 side and     Officer     Malarkey   was on the driver 's side and

11 began inter viewing        the driver .      He observe d an odor of

12 alcohol ic beverage        emanating      from the vehicle .         He

13 asked the driver         to step out , asked him for his

14 license .     At th at time , he then brought           him back to me

15 to conduct     a field sobriety        test , at which ti me I

16 start ed asking        question s about his -- any type of

17 medication s -- h e's under the influence               of any type of

18 doctor 's care .        He state d no .     I asked him if he was

19 drinking , he said I had a couple             beer s earlier     from in

20 the day .

21 Q.         What did you do at th at time ?

22 A.         At that time , I requested         permission       to search

23 his person     for weapon s and CDS.          At that time , I

24 re cover ed from his right , front pant s pocket               two

25 glas sine bag s with white powder , white rock sub stance ,




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1 suspect ed cocaine .       The subject     at that time start ed to

2 resist   and attempt ed to flee .        I call ed for Officer

3 Malarkey     and Mueller    for assistance .     He was then

4 detain ed in handcuff s and place d under arrest           at that

5 time .   Search    in cident   to arrest    at that time re covered

6 from his left , front pant s pocket          a blue piece of paper

7 with an un known type of pill s in it .          Suspect ed

8 medication     of an un known variety , I'm not sure .

9 Q.         You mention ed that you re cover ed two baggi es

10 that contain ed what appear ed to you to be drug s?

11 A.        Yes, ma'am .    It had a combination      of white rock

12 substance    and white powder     substance , suspect ed

13 cocaine .

14 Q.        What was the difference , based on your train ing

15 and experience , between       the white powder     substance    and

16 the white rock ?

17 A.        The white rock substance        is crack cocaine      and

18 the powder    is cocaine .

19 Q.        Let me show you what has been mark ed as

20 Government 's Exhibit      Drug s 36 and Drug s 37 .     And if you

21 can identify     those two item s.

22 A.        Yes, ma'am .

23 Q.        What are they ?

24 A.        These are the clear plastic        baggi es re covered

25 from his right , front pant s pocket .




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 1 Q.         There is a separate        bag attach ed to them that

 2 appear s to have the drug substance            in it .   Do you see

 3 those ?

 4 A.         Yes, ma'am     I do .

 5 Q.         Did you re move the substance        from the little

 6 baggi es or was that done at the lab ?

 7 A.         That was done at the lab for field testing              a nd

 8 chemical     testing .

 9 Q.         Also , the baggi es seem to have been split apart

10 and now are black .

11 A.         Yes, ma'am .     I believe    they did that at the lab

12 for fingerprint        analysis .

13 Q.         Other than those two change s, the substance

14 having     been re move d from      the baggi es and the baggi es

15 having     been split and black en ed with finger          po wder , are

16 these the drug s that you seize d?

17 A.         Yes, ma'am .

18 Q.         What did you do with these drug s after you

19 seize d them and the little           bagg ies from   Mr. John

20 Martin ?

21 A.         Well , they were submitted        as evidence    for

22 Officer     Malarkey     and the DEA's case .

23 Q.         Were they turn ed over , then , to the DEA?

24 A.         Yes .

25 Q.         I want to show you a couple         of other exhibit s




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 1 very quick ly .     JM-2.

 2 A.       yes, ma'am .

 3 Q.       JM-5 and JM-6 .       If you can tell us what those

 4 three item s are .

 5 A.       Okay .     After I place d the subject      in custody , at

 6 this time I re covered        from his right , front pant s

 7 pocket   his wallet , a black tri -fold wallet           and a MAMSI

 8 identification      card belong ing to    Mr. Martin .      This was

 9 also , I believe , the white piece of paper on which the

10 pill s were fold ed up in in his left pant s pocket .

11 Q.       Did you re cover all of those from Mr. Martin ?

12 A.       Yes, ma'am , I did .

13 Q.       In regard     to that white piece of paper -- I can

14 put it up on the screen         so everyone     can see it -- could

15 you read the name that 's in the center            of that and the

16 telephone   number 's associate d with that name ?

17 A.       Phone Number       301 -422 -9254 , I believe    it 's

18 pronounce d "Neece ."

19 Q.       That 's at the very top ?

20 A.       Mm-hmm .

21 Q.       The second     tel ephone   number ?

22 A.       301 -422 -6523 .     I believe   it 's "Grudi " or "Gudi ."

23 Q.       Finally , the MAMSI part so that everyone                can see

24 it .

25 A.       The MAMSI 's insurance       card belong ing to member




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 1 name John A. Martin , Jr .

 2 Q.       Let me do something      so it 's easier        to see .

 3 A.       Okay .    Member   name Martin , last name comma John

 4 A. Jr , MAMSI 's insurance      card , I believe .

 5 Q.       What is the effective          date of that ?

 6 A.       The e ffect ive date is 7/1/96 .

 7 Q.       The plan is in the name of what ?

 8 A.       MAMSI .

 9 Q.       The plan number ?      What's     the name of the --

10 A.       The plan number      is Paula 's School of        Performing

11 Arts .

12 Q.       Do you know where Paula 's School of Perform ing

13 Art s is locate d?

14 A.       No, ma'am .    I'm not familiar       with that at this

15 time .

16 Q.       Did you do any further          investigation     in this

17 case ?

18 A.       After the traffic      stop ?     No, ma'am .

19          MS. JOHNSTON:       Your Honor , I have no further

20 question s of this witness .

21          May I publish      the exhibit s?

22          THE COURT:     Yes , you may .

23          Any cross-examination      ?

24                         CROSS-EXAMINATION

25          BY MR. MONTEMARANO :




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1 Q.        Good morn ing , Officer         Mc Lean .   How are you ?

2 A.        Good morn ing , sir .

3 Q.        That card you were just look ing at .

4 A.        The insurance       card ?     Yes, sir .

5           MS. JOHNSTON:        Excuse     me , Your Honor , can I

6 interrupt ?      I seem to have forgot ten a question .

7           THE COURT:        All right .     That 's fine .

8                     FURTHER     DIRECT    EXAMINATION

9           BY MS. JOHNSTON:

10 Q.       Are there , in side of the wallet , some other

11 document s?

12 A.       Yes, ma'am .       Another     piece of paper,      a phone

13 number , a personal        identification      card , a medical

14 examiner 's certificate , I believe , for driv ing the --

15 or I'm un familiar     with it at this time -- some business

16 cards and a credit         card .   Another    piece of paper with         a

17 phone number     on it .     P ardon me one second .        Yes, ma'am .

18 I dropped     a piece of paper .        Here you go .

19 Q.       And the identification           item s were in the name of

20 Mr. Martin     as well ?

21 A.       That 's correct .

22 Q.       Let me show you this one piece of paper , and if

23 you can just read the name and telephone                number   that 's

24 on the piece of paper .

25 A.       At the top of the piece of paper is                Lois or




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 1 Luis , phone number : 240 -353 -8438 .

 2 Q.         Thank you .

 3            MS. JOHNSTON:        Now I'm done , Your Honor .    I

 4 appreciate        your indulgence .

 5            THE COURT:     All right .     You may proceed , Mr.

 6 Montemarano .

 7                       FURTHER    CROSS-EXAMINATION

 8            BY MR. MONTEMARANO :

 9 Q.         The identification       materials     that Ms. Johnston

10 just show ed you after I stood up and sat back down ,

11 they were from Mr. Martin 's wallet ; correct ?

12 A.         That 's correct , sir .

13 Q.         That 's the wallet      Ms. Johnston     holds in her hand

14 as far as     you can tell ?

15 A.         Yes, sir .

16 Q.         That was take n from       the right front pant s

17 pocket ?

18 A.         No .    The wallet    was re covered    from his right

19 rear pant s pocket .

20 Q.         Right here ?    The rear ?

21 A.         Yes, sir .

22 Q.         Back here ?

23 A.         Yes, sir .

24 Q.         It was certain ly on his person ?

25 A.         Yes, sir .




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 1 Q.       Also in that wallet            was the MAMSI card ; correct ?

 2 A.       Yes .

 3 Q.       That MAMSI card is one that said Paula 's School

 4 of Performing     Arts ?

 5 A.       I believe    so .     The A was mess ed up , so Paula 's

 6 School of Perform ing A-something , yes.

 7          MR. MONTEMARANO :            A-something ?   Thank you .

 8          THE COURT:        Any additional      cross-examination     ?

 9          MR. MARTIN:         None from Mr. Goodwin , Your Honor .

10          THE COURT:        All right .

11          MR. HALL:     No , Your Honor .

12          THE COURT:        Any re direct ?

13          MR. MITCHELL:         No .

14          MR. WARD:     No , thank you , your Honor .

15          THE COURT:        Silence      is a negative   unless    I hear

16 you stand up and say yes .             All right .    Any re direct ?

17          MS. JOHNSTON:         I have no re direct , Your Honor .

18          THE COURT:        Officer , you may step down .          Thank

19 you very much .

20                  (Witness     excused     at 10 :23 a.m. )

21          MS. JOHNSTON:         Our next witness       would be Don

22 Rigby fr om Western        Union .     I've advise d counsel      we're

23 call ing Mr. Rig by a little           out of turn because       of his

24 travel   schedule .

25 Thereupon,




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 1                              DONALD    RIGBY ,

 2 having been called as a witness on behalf of                the

 3 Plaintiff , and having been first duly sworn by the

 4 Courtroom Deputy, was examined and testified as

 5 follows:

 6            THE CLERK:      State your name        for the record .

 7            THE WITNESS:      Donald    Rigby .

 8            THE CLERK:     Sp ell your last name .

 9            THE WITNESS:      R-I-G-B-Y.

10                           DIRECT    EXAMINATION

11            BY MS. JOHNSTON:

12 Q.         Where are    employed?

13 A.         By Western     Union in St. Charles, Missouri.

14 That's near St. Louis.

15 Q.         And in what position?

16 A.         Subpoena    compliance     officer .

17 Q.         How long have you been employ ed by Western

18 Union ?

19 A.         Forty-five     year s.

20 Q.         Could you de scribe       for us what your duti es are

21 as a subpoena     compliance        officer ?

22 A.         I re view the subpoena s that come in from

23 attorney s and law enforcement , de sign the search

24 process , supervise       the search     process,     provide   the

25 records    and testify      the records .




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 1 Q.        The records     that you 're referring    to , are those

 2 records   that are create d and maintain ed by Western

 3 Union in the ordinary       course    of their business ?

 4 A.        Yes, ma'am .

 5 Q.        Are those records , are they paper records               or

 6 electron ic records      or both ?

 7 A.        We provide     both the -- mostly     what I testifi ed

 8 to are paper records .

 9 Q.        Let me show you what -- have you pull ed some

10 records   at the request of       law enforcement    in this case ?

11 A.        Yes, ma'am .

12 Q.        I'm going    to show you two set s of records            mark ed

13 as R-2 and R-3.        I would   first ask you whether       or not

14 you can identify       R-2 as being records      of Western       Union .

15 A.        Yes , this is a money transfer        record     from

16 Western   Union .

17 Q.        Are they paper records        or electron ic ?

18 A.        This is paper .     It 's -- they're    maintain ed in

19 the computer , but we print a copy of these when they're

20 request ed .

21 Q.        R-3 , if you can tell us whether        or not     those are

22 records   you provided     and which are maintained         by

23 Western   Union ?

24 A.        Yes , we did provide       these records , and it is

25 another   money transfer      maintain ed by Western       Union .




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 1 Q.         And both were maintain ed and create d in the

 2 ordinary     course    of business ?

 3 A.         That 's correct .

 4 Q.         I'm going to put that up on the screen .               If you

 5 have trouble        see ing them , please    let me know and I will

 6 bring them up closer         to you .     Start ing with R-2 and the

 7 first page , can you tell us what we're look ing at here

 8 on the screen ?

 9 A.         This is a computer      record    of a Western    Union

10 money transfer .

11 Q.         Start ing at the very top line , if you could walk

12 us through     what information         is contain ed on this

13 report .     And beginning     here with the very first line ,

14 what is that information ?

15 A.         That 's a money transfer        control   nu mber , ten

16 digits     that 's random ly assigned       by the computer     when

17 it 's in put to our system .

18 Q.         Is that a file number , so to speak , for this

19 particular     transaction ?

20 A.         That 's right .     It's an ID number .      Right .

21 Q.         If we go across there , there 's the reference              to

22 an agent CCC, and then some seven s and a P.                What does

23 that refer to ?

24 A.         Yeah .    That 's -- that field is for the agent ID.

25 In this case , it 's a credit           card transaction , so they




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 1 plug in the CCC and populate         it with number s.

 2 Q.       Then underneath     that , we have a reflection          of a

 3 payee and the name Nathan        King .    Can you tell us what

 4 that is ?

 5 A.       That 's the   receiver 's name .      That 's the receiver

 6 of the money .

 7 Q.       Continui ng with the next line , if you could tell

 8 us what that is .

 9 A.       That 's the phone number         that was record ed at the

10 time that it was call ed in .

11 Q.       So this was a call in ?

12 A.       Yes , it was .    Credit    card transactions      are

13 call ed in or turn ed in online .         This particular

14 transaction    was call ed in over the telephone .

15 Q.       Okay .   From this telephone        number ?

16 A.       That 's correct .

17 Q.       Is that information        that the computer     pick s up

18 when the call 's received , or is it information            that the

19 send er give s you when they call up to make the

20 transfer ?

21 A.       It 's pick ed up by the computer        and record ed like

22 a -- something     similar   to a call er ID.

23 Q.       If we go across that line further , there 's some

24 more information .      What is that information        across the

25 line ?




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 1 A.         Well , there 's a credit    card indicator , there 's a

 2 TDDA mean s telephone      direct    to Dallas .     That 's where

 3 our call center       was locate d in this transaction .

 4 Indicate s it was sent from Hyattsville , Maryland               on

 5 June 30 .     It does n't show the year there , but in other

 6 part s of this document , it will show that it 's June 30

 7 of ' 02.

 8 Q.         Is that the date reflect ed at the top --

 9 A.         Yes .

10 Q.         -- of the record ?     And then we will see it later

11 on ?

12 A.         Right .

13 Q.         And then the next line , if you could just walk

14 us through , what does that refer to ?

15 A.         That 's the ten digit money transfer         control

16 number     again .   And amount   is $200 , and the receiver 's

17 name be low that is Nathan        King .     That is will -call ,

18 that 's the type of service         we provide .     Nathan   King

19 will call at a Western       Union office .        We won't be

20 notify ing him that it 's there and available            for him .

21 He just has to know that .          Up above , there 's a

22 reference     to Tucson , Arizona .        What does that refer to?

23 A.         That 's the intend ed pay out location .

24 Q.         Then under will -call ?

25 A.         Under will -call is the send er 's name , Paulette




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1 Martin .

2 Q.          The next line ?      What does that tell us ?

3 A.          That 's an agent ID for the location          that paid

4 out the transaction .          That is the amount       of princip le

5 that was paid out .

6 Q.          How much was that ?

7 A.          $200 .

8 Q.          The next line is ANI phone .

9 A.          That 's the phone number     that was record ed by our

10 system    when it was call ed in .

11 Q.         And prefer red customer     number , what is that ?

12 A.         That 's a prefer red customer      number    that 's

13 assigned     to the send er .    It document s all of her

14 address     and phone number     information .

15 Q.         And then MOD, what does that stand for ?

16 A.         MOD mean s money order.

17 Q.         Is that the method      of payment ?

18 A.         No .     We call them money transfer s today , but MOD

19 is an abbreviation         for money order ,and we just

20 retain ed that separation        of general   information     before

21 we go on to information         that document s every time

22 someone     look at the transaction      or does anything         with

23 the transaction .

24 Q.         So that the section      that come s after that

25 reference s any -- reference s the transaction             specific s,




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 1 as well as anyone       who may have     look ed at the record ?

 2 A.        That 's right .      It provides    -- the next area will

 3 provide    operator    number   and terminal     ID, date and time .

 4 Q.        What's    the REC?

 5 A.        REC mean s record .      A better    description    would be

 6 sent , that 's date and time the money transfer              was sent .

 7 Q.        Okay .    What is the rest of the information            on

 8 that line ?

 9 A.        That 's an operator      number , terminal    ID, date and

10 time .

11 Q.        That the money order was sent ?

12 A.        That the --

13 Q.        The transfer      was sent ?

14 A.        That 's the date and time that the money transfer

15 was actual ly entered        into the system     and re lease d.

16 Q.        And then pa id ?      What does that tell us ?

17 A.        That 's the date and time that the money transfer

18 was paid out to the receiver .

19 Q.        Then the CCA line .       What does that refer to?

20 A.        That 's an operator      number    and terminal    ID.    You

21 notice    it 's the same as the record         line , so it 's a

22 simultaneous       record   of the person     who actual ly is

23 handli ng the tran sactions .

24 Q.        And then the next line , WC?

25 A.        You notice    that is the same operator        number     and




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1 terminal      ID as -- on the pay line , so that indicates

2 when that operator        went in to look at that transaction ,

3 and then just minute s later , he paid it out .

4 Q.          So that that is when the person         at the location

5 where the wire transfer         was pick ed up first look ed at

6 the information ?

7 A.          That 's right .

8 Q.          And th en paid it out ?     The pay out time is two

9 minute s or so later ; is that right ?

10 A.         Exact ly .

11 Q.         Then if you could continue      with the next line ,

12 what does that tell us ?

13 A.         That entire   line is operator     number , terminal

14 ID , and number     indicators    are call er ID indicato rs on

15 that entire     line .

16 Q.         That tell s you what number     had call ed in ?

17 A.         That 's correct .

18 Q.         Call ed in the order ?

19 A.         That 's correct .

20 Q.         The next two or three line s, can        you tell us

21 what they reference , the line s that have ATC in them ?

22 A.         That 's a process     they go through    to verify

23 validity     of the card , and match it up with the card

24 holder , the card holder 's add ress , the card home phone

25 listed   and verification      process   that they go through      to




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1 make sure there are no red flag s.

2 Q.          What do you mean by "red flag s?"

3 A.          Like if the information      we had available      on

4 Paulette      Martin    differed   than what she gave us , that

5 would indicate         that maybe it 's not the actual      call er .

6 There 's an area there where they check -- they verify

7 it with a company         that does verification       on cards .

8 They do it for us online           and that 's all check ing out .

9 Q.          It 's all check ing out legitimate ly ?

10 A.         It is .

11 Q.         In term s of who the send er was ?

12 A.         That 's right .

13 Q.         And then we go down further , there 's a reference

14 to Wil cox or SANBTOY?

15 A.         Yes .

16 Q.         What does that refer to ?

17 A.         Note again that that is the same operator           number

18 terminal     ID that paid it out , and that operator         is

19 record ing information       in there provided       to us by the

20 receiver .

21 Q.         What was the --

22 A.         The first one is a driver 's license .

23 Q.         Is that what the one stands       for ?

24 A.         That 's right .

25 Q.         And the next series      of number s is what ?




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 1 A.       The driver 's license      number .

 2 Q.       And then the date and time ?

 3 A.       That 's the date and the time and you note that 's

 4 the same date and time that the transaction             was paid

 5 out .

 6 Q.       And then underneath      that , again , there 's some

 7 more information      put in by that same operator .

 8 A.       The same operator      who put the address       provided

 9 to us by the receiver       and a phone number .

10 Q.       The phone number ?

11 A.       Right .

12 Q.       Where ?

13 A.       The 662 appear s to be a phone number          pro vided by

14 the receiver .

15 Q.       And then underneath that,        there 's some more

16 information .      Wh ere did that information come from        ?

17 A.       That 's some information       provided   to us by the

18 send er , the send er 's name , address , 9002 Bexhill        Court ,

19 Hyattsville , Maryland , the receiver 's name , the credit

20 card number     we charge   it to , the phone number      provided

21 to us and record ed from the send er , operator          number ,

22 total amount     charge d, money order indicator        and credit

23 card indicator      and the phone number .

24 Q.       The phone number , again , after the send er ?

25 A.       That 's correct .




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 1 Q.       Suppli ed by the credit        card number    of the send er

 2 as well ; is that correct ?

 3 A.       That 's correct .

 4 Q.       That information      -- is that information

 5 information    provide d by the       send er ?

 6 A.       Yes , it is .     It 's record ed by our system         and

 7 also provided      by the send er .

 8 Q.       Okay .    And in your system , do you have a way to

 9 verify that    information ?

10 A.       That 's correct .

11 Q.       And could you explain         that verification        process ?

12 A.       Well , in the prefer red customer          number , they

13 record   information     on the send er , so in this case , most

14 like ly they had the information           already , and when the

15 information    was provided , everything          seem ed to match

16 up .

17 Q.       And you also mention ed you have another               system

18 or a company      that verifi es information        for you .

19 A.       There 's a company     that verifi es credit       cards to

20 make sure they're      valid and they match up with

21 information    provided .

22 Q.       Is that what 's reflect ed in the line that

23 reference s address      verification , response       code s?

24 A.       That 's right .

25 Q.       Now , let me show you Page 2 of that record .                 Can




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1 you tell us what we're look ing at here ?

2 A.         Yes .   This is the check that 's print ed to make

3 payment     of the money transfer .         In the U. S. and

4 Canada,     we always   -- our agents       always   write check s.

5 It 's automatically       print ed on their printer , and they

6 have them endorse d, and usually            our agent s cash them on

7 the spot .

8 Q.         On this occasion , where was this wire transfer

9 that was sent on June 30 pick ed up ?

10 A.        It was pick ed up , you can see on the top of the

11 check , there 's William 's Travel Center s in Eloy ,

12 Arizona    made payment     of this transaction .

13 Q.        And on what date was it pick ed up ?

14 A.        It was pick ed up on June 30 , 2002 .

15 Q.        In deed is that what's        reference d in the computer

16 record    as the date and time of when it was pick ed up ?

17 A.        That 's right .     It was paid out June 30 , '02, at

18 6:30 p.m. eastern      time .

19 Q.        And it was original ly sent on that same date ?

20 A.        Sent on the same date at 6:11 p.m. eastern            time .

21 Q.        Who was it made pay able to ?

22 A.        Made payable      to Nathan    King .

23 Q.        Was the $200 actual ly paid to him ?

24 A.        Yes .

25 Q.        If we could brief ly look at the second          exhibit ,




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 1 R-3 .   Again,    the first page of R-3 , is this the same

 2 kind of computer      record      that was involv ed in R-2?

 3 A.         Yes , it is .

 4 Q.         Can you de scribe      for us what the date of this

 5 transaction      and how it commence d, whether         it was credit

 6 card or an in -person        send er ?

 7 A.         This transaction       was sent on March 18 of '02 at

 8 5:20 p.m. eastern        time .

 9 Q.         That was reflect ed here in the line that I'm

10 referenci ng ?

11 A.         That 's right .

12 Q.         Where was it sent from ?

13 A.         It was sent from Washington , D. C .          It was sent

14 from a -- they walk ed in and present ed cash to the

15 Western     Union agent .

16 Q.         Do you know where the agent was actual ly

17 locate d?

18 A.         Yes, I look ed that up .         I think it 's Cash

19 Check s.     I left that in my briefcase .

20 Q.         All right .     Again , does it reflect      who the

21 send er was ?

22 A.         The send er was Tiffany         Vessel s.

23 Q.         Who was the payee ?

24 A.         The payee was Steven          Ross .

25 Q.         The telephone     number      that 's reference d there ?




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 1 A.       That is the telephone       number     provided    to us by

 2 the send er .

 3 Q.       And then there 's this G I S W M O X.              What does

 4 that stand for ?

 5 A.       That 's internal     rout ing .     It mean s general   in put

 6 system , will call money order transaction .

 7 Q.       I'm going to give you your briefcase .

 8 A.       Thank you .    I apologize        for not having    that with

 9 me .   The AWA number    you see on the bottom        line is --

10 that 's an agent ID that belong s to the agent that sent

11 the transaction , and that belong s to Check Cash 1 at

12 3433 14 th Street Northwest       in Washington , D. C .

13 Q.       Is that the location       where the send er actual ly

14 had to physically      appear   to conduct      this transaction ?

15 A.       That is correct .

16 Q.       If you could de scribe      -- if we continue        down the

17 line s, what was the reference        here to Houston , Texas ?

18 A.       Yes .   That is the money transfer         control    number

19 again to Houston .      The Houston , Texas is the intend ed

20 pay out location .

21 Q.       And the $687 .50 ?

22 A.       That is the amount       paid out to the receiver .

23 Q.       And the receiver       would be Mr. Ross ?

24 A.       That 's Steve n Ross is the receiver , yes .

25 Q.       Then there 's something      call ed pass code question




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 1 249 3.      What does that refer to ?

 2 A.          That is call ed a test question .            The send er has

 3 authorize d us to pay it out to Steven                Ross without    ID

 4 if he is able to answer             that -- if he has that pass

 5 code .

 6 Q.          Okay .    Who assign s the pass code ?

 7 A.          The send er .       The send er , Tiffany    Vessel s, would

 8 provide      the password .

 9 Q.          Can you tell us the -- if we go down to receive ,

10 what date this order was place d and time and when it

11 was paid out ?

12 A.          Yes .    It was sent March 18 , 2002 , at 5:20 p.m .,

13 paid out the follow ing day at 10 :50 a.m.

14 Q.          Again , the reference        underneath     that , is that

15 from the agent who is pay ing it out is opening                 up the

16 file to check the status ?

17 A.          That 's right .       He first went in and look ed at it

18 and identifi ed it at 10 :48 and paid it out at 10 :50 .

19 Q.          Then at the bottom        in the par en theses,    what

20 information         is that ?

21 A.          That is the information         provided     to us by the

22 send er .     The send er 's name , address , city , state , zip ,

23 receiver 's name , phone number , operator              number , total

24 amount      charge d -- total amount        collect ed , I'm sorry .

25 Q.          $744 .50 was what was paid by the send er ?




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 1 A.         That 's correct .

 2 Q.         What was received       by Mr. Ross was $687 .50 ?

 3 A.         That 's right .

 4 Q.         The telephone      number   there , is that the send er 's

 5 telephone     number      or the receiver 's ?

 6 A.         That 's the send er 's telephone        number    provided    to

 7 us by the     send er .

 8 Q.         Now , call ing your attention         to the second

 9 document     in this item .      Again , are we look ing at a

10 similar    check ?

11 A.         Yes .   This is -- like I say , we print check s on

12 every money transfer          paid out in the US and Canada

13 drawn on Western          Union 's bank , and usually       they are

14 cash ed by our agent at the same time .

15 Q.         Is this the check for the transaction              that was

16 reference d on Page 1?

17 A.         That 's right .

18 Q.         And was paid out to Mr. Ross ?

19 A.         That 's right .

20 Q.         Where was it paid out ?

21 A.         It was paid out of a place call ed Fiesta             Mart in

22 Houston , Texas .

23 Q.         One of your agent s?

24 A.         That 's right .

25 Q.         In addition      to that transaction , was there




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 1 another     transaction    that occurred     with the send er

 2 send ing from the same location          as the one we 've just

 3 look ed at ?

 4 A.          This was send ing from a different        location .

 5 Q.          Did you know what location        this one was send ing ?

 6 A.          Yes .    This one was sent from a place call ed

 7 Check s Cash ed at 28 12 B Alabama       Avenue , Southeast , also

 8 in Wash in gton , D. C .

 9 Q.          Who was the send er on this one ?

10 A.          The send er was Richard    Willis .

11 Q.          The payee on this one ?

12 A.          The payee was Rodney    Green .

13 Q.          Then we have a number     underneath    the name Rodney

14 Green .     What does that number      refer to ?

15 A.          That 's the phone number     provided   to us by

16 send er .

17 Q.          Again , where was it to be pick ed up ?

18 A.          Intend ed pay out location      is Houston , Texas .

19 Q.          Was there identification        or do we have that

20 similar     password ?

21 A.          We have a password    again .

22 Q.          What was the number    on the password ?

23 A.          5782 .

24 Q.          If we go down , when was it sent ?

25 A.          That 's the -- that 's the date and time that the




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 1 money transfer          was sent .

 2 Q.          When was it pick ed up ?

 3 A.          Pick ed up the follow ing day at 10 :46 a.m.

 4 Q.          What was the amount       of the actual    wire transfer ?

 5 A.          687 .50 .

 6 Q.          What was the total cost ?

 7 A.          744 .50 .     And again , the information     is at the

 8 bottom .

 9 Q.          Is the information       provide d by the send er ?

10 A.          That 's right .     That 's all information     by the

11 send er .     The send er 's name , the address , city , state ,

12 zip , receiver , phone number , total amount            collect ed ,

13 agent ID

14 Q.          Similar ly , do we have the actual        check that was

15 use d to pay out ?

16 A.          Yes .    This is the check that was negotiate d in

17 payment     of that money transfer .

18 Q.          Okay .      And where was this money transfer      paid

19 out ?

20 A.          It was paid out at Fiesta       Mart in Houston ,

21 Texas .

22 Q.          The same as the precedi ng one ?

23 A.          Yes , I believe     it was .

24 Q.          Again , what was the time that the Rodney          Green

25 wire transfer        was paid out ?




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 1 A.         Rodney   Green was paid out March 19 , '02, at

 2 10 :46 a.m.

 3 Q.         What time was the Steven      Ross paid out ?

 4 A.         Paid out on March 19 , '02, at 10 :50 a.m.

 5 Q.         Both in the same amount ?

 6 A.         Same amount , yes .

 7 Q.         And the same facility ?

 8 A.         And the same facility .

 9 Q.         Court 's indulgence .

10            If we could , in term s of your records          here , in

11 reference     to the one that was sent by Ms. Vessel s and

12 the one sent by Mr. Willis , are the address es use d by

13 the two send er s the same ?

14 A.         Yes , they are .

15            MS. JOHNSTON:      I have nothing    further .

16            THE COURT:    Any cross ?

17            MR. MONTEMARANO :     Thank you , Your Honor .

18                          CROSS-EXAMINATION

19            BY MR. MONTEMARANO :

20 Q.         Good morn ing , Mr. Rigby .    How are you do in g?

21 A.         Fine , thank you .

22 Q.         My name is Michael      Montemarano .   I represent

23 Paulette    Martin .    I've got a couple      of question s.

24            You work for Western      Union ; right ?

25 A.         That's   right .




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1 Q.          The Western     Union .

2 A.          That's right.      Western     Union Money Transfer.

3 Q.          Those are the folk s we see TV ads for about how

4 easy it is to transfer          money and all that ?

5 A.          I've seen some of         those , yes .

6 Q.          Same company ?

7 A.          Same company .

8 Q.          You have , within    the way you do business          in

9 term s of the        money transfer      part of the business , you

10 have a way you can set up , for lack of better               term , an

11 account    with Western      Union so as to facilitate        and

12 quick en the process       of transferring       money ; is that a

13 fair statement ?

14 A.         They issue cards , what they call prefer red

15 customer     cards , that will record         the information

16 quick er for -- that 's for walk -in customers             can use

17 that gold card and it make s it faster .

18 Q.         To get one of those gold cards , that prefer red

19 customer     card , you have to provide         certain   personal

20 information ; correct ?

21 A.         Right .

22 Q.         It 's verifi ed by Western        Union ; correct ?

23 A.         As far as    I know , yes .

24 Q.         Okay .    And then when the money is received              by

25 the payee , the person        who is the recipient        of the




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 1 money , there are two different            way s that person    can

 2 receive     it .   Either    they can pony up their ID; correct ?

 3 A.         Right .

 4 Q.         And in the first document         you look ed at ,

 5 transfer red by Paulette         Martin    using the prefer red

 6 customer     card , that 's what was done , because         -- is that

 7 a fair statement ?          Exhibit   R-2, I believe   it was .       Do

 8 you have that in front of you ?

 9 A.         No , I don't .

10 Q.         I tell you what .      I do .

11            This is the transfer         using the prefer red

12 customer     number   of a Paulette       Martin ; correct ?

13 A.         Yes .

14 Q.         And payable      to Nathan    King ; correct ?

15 A.         That 's right .

16 Q.         When Mr. King collect s the money , he provides

17 personal     information      that 's confirm ed by Western       Union ;

18 correct ?

19 A.         Yes .

20 Q.         Although   you weren't       there when the money was

21 paid , it would be reasonable           to assume   he poni ed up a

22 driver 's license ?

23 A.         They record ed -- that 's what the agent record ed

24 in there , yes .

25 Q.         So he did use his driver 's license ; correct ?




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 1 A.         That 's what the document       indicate s, yes .

 2 Q.         One of the reason s you guys like to use the

 3 driver 's license     is because       it 's got a photograph    on

 4 it , and you can look at the photograph              and look at the

 5 person    and say , hey , that 's the      same guy .

 6 A.         We do always      require   photo ID.

 7 Q.         So we know who this person        is .     On the other two

 8 transfer s, they were a password           transfer ?

 9 A.         That 's right .

10 Q.         So short of the recipient        being male , the Steven

11 Ross transfer , there would be nothing              else that person

12 would need other than being male other than the

13 password ; correct ?

14 A.         That is correct .

15 Q.         So you walk in -- I walk in and I say I'm Steve n

16 Ross, here 's the password , give me the money and they

17 gave it ; correct ?

18 A.         There 's a little     more to it .       They have to fill

19 out a form and tell us how much they're               expect ing , who

20 they're    expect ing from , and where they're          expect ing it

21 from .    That give s the agent information           to identify     the

22 transaction .     Then they ask them for the password .               If

23 everything     check s out , he 's entitle d to the funds .

24 Q.         There is nothing      in that transaction       requiring

25 personal     information     about the recipient ; is that a




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 1 fair statement ?

 2 A.         That 's a fair statement .

 3 Q.         All you have      to be is male ?

 4 A.         That 's right .

 5 Q.         If the transfer 's to Steven         Ross and Ms.

 6 Johnston     show s up , she does n't look like a Steve n; does

 7 she ?

 8 A.         No .

 9 Q.         Your agent is probably       going to look , say you

10 don't look like a "Steve n."

11 A.         She'd say , something 's fun ny .

12 Q.         Something 's fun ny .     For instance , one of the     two

13 gentlemen     seat ed just past     Ms. Johnston , they 've got

14 the pass word number , they're        walk ing out with $200 out

15 of Fiesta     Mart ; correct ?

16 A.         If they answer      all of the question s and the

17 password ; that is correct .

18            MR. MONTEMARANO :       No further    question s.

19            MR. MARTIN:       Mr. Goodwin    has no question s of

20 this witness .

21            MR. HALL:     No question s, Your Honor .

22            MR. WARD:     No question s, Your Honor .

23            THE COURT:     All right .      If there is no further

24 question s, any re direct ?

25            MS. JOHNSTON:       No re direct , Your Honor .




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 1            THE COURT:     You may step down .       Thank you very

 2 much .

 3            MS. JOHNSTON:     May this witness       be excused ?

 4            THE COURT:     You may be excused .

 5                  (Witness     excused    at 10 :51 a.m. )

 6            MS. GREENBERG:      Your Honor , the government         next

 7 call s Mike Johnson .

 8 Thereupon,

 9                            MICHAEL JOHNSON ,

10 having been called as a witness on behalf of the

11 Plaintiff , and having been first duly sworn by the

12 Courtroom Deputy, was examined and testified as

13 follows:

14            THE CLERK:     Speak loud and clear ly into the

15 micro phone , please .

16            THE WITNESS:     Yes, ma'am .

17            THE CLERK:     State your full name       for the record .

18            THE WITNESS:     Michael     Johnson .

19            THE CLERK:     Spell your last name , please .

20            THE WITNESS:     J O H N S O N.

21            MS. GREENBERG:      Your Honor , court 's indulgence

22 for a moment .

23                           DIRECT EXAMINATION

24            BY MS. GREENBERG:

25 Q.         Sir , could you tell the jury your current




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 1 occupation ?

 2 A.        I am current ly a special        agent with US

 3 Immigration     and Custom s Enforcement .

 4 Q.        Where were you employ ed before          that ?

 5 A.        I was a police officer        with the city of

 6 Indian apolis    from February     of 19 95 until February        of

 7 this year .

 8 Q.        Were you employ ed in that capacity           on or about

 9 October   27 , 2003 ?

10 A.        I was , ma'am .

11 Q.        Could you tell the jury what your duti es and

12 responsibilities        were on or about that date ?

13 A.        At that time , I was as sign ed to the Criminal

14 Interdiction     Unit of the Indian apolis         Police

15 Department .

16 Q.        And as such , what were you do ing ?

17 A.        The Criminal      Interdiction    Unit 's focus at that

18 time was rather      two -prong ed .    The Indian apolis      Police

19 Department     recognize d that traffic      safety    was very

20 important     to the motor ing public      and the citizen s of

21 Indianapolis .      They also recognize d that criminal s are

22 most vulnerable      when they're      mobile .

23           So in that two -prong ed approach , the most

24 important     goal of the Criminal       Interdiction       Unit was to

25 promote   traffic    safety   and to create       a safe environment




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 1 for the motor ing public , and while do ing that , and

 2 while enforci ng traffic      law s, take advantage      of the

 3 opportunity    to contact    criminal s while they're       mobile ,

 4 detect   them , interdict    them .

 5 Q.       Now , I'm going to put up on the screen , and let

 6 me just zoom this out a little         bit .   That 's P-122

 7 mark ed for our purpose s.       I know it 's -- let me take it

 8 out of the plastic , see if that give s you a better

 9 view .

10          MR. WARD:     What was the number , ma'am ?

11          MS. GREENBERG:      P-122 .

12          BY MS. GREENBERG:

13 Q.       Do you recognize      the truck that 's depict ed in

14 that picture ?

15 A.       I do, ma'am .

16 Q.       Could you tell the jury how you came to see that

17 truck on that day ?      It 's a tractor -trail er ; is that

18 correct ?

19 A.       It is a tractor -trail er .      On October    27 of '03,

20 at approximately      2:25 p.m ., I was on Inter state 70 in

21 Indianapolis , Marion     County , Indiana     observing

22 eastbound   traffic    at about the 91 mile marker , which is

23 on the east side of Indianapolis , when my attention              was

24 drawn to this tractor -trail er when it appear ed to be

25 exceed ing the posted     55 miles per hour      speed limit .




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 1 Q.         Based on your observation s, what did you do ?

 2 A.         Based on my observation , I activate d my radar

 3 speed detection        de vice and was able to verify       the

 4 vehicle 's speed at 61 miles per hour           in a 55 miles per

 5 hour zone .

 6 Q.         Did you end up stopping        the vehicle ?

 7 A.         I did stop the vehicle        at approximately    the 92

 8 mile marker .

 9 Q.         What did you do then ?

10 A.         After stopping    the vehicle , I made a right -side

11 approach     to the tractor-trailer        and came into contact

12 with the tractor-trailer 's driver , Nathan            King , who had

13 already    exited     the vehicle   and met me as I was maki ng

14 my right-hand        side approach .     I ad vis ed Mr. King of the

15 violation     that I had observe d and asked him to

16 accompany     me back to my patrol        car so that I could run

17 his driver 's license       and registration , which he did do .

18 Q.         Did you end up giving        him a ticket   for speed ing ?

19 A.         I did .    After run ning his driver 's license , I

20 noticed    that he had a warrant         out of Georgia   for a

21 traffic    violation .     I advise d him of the warrant , told

22 him they would n't extradite           out of Indiana , but he

23 need ed to get that take n care of as soon as he could .

24            Mr. King , during    this conversation , while I was

25 conduct ing the normal       business     in my traffic   stop , told




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 1 me he had been arrested        prior for a drug arrest .          I was

 2 continui ng to issue my warn ing ticket         during    that

 3 conversation .        When I was finish ed , I hand ed him the

 4 warn ing ticket       and told him I was complete      with the

 5 traffic     stop as far as    the violation .

 6 Q.         Is that at all un usual in your business         with

 7 trucker s to find that they've        had a tick et from     another

 8 state ?

 9 A.         Oh , no, ma'am .

10 Q.         And to give them a warn ing for the speed ing

11 violation ?

12 A.         No, ma'am .    The truck ing industry    is very high ly

13 regulate d, and they often have violation s on their

14 record .

15 Q.         Could you tell us a little      bit about this area

16 you were patrol ling , how that fit s into commerce              in the

17 United     States ?

18 A.         Inter state 70 is one of the four major east -west

19 route s across the Unite d State s.        There 's the    I-10

20 corridor , the I-40 corridor , the I-70 corridor , and the

21 I-80 corridor .        So a very good chunk of the east -west

22 traffic     in the Unite d State s, from    the south west to the

23 northeast     come s across Inter state 70 .

24 Q.         It keep s you busy .

25 A.         It keep s us very busy -- kept us very busy ,




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 1 rather .

 2 Q.         Show ing you what's     been mark ed as P-123 .          Could

 3 you identify        who is depict ed in that photograph ?

 4 A.         Ye s, ma'am .     That is the gentleman        who was

 5 driving     the tractor-trailer      from the earlier        photo ,

 6 Nathan     King .

 7 Q.         Now , did you receive     consent    from Mr. King to

 8 search     the tractor-trailer ?

 9 A.         I did , ma'am .

10 Q.         Did you go ahead an d search        it ?

11 A.         I did .

12 Q.         Would you tell the jury what you observe d

13 immediate ly upon your begin ning to           search ?

14 A.         When I got in side the tractor-trailer , up in the

15 sleep er berth , I found a lone screwdriver               just lay ing

16 up on one of the shelve s in the sleep er berth , kind of

17 out of place .        There were not other tool s lying around .

18 It was just lay ing there , so I began examining               the

19 heads of the screw ing throughout         the in side of the

20 tractor .

21            When I lift ed the mattress     -- in a semi

22 tractor-trailer , there 's a sleep er berth on the back of

23 it , and there 's a bed that lie s across the back where

24 the driver     can sleep in his off -duty time .            I lift ed up

25 the mat tress that was in the back of the             sleep er berth




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 1 area there , and I noticed       several    screw s that appear ed

 2 to have been    taken off several      time s and had several

 3 screw mark s.    When you use a screw a lot , it will tend

 4 to chew up --

 5 Q.       Could see that in plain view with your eye s?

 6 A.       Yes , I could , so I went ahead and I re move d

 7 those screw s with the screwdriver          that was in the

 8 sleep er berth area of the truck and pull ed back some

 9 sheet metal .    And I found beneath        that sheet metal , two

10 duffel   bag s, brand new duffel      bag s, they still had the

11 tag s on them , underneath      the sheet metal .       When I

12 opened   them up , I saw several , what I de scribe d as

13 kilo -size brick s, what I believe         through   my train ing

14 and experience     to be cocaine .

15 Q.       I'd like to show you -- did you take a

16 photo graph of what was in       that duffel    bag to pre serve

17 how you saw it at the scene ?

18 A.       Yes, ma'am .

19 Q.       Show ing you what 's marked       as P-120 .    Can you

20 tell the jury what is depict ed ?

21 A.       Yes, ma'am .    That is a --

22 Q.       Is that your hand , by the way ?

23 A.       Yes, ma'am .    No, ma'am , is not my hand .        I was

24 taking   the photograph .

25 Q.       All right .    When you took this photograph , what




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 1 are we look ing at in this bag ?

 2 A.         What we're look ing at there is if I would have

 3 opened    -- if you could imagine      opening   a gym bag or

 4 duffel    bag , and opening    it up , that is a picture

 5 look ing straight    down into the gym bag .        There was a

 6 trash bag in side of the gym bag itself .           What the

 7 officer    there is hold ing up is one of the        kilo -size

 8 brick s of what I believe       to be at the time cocaine .

 9 Q.         Based on the camera    angle , are you look ing

10 straight    down at the heat seal ?

11 A.         Yes, ma'am .    You're look ing straight     down at the

12 packaging    that was on the cocaine .        What it was , was

13 one of the freezer        saver , the food saver type vacuum

14 seal , heat -seal ed bag s that was around       the packaging ,

15 so that 's what we're look ing at right there .           Off to --

16 when you look at the picture , off to the left side of

17 the hand there , you will see some white square             also

18 in side the gym bag , along with the cocaine           were dryer

19 sheet s, fabric    softener    sheet s, which --

20 Q.         What effect    does that have with the cocaine ?

21 A.         What I have seen , and my experience        in the pas t,

22 is that dryer sheet s will often be with amount s of

23 drug s in an attempt       to dis guise the odor of the drug .

24 Q.         The dryer sheet s in this plastic       -- black

25 plastic    bag were in side the canvas      bag the way they're




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1 depict ed in this photograph ?

2 A.         Yes, ma'am .

3 Q.         Sort of layer s among the kilo s of cocaine ?

4 A.         Yes, ma'am .

5 Q.         Were you able to keep that in the same condition

6 after you took the picture ?         The way it 's layer ed ?

7 A.         No, ma'am , we weren't     able to keep it in the

8 same condition .        After I discovered    the cocaine , I

9 call ed for Special       Agent Steele   from the Drug

10 Enforce ment Administration       who took custody     of it and

11 sent it to the lab .        So it was not kept in side the bag s

12 or anything .

13 Q.        But the dryer sheet s were kept , just not in the

14 same --

15 A.        Yes, ma'am     they were kept , yes .

16 Q.        Why did you call the Drug Enforcement

17 Administration ?

18 A.        Because   of the amount    of cocaine   that was

19 involve d in this , this was an investigation          that if

20 there was any way to keep the investigation            going

21 beyond    the traffic    stop , it 's what I want ed to do .     It

22 was a much bigger       case than with the resource s I had as

23 a local police officer        that I could deal with , w ithout

24 the assistance      of the DEA.

25 Q.        Show ing you the last picture , P-121 .        Could you




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 1 tell the jury what is depict ed on here ?

 2 A.       Yes, ma'am .      That is a picture     of all of the

 3 package s of cocaine     that we re covered     from the semi , on

 4 the step get ting into the semi next to the truck .

 5 Q.       Approximately      how many bag s -- kilo bag s were

 6 there -- kilogram      bag s were there ?

 7 A.       Eighteen .

 8 Q.       Based on your train ing and experience , what did

 9 you believe     was contain ed in the kilogram       bag s?

10 A.       Cocaine .

11 Q.       Did you have an opportunity         to look at the

12 exhibit s that were brought       here to court in connection

13 with this case ?

14 A.       I did , ma'am .

15 Q.       If I could ask you to approach          the jury .    Just

16 to be clear .     What you see up on that screen , P-122 , is

17 that the tracto r- trail er with the cocaine         the jury is

18 about to see ?

19 A.       Yes, ma'am .

20 Q.       Is that the cocaine      that you seize d as a result

21 of a traffic     stop on or about -- on about October           27 ,

22 2003 ?

23 A.       Yes, ma'am , it is .

24 Q.       If you could , let's see if I can help you .            Can

25 you take out the duffle       bag and show the jury what you




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 1 found in the bed of the truck that we're talk ing about

 2 here ?   And you can use that cart to assist           you .

 3 A.       Underneath     the sleep er berth of the tractor          that

 4 I was speak ing of , when I pull ed back the sheet metal ,

 5 there were two of these bag s up underneath            the bunk ,

 6 still had the tag s on them .        In fact , this is the       bag .

 7 When I opened      up the bag --

 8 Q.       Just for the record , in that bag you previous ly

 9 put in this morn ing , it 's Drug s 40 A through        40 L, is

10 that 's the 40 series     that was in one box ?

11 A.       Yes, ma'am .

12 Q.       And you re package d that as close as you could to

13 what you saw that day ?

14 A.       Yes, ma'am .

15 Q.       And just also to be clear , there is an

16 additional    bag that 's put on by the lab so it 's a

17 little   bulkier   --

18 A.       Yes, ma'am .

19 Q.       -- than when you re covered        it ?

20 A.       Yes, ma'am .

21 Q.       You got it as close as you possibly           could ?

22 A.       Yes, ma'am .

23 Q.       For the court reporter 's purpose s, do I need to

24 give him a micro phone or are you all right ?

25          COURT REPORTER:       I'm okay .




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 1             MS. GREENBERG:      Great .    Thank you .

 2             BY MS. GREENBERG:

 3 Q.          Go ahead .     Thank you.

 4 A.          When we opened     up the bag , I could see the trash

 5 bag in the top just as we see today .             Pull ed it on open

 6 and began see ing the brick s of cocaine           on the in side of

 7 the bag .      This package     here , and actual ly these two

 8 package s are the extra packaging            that she was speak ing

 9 o.f these are package s from the DEA where they did the

10 drug analysis .        However , the rest of the package s are

11 in side .

12 Q.          If you could please     just stack them on there so

13 the jury can see .

14 A.          The rest of the package s on the in side here are

15 as they were in side the truck with the exception                of the

16 outside     covering     on some of them from the DEA sample s,

17 but these are the food saver things             that we were able

18 to see in the picture s, and this is how they were

19 package d in side the truck .           And also , these are the

20 dryer sheet s that you could see in the picture .

21 Q.          So in the Government 's Exhibit 40           are a number

22 of dryer sheet s, perhaps         more than a dozen , that were

23 layer ed within     these kilo s -- kilogram s of cocaine ?

24 A.          Yes, ma'am .

25 Q.          If you could put the dryer sheet s back in the




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 1 plastic     canvas   bag and also show the jury the tag s on

 2 the bag which you earlier         note d that you observed.

 3 A.        (Witness     indicati ng .)

 4 Q.        Moving     you along to Drug s 41, 41 A and 41 B, 41 C

 5 and 41 D.     Could you tell the jury what's          in this box ?

 6 Again , you re view ed this earlier         today ?

 7 A.        These would be the drug s from the other gym bag

 8 that was in the -- underneath            the sleep er .

 9           MR. WARD:      I'm sorry , we can't hear , or at least

10 I can't hear .

11           THE COURT:      You have to speak up or speak into

12 the mike .

13           THE WITNESS:      I'm sorry .     These are the

14 kilogram s -- kilogram       package s of cocaine         that were in

15 the other gym bag underneath            the berth of the truck .

16           BY MS. GREENBERG:

17 Q.        And 42 ?     I'll hold it if you want to go to the

18 micro phone .

19 A.        These are the continuation          of the re ma inder of

20 the pack ages of cocaine , along with some more DEA

21 sample s of the cocaine .

22 Q.        Again , not to waste the grand jury -- the jury 's

23 time , but you re view ed this earlier          today ?

24 A.        I did , ma'am .

25 Q.        In fact , this very morn ing ?




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 1 A.        Yes, ma'am .

 2 Q.        In that duffel    bag , could you tell the jury

 3 what 's in there ?

 4 A.        Once again , a trash bag jus t as was in the other

 5 duffel    bag , as well as the tag s on the bag .        They were

 6 identical .

 7 Q.        Are there any dryer sheet s in that trash bag ?

 8 A.        Yes, ma'am , there are .      More dryer sheet s in side

 9 that bag as well .

10           MS. GREENBERG:      Your Honor , just to be clear ,

11 these drug exhibit s, we don't want to go over each one

12 individual ly , but just for the record , they're            drug s

13 40 , then 40 A through     40 L inclusive , Drug s 41 and Drug s

14 41 A through   D inclusive , then Drug s 42 and Drug s 42 A

15 through    F inclusive .    And Your Honor , there 's a great

16 number    of them there , but can I just publish         a

17 represent ative --

18           THE COURT:     You may .

19           MS. GREENBERG:      -- bag to the jury ?      Thank you .

20 Publish ing 42 C for the jury -- Your Honor , 41 C to the

21 jury , and I have      no other question s, Your Honor .

22           THE COURT:     Any cross-examination     ?

23           MR. MONTEMARANO :     Yes , Your Honor .

24                          CROSS-EXAMINATION

25           BY MR. MONTEMARANO :




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 1 Q.       Special    Detective     Johnson ; sir ?

 2 A.       Special    Agent in train ing , but yes .

 3 Q.       You were hire d by ICE, Immigration s and Custom s

 4 Enforcement , in or about February            of this year ?

 5 A.       Yes, sir .

 6 Q.       Mind if I ask when you applied             for that job ?

 7 Ballpark .    Six month s ago ?

 8 A.       Around    -- no .     Around   '02 or so .     They were on

 9 about a three -year hiri ng freeze .

10 Q.       Okay .    But you applied ; correct , sir ?

11 A.       I did apply , yes, sir .

12 Q.       Part of the application            process , you provided     to

13 them information      about your train ing and experience ;

14 correct , sir ?

15 A.       Yes, sir .

16 Q.       And to be candid , there 's nothing            wrong with

17 this .   Part of what you told them is about the major

18 investigation s and arrest s you had been involve d in .

19 Is that fair statement , sir ?

20 A.       Yes, sir .

21 Q.       Including    this one ?

22 A.       I don't know        specifically     because   not know ing

23 exact ly when I applied,         I don't know     if I had conduct ed

24 this in vestigation     yet .

25 Q.       Did you ever make any other seizure s of this




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 1 size ?

 2 A.        Exactly    this size ?     No, sir .

 3 Q.        About this size ?

 4 A.        Yes, sir .

 5 Q.        Bigger ?

 6 A.        Not on a traffic      stop , but yes, sir .

 7 Q.        Maybe a little      small er on a traffic         stop ?

 8 A.        Rough ly the same size .       I guess it depends          on

 9 what you're       talk ing about or relative .       Have I seize d

10 exact ly this amount      of cocaine     before ?    No .

11 Q.        More than ten key s?

12 A.        Yes .

13 Q.        More than 15 ?

14 A.        No .

15 Q.        Important    stuff , right ?    Important     seizure ?

16 A.        I'm sorry , sir ?

17 Q.        An important     stop and an important        seizure ; fair

18 statement ?

19 A.        All drug arrest s are important , sir .

20           MR. MONTEMARANO :        No further    question s, Your

21 Honor .

22           THE COURT:     Any additional     cross ?

23           MR. MARTIN:      Brief ly , Your Honor .

24                          CROSS-EXAMINATION

25           BY MR. MARTIN:




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 1 Q.        Good morn ing , Officer       -- Special    Agent .   Anthony

 2 Martin    on behalf    of Learley      Goodwin .

 3 A.        Good morn ing , sir .

 4 Q.        Right after Mr. King was stopped           --

 5 A.        Yes, sir .

 6 Q.        -- he gave you permission         to search     the trail er ;

 7 correct ?

 8 A.        After we conduct ed the business           of my traffic

 9 stop , yes, sir .

10 Q.        Right .     At some point , he made a statement         to

11 the government .       Were you there when he made the

12 statement ?

13 A.        After I found the cocaine , I advise d him of his

14 rights,     which he state d that he understood .           He told me

15 during    our conversation , he identifi ed the conceal ment .

16 He told me about the        bag s.     He told me that he put it

17 in there , and he told me that he had been paid $5,000

18 for the load , but I was n't involve d in anything              else

19 beyond    that .

20 Q.        At no time during       your conversation       with him did

21 you ever hear him mention            the name Learley     Goodwin ; is

22 that correct ?

23 A.        No, sir .

24           MR. MARTIN:      Nothing     further , Your Honor .

25           MR. HALL:      No question s, Your Honor .




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 1          MR. WARD:        No question s, Judge .

 2          THE COURT:        Any re direct ?

 3          MS. GREENBERG:        Brief ly .

 4                        REDIRECT     EXAMINATION

 5          BY MS. GREENBERG:

 6 Q.       Were you involve d in the additional

 7 investigation      after Mr. King 's arrest ?

 8 A.       No, ma'am .

 9 Q.       That would have been DEA?

10 A.       Yes, ma'am .

11          MS . GREENBERG :      No further     question s.

12          THE COURT:        You may step down .      Thank you .

13          THE WITNESS:        Thank you , Judge .

14                  (Witness      excused   at 11 :13 a.m. )

15          MR. MARTIN:        Your Honor , may we have our

16 mid-morning     break ?

17          THE COURT:        Sure .   We will take a break and be

18 back at 11 :30 .

19                           (Jury excused at 11:13 a.m.)

20                           (Off the record     at 11 :13 a.m. )

21                           (On the record     at 11 :29 a.m. )

22          THE COURT:        Are you ready for the jury ?

23          MR. MARTIN:        We are .

24          THE COURT:        Okay .

25                  (Jury return s at 11 :30 a.m. )




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 1            MS . GREENBERG:     Special   Agent Snyder , rather

 2 than sit that in front of the jury , the witness             is

 3 going to need to see it .

 4            MR. WARD:     I can't hear a thing that 's been

 5 said .

 6            MS. GREENBERG:      I was asking    the agent if he

 7 could move this close r to the witness           stand so he can

 8 have access     to the exhibit s.

 9 Thereupon,

10                         TIMOTHY CARL ANDERSON,

11 having been called as a witness on behalf of the

12 Plaintiff , and having been first duly sworn by the

13 Courtroom Deputy, was examined and testified as

14 follows:

15            THE CLERK:     State your full name     for the record .

16            THE WITNESS:      My name is Tim othy Carl Anderson.

17 Last name , A N D E R S O N.

18                               DIRECT EXAMINATION

19            BY MS. GREENBERG:

20 Q.         Sir , where are you employ ed ?

21 A.         I'm employ ed by the Drug Enforcement

22 Administration     North Central     Laboratory    in Chicago ,

23 Illinois .

24 Q.         What is your position     there ?

25 A.         I'm employ ed as a forensic      chemist .




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 1 Q.        What is your background       and train ing for that

 2 position ?

 3 A.        I received   a bachelor     of science    degree    in

 4 chemistry     from the University     of Wisconsin     at Mad ison .

 5 Graduation , I was hire d by the Drug Enforcement

 6 Administration      and took part in a six -month train ing

 7 program     at the lab , as well as several        train ing school s

 8 in Virginia .

 9 Q.        Do you have continued       train ing in your role as a

10 DEA chemist ?

11 A.        Yes .   Year ly , I take part in train ing that keep s

12 me current     and refreshes    my knowledge    on the scientific

13 method s and technique s that I use on a day-to-day

14 basis .

15 Q.        How long have you been employ ed as a DEA

16 chemist ?

17 A.        I've been employ ed almost      nine year s.

18 Q.        Have you ever been call ed to testify          as an

19 ex pert in forensic     chemistry ?

20 A.        Yes , I have .

21 Q.        Have you been qualif ied by      the various       court s in

22 which you've      been call ed as an ex pert in forensic

23 chemistry ?

24 A.        Yes , I have .

25 Q.        Approximately    how many time s?




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 1 A.        Thirty   time s.

 2 Q.        Approximately       how many of those time s have been

 3 in federal    court ?

 4 A.        Twenty-seven       time s.

 5           MS. GREENBERG:        Your Honor , at this time , I

 6 request   that Tim Anderson        be allow ed to testify          as an

 7 ex pert in the field of forensic              chemistry .

 8           THE COURT:      Does the defense        wish to inquire ?

 9           MR. MONTEMARANO :       No , thank you , Your Honor .

10           MR. MARTIN:        No , Your Honor .

11           THE COURT:      He will be permitted         to ex press

12 opinion s in the field of forensic              chemistry .

13           BY MS. GREENBERG:

14 Q.        This morn ing , sir , upon your arrival             to the

15 office , did you re view those exhibit s in front of you

16 contain ing bag s, contain ing a white powdery                substance

17 mark ed as Government 's Exhibit s 40 A through               40 L, 41 A

18 through   41 D and 42 A through        42F?

19 A.        Yes , I did .

20 Q.        Did you look specifically            at each bag and each

21 exhibit   number   on there --

22 A.        Yeah .

23 Q.        -- to save the jury some time ?

24 A.        Yes , I did .

25 Q.        Had you seen those item s before            that are sitting




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 1 in front of you ?

 2 A.        Yes , I had .

 3 Q.        Could you tell the jury how you came into

 4 contact     with those drug exhibit s that I just mention ed ?

 5 A.        Original ly , I received    them as evidence

 6 technician     in my laboratory .     The exhibit       was assigned

 7 to me by my supervisor , and I received           the evidence

 8 from the evidence      technician .

 9 Q.        Was it -- how was it package d when you received

10 it ?

11 A.        When I received    it , it was in -- the exhibit         was

12 in two cardboard     box es seal ed by the submitting         agent .

13 Q.        If I could just hold up for you these box es

14 mark ed 1.01 and 1.02 .      Is that the box es you received

15 them in ?

16 A.        Yes , DEA evidence    cardboard    box es .

17 Q.        Is that the usual procedure        in which you get

18 suspect ed drug evidence ?

19 A.        Yes , it is .

20 Q.        How is it given to your lab ?

21 A.        It 's submitted   by the agent s either        by mail or

22 that 's brought    by the agent s.

23 Q.        Look ing at your DEA-7 in this particular           case ,

24 was this item obtain ed by Officer          Mike Johnson ?

25 A.        May I refer to my note s, Your Honor ?




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 1          THE COURT:      Yes , you may .

 2          THE WITNESS:      According    to DEA-7, it was

 3 receive d by Special      Agent Steele .

 4          BY MS. GREENBERG:

 5 Q.       Steele received it from who?

 6 A.       From Officer     Mike Johnson.

 7 Q.       That 's reflect    on your DEA-7 with relation         to

 8 these exhibit s?

 9 A.       Yes , it is .

10 Q.       Kevin Steele     is a DEA special     agent ?

11 A.       That 's my understand ing , yes .

12 Q.       Officer    Mike Johnson    was with the Indianapolis

13 Police Department ?

14 A.       Yes .

15 Q.       Is that the typical       -- usual procedure      that 's

16 use d in connection      with submitting    drug s for analysis ?

17 A.       Yes , it is .

18 Q.       What did you do upon receiving          these -- this

19 submission ?

20 A.       Upon check ing out the two box es of evidence ,

21 brang it back to my work area and then obtain ed a gross

22 weight , which is the weight       of everything     that I

23 check ed out .     In this case , two box es and the gross

24 weight   was 25 .67 kilogram s.

25 Q.       That 's the total for both those cardboard            box es ?




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 1 A.         Yes , and the content s within .

 2 Q.         So that includes    the baggi es and the trash bag

 3 and everything ?

 4 A.         That 's correct .

 5 Q.         And then what did you do ?

 6 A.         Then I look ed on the DEA Form 7, compare d the

 7 weight     I had with the weight     that the agent said was

 8 submitted     to make sure that they match within            a certain

 9 percentage .

10 Q.         Just to be clear , could you tell the jury when

11 you got these bag s, how did they look to you ?               How are

12 they package d?

13 A.         The box es or the --

14 Q.         The bag s with in the box es .

15 A.         Oh, the bag s within   the box es ?       There were --

16 there was a black duffel        bag in each box , and within

17 each duffel     bag there was a black garbage          bag , some

18 dr yer sheet s, and nine rectangular         brick -like package s

19 wrap ped in clear tape and plastic          wrap .

20 Q.         How -- what was the condition         of them ?    Were

21 they open or seal ed ?

22 A.         They were all seal ed .

23 Q.         What did you do , then , after you got the gross

24 weight ?

25 A.         I then opened   the box es , took picture s of the




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1 content s, and then began with my preliminary               screen ing

2 test s of the brick s.

3 Q.         Your gross weight     of 25 .67 before    you go on to

4 your analysis , how did that compare           with what the

5 ag ent s had determine d at the scene was the approximate

6 gross weight ?

7 A.         It was similar .     It was within     our guideline s.

8 Q.         What was the first test that you did on this --

9 on these two exhibit s, these two box es , exhibit s -- as

10 you mark ed them , 101 and 102 ?

11 A.        The first thing I did was I re move d the brick s.

12 There were 18 of them .       I then , according     to our

13 statistical    sampling   plan took 14 of those 18 and made

14 a small incision     into each of the brick s and re move d a

15 small portion    from each of the 14 and place d that into

16 three chemical     re agent s or color test s just -- it 's

17 just liquid , and what I'm look ing for is a color range

18 when the powder     is add ed to those liquids .

19 Q.        What was the result     of the color test ?

20 A.        Of the 14 , I determine d that 11 of them were

21 similar , and then the other three screen ed slight ly

22 different , so at that point , then I took the other four

23 that I hadn't    tested   previously    and tested       those as

24 well , and then it was determine d that 14 of them were

25 similar   and the other four were separate          or




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 1 sub -ex hibi ted .

 2 Q.         What do you mean by "slight ly different ?"

 3 A.         In one of the test s, which is call ed a Sanchez

 4 Test , the four separate s actual ly gave a red color ,

 5 whereas    the previous     14 hadn't , and that 's an

 6 indication      of a possible   presence   of a cut or an

 7 adult erant .     Typically , it 's pro ca ine or benzocaine ,

 8 which is another       local an est het ic similar     to cocaine .

 9 Q.         Well , taking   us back to the color test .         What

10 happen s when you take a white powder , use the color

11 test , what color is indicative         of cocaine ?

12 A.         For the cocaine     test , that 's call ed the cobalt

13 thiocyanate      test , and it 's a pink liquid .       When you add

14 a white powder       that is suspect ed cocaine , it will turn

15 blue .    It will actual ly be a blue pre cipitator           or ,

16 like , blue fleck s in the pink , and that indicate s a

17 possible    presence    of cocaine .

18 Q.         Was it -- did all of their sample s pass the

19 color test ?      Did they all turn blue ?

20 A.         In that test all 18 turn ed blue .

21 Q.         So it was the next test that you did that you

22 had some difference        because   of potential    cut in the

23 product ; is that correct ?

24 A.         That is correct .

25 Q.         Now , to stay with the color test .         Your




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 1 testimony    is that , based on the preliminary           test , all

 2 these were indicative         of cocaine    because    the color

 3 turn ed blue ?

 4 A.        That 's correct .

 5 Q.        How does the color test that you do in your

 6 laboratory    compare    to what agent s use in the field

 7 call ed a field test -- field testing           substance s?

 8 A.        The field test kit s, or NIK test s, are the same

 9 chemical .    It 's the cobalt     thiocyanate    re agent or

10 chemical .    It 's the exact same , it 's jus t in a

11 different    package .

12 Q.        Based on your nine year s of experience , could

13 you tell the jury how frequent            is it that you have a

14 false positive       from the color test ?

15 A.        It 's very rare .

16 Q.        But being that you're       in the lab , you do

17 additional    confirmatory      test s?

18 A.        That 's correct .

19 Q.        Is your testimony      that the exhibit s that you

20 pull ed , the sampling       that you pull ed based on the

21 statistical       analysis   that you do , all of these show ed

22 cocaine   from the color test ?

23 A.        Yes .

24 Q.        Moving    on to the Sanchez      test that you just

25 brief ly talk ed about , could you explain            to the jury




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1 again , once you determine        this is cocaine , what does

2 the Sanchez      test for ?

3 A.         The Sanchez     test is for a specific      group of

4 chemical s, a class of chemical s call ed amines , and the

5 drug s or suspect ed drug s that are part of this group

6 are the common      adulterant s or common      cut s that are seen

7 typically      with cocaine    exhibit s but also with heroin

8 and meth exhibit s, and we test for that to see if there

9 are difference s because        with the presence     of a cut ,

10 that could significant ly de crease        the percent    purity    of

11 the actual     sample .

12 Q.        So , the next step , the Sanchez       Test , is a purity

13 test , not a test to determine        if it is or is not

14 cocaine ?

15 A.        That 's correct .

16 Q.        What did you do after the Sanchez         Test ?

17 A.        After I determine d that the four were different

18 than the other 14 , I sub -exited       the exhibit .     So

19 instead     of Exhibit 1 , it was now 1.01 and 1.02 , 14 were

20 handle d separate ly from the four .        I did the same

21 test s, I just treat ed them as separate         exhibit s because

22 of the difference s in my preliminary          screen ing .

23 Q.        What d id you do next ?

24 A.        The next point that I perform ed was to determine

25 the net weight     or the weight     of just the powder        without




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 1 any of the packaging .         So for each of the two

 2 sub -exhibit s, I re move d two of the brick s/package s,

 3 complete ly opened     them , got the weight     of the    packaging

 4 with the powder      and then the weight      of just the

 5 packaging .     Subtract     that out and you get the weight       of

 6 just the powder .      With those two brick s, then I get an

 7 average    weight   of what an average      -- what the average

 8 brick weight     would be and then extrapolate         or calculate

 9 the total net weight         based on that average .

10 Q.         What did you determine ?

11 A.         I determine d that Exhibit 1 .01 was 14 .03

12 kilogram s and that Exhibit 1 .02 was 3390 grams , or

13 3.39 0 kilogram s.

14 Q.         So the total of these submission s to you was

15 over 17 kilogram s?

16 A.         That 's correct .

17 Q.         What did you do next ?

18 A.         The next step with each exhibit        was to get a

19 representative      sample    for further   confirmatory    testing ,

20 and what's     done in the case of hard , compress ed brick s

21 of powder     like this -- like these exhibit s is that they

22 actual ly take an electric        drill and drill into these

23 brick s.    Most of the time , they're       com pre ss ed so tight

24 that it 's hard to dig into it with a spatula , so what I

25 do is I drill five hole s into each of a certain             number




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 1 of the brick s and take that loose powder               and combine    it

 2 to make a representative        sample .     And from that point ,

 3 I take that representative          sample   and continue     with my

 4 test s.

 5            MS. GREENBERG :   Your Honor , if I may approach .

 6            THE COURT :   You may .

 7            BY MS. GREENBERG:

 8 Q.         Hand ing you , for example , what's      mark ed 41 B.

 9            Could you explain    to the jury what the out er bag

10 is and the inner bag ?       How you received      it and what you

11 did to that particular       exhibit ?

12 A.         Okay .   This exhibit     right here , the out er

13 packaging     is a food saver bag , or it 's a vacuum -seal ed

14 pouch typically      use d for pre serving     food .     Within   it is

15 this rec tangular     package   brick that 's wrap ped with

16 plastic     wrap and clear tape , as well as a waxy layer --

17 a waxy substance , and then within           it would be the hard

18 compress ed white powder .         For this particular       brick ,

19 this one was just screen ed .         It was never complete ly

20 opened .

21 Q.         But the out er bag is something       that your agency

22 put on ?

23 A.         This is -- the food saver roll came with the

24 exhibit .

25 Q.         Could you compare    that just so the jury




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 1 understand s with , for example , 40 L?

 2 A.         40 L is a DEA, heat -seal ed evidence      envelope .

 3 This is something       that I have at the laboratory           that I

 4 put anything     that I open up from its original

 5 packaging , and seal it back after I'm done with the

 6 analysis .     And then within     it is a large Ziploc -type

 7 bag that has loose powder , powder          that 's been ground      up

 8 or drill ed , and this is after or subsequent           to my

 9 analysis     and the maki ng of the composite        powder .

10 Q.         So in other words , the exhibit s that look like

11 41 B are as they were original ly received           and the

12 exhibit s that are like 40 L are one s that you had to

13 break up or use in order         to do your testing ?

14 A.         That 's correct .

15            MS. GREENBERG:      Your Honor , may I publish        these

16 two exhibits     to the jury ?

17            THE COURT:    Yes , you may .

18            BY MS. GREENBERG:

19 Q.         What did you do after you drill ed the hole s and

20 representative     samplings     of the   kilogram   brick s of

21 cocaine ?

22 A.         Once I received     -- once I form ed the composite

23 or the representative        sample , then I went on to my

24 confirmatory     testing .     These are scientific     instruments

25 that will give a definite         identification     upon




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1 comparison     with a standard     of what is in the sample .

2 And the test s that I use d to determine            the identity      of

3 these two sub -exhibit s were two term s; GCMS, which is

4 gas chromatography         mass spectrometry      and then infrared

5 spec troscopy , or IR.

6 Q.        What were the result s of those confirmatory

7 test s?

8 A.        Both Exhibit 1 .01 and 1.02 contain ed cocaine

9 hydrochloride , and Exhibit 1 .02 also contain ed pro ca ine

10 hydrochloride .

11 Q.       Is that    at all un usual in your experience ?

12 A.       No , not at all .

13 Q.       Could you tell the jury what procaine

14 hydrochloride      is ?

15 A.       Procaine     hydrochloride     is a cut , or an

16 adulterant , that 's often add ed to cocaine             to mimic the

17 effect s of cocaine , but it 's a much cheaper             and it

18 bulk s up the powder .       Procaine    is common ly known as its

19 trade name novocaine , which is use d in dentistry .

20 Q.       Did you do a further         analysis   to determine       the

21 purity   of the substance s submitted         to you ?

22 A.       Yes , I did .

23 Q.       Could you tell the jury what you did ?

24 A.       Both exhibit s were use d in the technique            of gas

25 chromatography , just GC, and it 's compare d with             a known




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1 standard , a stand ard that        we have at the lab .       In our

2 lab , it 's 99 .6 percent       pure , and a solution      is made and

3 it 's com par ed on the instrument         with this standard .

4 Exhibit 1 .01 was calculate d as a purity            of 87 percent ;

5 and Exhibit 1 .02, a purity         of 64 percent .

6 Q.        Did you do anything       further    with regard    to these

7 exhibit s in connection         with DEA standard       procedure s?

8 A.        Because    Exhibit 1 .01 was great er than ten

9 kilogram s, in that case , we send some small sample s to

10 our special     evidence     testing   and re search    laboratory

11 for a special      program    call ed the cocaine      signature

12 program .   Three, one- gram sample s were re move d from

13 1.01 and sent to this laboratory .

14 Q.       Was there any significance          of the purity     level

15 based on your analysis ?

16 A.       No .   They were common       percentage   level s that we

17 see with cocaine      brick s.

18 Q.       In other words , larger        quantiti es of cocaine ?

19 A.       Right .    Bulk -- bulk amount       of cocaine , yes .

20 Q.       And based on your current         position , do you see a

21 lot of the larger      inter state ship ment s?

22 A.       Yes , we do .

23 Q.       Would it be typical       to see this level of purity

24 in the street -level cocaine ?

25 A.       It 's possible , but general ly it 's cut or it 's a




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 1 much low er purity .

 2 Q.         Now , the small er box .      Was that the box that you

 3 use d to sub out the exhibit ?

 4 A.         The small er box is actual ly for any exhibit            over

 5 ten kilogram s.      Once we were done with our analysis , we

 6 separate     everything     except    ten kilogram s and put it in

 7 a separate     box , which is call ed bulk , and that amount

 8 is destroy ed after a certain           amount   of time , if it 's

 9 not needed     for court or for any other purpose s, just

10 for safety     for not having        that amount   of powder

11 constant ly store d in our vault , and also for just

12 storage    space and requirement s.

13 Q.         Because   you are testify ing in court , it 's still

14 available ?

15 A.         Yes , that 's correct .

16 Q.         That 's why the Box 1.01 was divide d into two

17 box es ?

18 A.         Yes .   1.01 being approximately        14 kilogram s,

19 four of those kil ograms        or four brick s were separate d

20 and held for destruction .

21 Q.         You re view ed all the exhibit s in front of you

22 today , which I previous ly mention ed , and they all are

23 from your analysis         that you did on this back in

24 November     of 2003 ?

25 A.         Yes , they're    all st ill present .




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 1 Q.        When you are analyzi ng these exhibit s in the

 2 heat -seal ed package , does it have any particular            smell ?

 3 A.        There is general ly -- there are general ly

 4 smell s, yes .

 5 Q.        Does that smell dissipate       over time ?

 6 A.        Yes .    Depend ing on how long , definite ly .

 7 Q.        Do the dryer sheet s help at all in mas king the

 8 smell ?

 9 A.        General ly , you just smell both smell s of the

10 drug s and of whatever      else it 's package d with .

11 Q.        And just to be clear , all of these exhibit s, you

12 determine d that they all contain         cocaine     and certain   of

13 the cocaine       exhibit s had a procaine    cut ?

14 A.        That 's correct .

15           MS. GREENBERG:      Court 's indulgence .

16           THE COURT:     Cross-examination    ?

17                          CROSS-EXAMINATION

18           BY MR. MONTEMARANO :

19 Q.        So we're clear .     As part of your chemist         for the

20 DEA, analysis       of that seizure   in front of you , which is

21 approximately       17 , 18 kilogram s of white powder

22 substance ?

23 A.        That 's correct .

24 Q.        Came to you from Special       Agent Kevin Steele       by

25 way of a traffic       stop by Michael    Johnson     of the




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 1 Indianapolis       Police Department ?

 2 A.        That 's correct .

 3 Q.        And it turn s out it 's cocaine ?

 4 A.        That 's correct .

 5           MR. MONTEMARANO :      No further    question s, Your

 6 Honor .

 7           MR. MARTIN:       Mr. Goodwin    has no question s.

 8           MR. HALL:     No question s, Your Honor .

 9           MR. WARD:     No question s, Your Honor .

10           THE COURT:     Any re direct ?

11           MS. GREENBERG :      No, Your Honor .    May the witness

12 be excused ?

13           THE COURT:     You may be excused .      You may step

14 down

15                    (Witness   excused   at 11 :54 a.m. )

16           MS. JOHNSTON:       Your Honor , our next witness       is

17 Nathan    King .    We may need five minute s.      I advise d the

18 courtroom    deputy .

19           Your Honor , if we could maybe take two minute s

20 while we're wait ing for him to clean out all of the

21 cocaine    that 's here .

22           THE COURT:     That 's fine .

23           MS. JOHNSTON:       With the Court 's permission , we

24 will be put ting those exhibit s in a storage           area

25 near by, but we will have them available           to the Court




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 1 immediate ly .

 2             THE COURT:     That 's fine .

 3 Thereupon,

 4                               NATHAN KING ,

 5 having been called as a witness on behalf of the

 6 Plaintiff , and having been first duly sworn by the

 7 Courtroom Deputy, was examined and testified as

 8 follows:

 9             THE CLERK:     Speak loud ly and clear ly into the

10 micro phone , please .        State your full name   for the

11 re cord .

12             THE WITNESS:      Nathan   King .

13             THE CLERK:     Spell your last name , please .

14             THE WITNESS:      K I N G.

15             THE CLERK:     Thank you .

16                            DIRECT EXAMINATION

17             BY MS. JOHNSTON:

18 Q.          Goo d morn ing , Mr. King .

19 A.          Good morn ing .

20 Q.          How old are you ?

21 A.          Forty-one .

22 Q.          Where did you go to school ?

23 A.          Cool idge High School .

24 Q.          Cool idge High School .       And where is that

25 locate d?




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1 A.         Washington , D. C .

2 Q.         Did you grow up in the Washington , D. C. area ?

3 A.         Yes .

4 Q.         Are you currently      incarcerate d?

5 A.         Yes , I am .

6 Q.         Are you -- what are you incarcerate d for ?

7 A.         Drug charge .

8 Q.         Where did you get that drug charge ?

9 A.         Indianapolis , Indiana .

10 Q.        Do you recall    the date of that drug arrest ?

11 A.        October    -- I think it 's the   27 th .

12 Q.        Of what year ?

13 A.        '03.

14 Q.        Have you been arrested      and incarcerate d since

15 October   27 of 2003 ?

16 A.        Yes .

17 Q.        Before    your ar rest on October   27 of 2003 , where

18 were you living ?

19 A.        In Mississippi .

20 Q.        Were you employ ed ?

21 A.        Yes .

22 Q.        What did you do for a living ?

23 A.        Truck ing company .

24 Q.        What do you mean by "truck ing company ?"

25 A.        I own ed my truck .     I own ed my own truck .




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 1 Q.       Excuse     me ?

 2 A.       I own ed my own truck .

 3 Q.       Is that a tractor-trailer           truck ?

 4 A.       Yes .

 5 Q.       You indicated       you grew up in the Washington , D.

 6 C. area.        Who were your parent s?

 7 A.       Estelle      Brim and S teve Brim .

 8 Q.       Was Mr. Brim your natural           father    or your

 9 stepfather ?

10 A.       Stepfather .

11 Q.       Do they both continue           to live in Washington , D.

12 C. ?

13 A.       My mom do ; my stepfather          live s in California .

14 Q.       When -- do you know about when he move d to

15 California ?

16 A.       Back in '82 .

17 Q.       Did your parent s then divorce          and your father

18 re marri ed ?

19 A.       Yes .

20 Q.       Did you continue       contact     with your step -- a

21 relationship       with your stepfather      after he move d to

22 California       when he re marri ed ?

23 A.       Yes .

24 Q.       Now , did there come a time when -- strike               that .

25          Do you know anyone       that you see here in the




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 1 courtroom ?

 2 A.         Ms. Martin .

 3 Q.         Would you de scribe    her by what she 's wear ing and

 4 where she is in relationship            to me ?

 5 A.         Next to , I guess , the white guy right there with

 6 the glass es on .

 7 Q.         Who 's got the glass es on ?

 8 A.         Ms. Martin .

 9            MS. JOHNSTON:      Could we ask the record        to

10 reflect    the witness     has identifi ed the defendant ,

11 Paulette    Martin ?

12            THE COURT:      The record    will so indicate .

13            BY MS. JOHNSTON:

14 Q.         How did you know Ms. Martin ?          Strike   that.

15            When did you first meet Ms. Martin ?

16 A.         Back in '95 .

17 Q.         Where did you meet her ?

18 A.         At my mom 's store .

19 Q.         Where did your mother        have a store ?

20 A.         In Northeast .

21 Q.         Do you know whereabout s in Northeast ?

22 A.         The Rig s area , Rig s Road area .

23 Q.         What kind of business        did your mother     have

24 there ?

25 A.         She had a restaurant , carryout .




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 1 Q.        How did -- who introduced       you to Ms. Martin ?

 2 A.        My mom .

 3 Q.        Was Ms. Martin     involve d?   Did she have any

 4 business es in that area ?

 5 A.        Yeah .     Next door , she had a dance studio .

 6 Q.        I'm going to show you what's        been mark ed as

 7 P-18 4.    Do you recognize     that photograph ?      That

 8 build ing ?

 9 A.        Yes .

10 Q.        What build ing is that ?

11 A.        Ms. Martin 's business .

12 Q.        You met her at your -- where was your mother 's

13 store in re lation ship to your mother 's restaurant            in

14 relationship       to this picture ?   To the left or the

15 right ?

16 A.        To the left .

17 Q.        That would have been back in 19 95 or

18 thereabout s?

19 A.        Yes .

20 Q.        At that point in time , did you meet any other --

21 strike    that .

22           Did you have any other contact         with any other

23 people    that you grew up with back in 19 95 ?         In addition

24 to meet ing Ms. Martin , did you meet any other folk s

25 that you knew from grow ing up ?




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 1 A.        No .     I mean , people   I knew from , you know , from

 2 school    live d around    that way .

 3 Q.        At that time , back in 19 95 , were you liv ing in

 4 this area or had you already            move d to Mississippi ?

 5 A.        I was -- in 19 95 I was living         in California .

 6 Q.        And you had come back here to visit ?

 7 A.        Yes .

 8 Q.        Were you also involve d in drug s back around            that

 9 time ?

10 A.        Yes .

11 Q.        What kind of drug s were you involve d in back in

12 19 95 ?

13 A.        Cocaine .

14 Q.        Who were you delivering         the cocaine   to ?

15 A.        Lionel .

16 Q.        Li onel who ?

17 A.        Nunn .

18 Q.        And where was he locate d?

19 A.        D. C.

20 Q.        Is he one of the individuals         you knew from

21 grow ing up in the area ?

22 A.        Yes .

23 Q.        Did you know any of his relative s?

24 A.        I knew his brother .

25 Q.        What is his     brother 's name ?




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 1 A.       Larry .

 2 Q.       Also Nunn ?

 3 A.       Yes .

 4 Q.       Do they have any relationship         with your mother ,

 5 Ms. Brim ?

 6 A.       They come out of the store , you know .

 7 Q.       Now , as a result     of that involve ment in drug s

 8 back in 19 95 , were you actual ly arrested         and serve d

 9 time ?

10 A.       Yes .

11 Q.       Approximately     when were you arrested ?

12 A.       In '96 .

13 Q.       Where did that arrest       take place ?

14 A.       Mississippi .

15 Q.       What kind of drug s?

16 A.       Cocaine .

17 Q.       When were you re lease d from prison ?

18 A.       In 2000 .

19 Q.       When you got re lease d in 2000 , where did you

20 live ?

21 A.       Mississippi .

22 Q.       What did you do for employ ment when you were

23 re lease d?

24 A.       Drove truck s.

25 Q.       Do you recall     when you got your commercial




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 1 driver 's license     so that you were able to drive truck ?

 2 A.        I re state d my license    back in 2000 , when I came

 3 home .

 4 Q.        Did you own a truck at that time ?

 5 A.        No , I was drivi ng for my brother-in-law , then I

 6 bought    a truck .

 7 Q.        Who was your brother -in- law that you were

 8 drivi ng for ?

 9 A.        Eric Wade .

10 Q.        Eric Wade ?

11 A.        Yes .

12 Q.        You said then you bought       a truck .

13 A.        Yes .

14 Q.        Did you receive    any assistance      in buy ing that

15 truck ?

16 A.        Yes .

17 Q.        Who did you receive     assistance     from ?

18 A.        From my father .

19 Q.        That would be your stepfather , Steve Brim ?

20 A.        Yes .

21 Q.        Was he , in that time in 2000 , living          out in

22 California ?

23 A.        Yes , he was .

24 Q.        What did you do with your truck once you got it

25 and you were out of prison        in 2000 ?




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 1 A.         I was drivi ng cross -country .

 2 Q.         When you say cross -country , general ly from what

 3 area to what area ?

 4 A.         Yes, ma'am , California          to New York .

 5 Q.         What type of materials           were you transport ing ?

 6 A.         Produce .

 7 Q.         Would you take anything           back on your return

 8 trip s?

 9 A.         Yes .

10 Q.         What would you take back ?

11 A.         Freight .        Commercial    freight .

12 Q.         Did there come a time in 2001 -2002 when you

13 learn ed that your father           -- strike     that .

14            Do you know whether           or not   your father   knew

15 Paulette     Martin ?

16 A.         Yes .

17 Q.         How did he know Ms. Martin ?

18 A.         I guess he come around           my mom .

19 Q.         Excuse    me ?

20 A.         From my mom .

21 Q.         Was your father , Mr. Brim , still comi ng to

22 Maryland     after he move d to California ?

23 A.         Yes .    He would come up here in his truck .

24 Q.         In his truck ?

25 A.         Yes .




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 1 Q.         What kind of truck did he have ?

 2 A.         He had a tractor-trailer .

 3 Q.         Did he also have a truck ing business            with

 4 multiple     truck s?

 5 A.         Yes .

 6 Q.         Now , did father       ever discuss   with you what

 7 business     he was involve d in in addition            to his

 8 legitimate      truck ing ?

 9 A.         Yes , he did .

10 Q.         Do you know about when that was and what

11 conversation        you had ?

12 A.         About 2002 -2003 , around       in that area .

13 Q.         The spring , summer       -- in relation      to the spring ,

14 summer   of 2002 , did your father          sustain     any health

15 problem s?

16 A.         He had a stroke        at the end of the spring ,

17 summer time .

18 Q.         Of 2002 ?

19 A.         I believe        it was -- 2002 ?   2003 .

20 Q.         Excuse    me ?

21 A.         I believe        it 's 2002 -- yeah , 2002 , I believe     it

22 was .

23 Q.         Had you had the dis cussion         with him about his

24 business     before     he had the stroke ?

25 A.         Yes .




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 1 Q.         What was the conversation      that you had with your

 2 father     about his business ?

 3 A.         He asked me to do a favor for him and I did .

 4 Q.         What favor did he ask you to do for him ?

 5 A.         He asked me to pick some money up from Ms.

 6 Martin .

 7 Q.         Did he tell you what the money was for ?

 8 A.         At first he didn't .     He just asked me to pick it

 9 up , and I pick ed it up and took it back to him .

10 Q.         What did he tell you when you took it back to

11 him ?

12 A.         He really   didn't   say anything , just okay , thank

13 you .

14 Q.         When did you find out what the money was for ?

15 A.         When he asked me -- him an d his friend         had

16 something     going , and he asked me to ride with the guy

17 but drive my truck for this guy to take a package                up to

18 Ms. Martin .

19 Q.         What was in the package s he asked you to follow

20 the guy with to take to Ms. Martin ?

21 A.         Some drug s.

22 Q.         What kind of drug s?

23 A.         Cocaine .

24 Q.         Were you surprise d when your father        asked you to

25 help with the cocaine ?




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 1            MR. MONTEMARANO :      Objection,     Your Honor .

 2 Lead ing .

 3            BY MS. JOHNSTON:

 4 Q.         What was your reaction      when your father         asked

 5 you to     assist   with delivering    cocaine     to Ms. Martin ?

 6 A.         I just did it .      I mean , you know , my dad help ed

 7 me out , so I just do , like , a favor for him .

 8 Q.         How did your dad help you out ?

 9 A.         He assisted    me with my truck .

10 Q.         If we could go back to the late spring          or early

11 summer , 2002 , when he had had the stroke , and what did

12 he say to you in term s of pick ing up money from Ms.

13 Martin ?

14 A.         Well , he could n't go get it , so he asked me to

15 go get it.

16 Q.         How much money was it ?

17 A.         About $20,000 , something         like that .

18 Q.         Was that $20,000      in cash ?

19 A.         I believe    so .   It was in a bag .     She just gave

20 it to him -- gave it to me , and I just gave it to my

21 dad .

22 Q.         She didn't    give you a check ?

23 A.         No.

24 Q.         She didn't    give you a money order ?

25 A.         No .




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 1 Q.       It was a bag ?

 2 A.       Yes .

 3 Q.       Fill ed with money ?

 4 A.       Yeah , a little    bag .

 5 Q.       Where did you pick up the bag from ?

 6 A.       From her house .

 7 Q.       From whose house ?

 8 A.       Ms. Martin 's house .

 9 Q.       Where was her house locate d?

10 A.       It was Adelphi     in Maryland .

11 Q.       Had you been to that house ?         Strike   that .

12          Have you been to that house on more than one

13 occasion ?

14 A.       Yes .

15 Q.       I want to show you what's        been mark ed as

16 Government 's Exhibit      P-2 .

17          Do you recognize      either   of those house s?

18 A.       Yes , I do .

19 Q.       Which one do you recognize ?

20 A.       Ms. Martin 's house .

21 Q.       If you can point to it on the screen .

22 A.       With the truck in the drive way .

23 Q.       Let me show you P-3 .

24          Is that a close -up of the same house ?

25 A.       Yes , it is .




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 1 Q.        Is that the location      -- when you said you went

 2 to her house , is that the house where you went to pick

 3 up the    rough ly $20,000 ?

 4 A.        Yes .   She gave it to me .

 5 Q.        How did you contact     Ms. Martin     to let her know

 6 you were going to be there to pick up the money ?

 7 A.        I call ed .

 8 Q.        Do you recall    your conversation      with her ?

 9 A.        Not really , not offhand .

10 Q.        Were you paid anything      for pick ing up that money

11 for your dad ?

12 A.        No .

13 Q.        Now , after you pick ed up that money for your

14 dad , what conversation s did you have with him

15 concern ing going back to see Ms. Mart in again ?

16 A.        He just asked me to ride with the guy , this guy

17 that my father 's friend , go , you know , to deliver           stuff

18 to Ms. Martin .     So I was just -- I was , like , the

19 middle    guy that rode with the guy , make sure he got up

20 there .

21 Q.        Now , you said you rode with the guy .          Did you

22 ride in a car with him ?

23 A.        No , I'm say ing I drove my truck and he drove his

24 truck .    So I just -- he follow ed me .

25 Q.        Follow ed you where ?




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 1 A.       To Maryland .

 2 Q.       Where in Maryland      would you stop ?

 3 A.       Up near P. G. County , Prince         George's   County .

 4 Q.       Can you de scribe     where you would -- strike        that .

 5          Did you take your truck s -- your two truck s up

 6 to Ms. Martin 's house ?

 7 A.       No, ma'am .

 8 Q.       Where would you park the truck s?

 9 A.       Off of New Hampshire       Avenue in the mall .

10 Q.       Can you de scribe     the area off of New Hampshire

11 Avenue   where you left the truck s?

12 A.       Safe way and use d to be a Zaire 's .

13 Q.       What is Zaire 's ?

14 A.       I mean the department       store .

15 Q.       And the gentleman      who had the -- who you were

16 follow ing or lead ing up to that area , what was his

17 name ?

18 A.       Louis .

19 Q.       Can you de scribe     Louis for us ?

20 A.       Tall and skinny , Afro- American , about 54 .

21 Q.       Had you met him before ?

22 A.       Yes .

23 Q.       Where had you seen him before ?

24 A.       At my dad 's truck ing company .

25 Q.       Was your dad able to make trip s during            this time




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 1 period   between    late spring /summer , 2002 , and your

 2 arrest   in October,    2003 ?

 3 A.       No .

 4 Q.       During    your conversation s with your father ,

 5 what , if any , explanation       was there given for why you

 6 had to go in addition       to just Louis taking       the drug s?

 7          MR. MONTEMARANO :       Objection .

 8          THE COURT:     Over ruled .

 9          BY MS. JOHNSTON:

10 Q.       What discussion     did you have with your father ?

11 A.       Louis didn't    want to meet nobody , so since I

12 knew Ms. Martin , I would go up there .

13 Q.       Was your father     going to pay you anything         for

14 do ing this ?

15 A.       No .

16 Q.       Did you ask for payment ?

17 A.       No .

18 Q.       Why not ?

19 A.       My dad -- he was helping        me out with my

20 truck ing .     He had bought    me a trail er .

21 Q.       What was in Louis ' tractor-trailer          when you made

22 these trip s to -- and stopped         in Maryland   to go to Ms.

23 Martin 's ?

24          MR. MONTEMARANO :       Objection .

25          Basis for knowledge .




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1           THE COURT:          Re phrase   the question .

2           BY MS. JOHNSTON:

3 Q.        You would lea d Mr. Louis ' truck to Maryland ; is

4 that correct ?

5 A.        Yes, ma'am .

6 Q.        You would get to the Safe way /Zaire 's park ing

7 lot ?

8 A.        Yes .

9 Q.        What would you do there ?

10 A.       Louis give me the package            and I'd deliver    it to

11 Ms. Martin .

12 Q.       When you say "the package ," what was it ?

13 A.       Cocaine .

14 Q.       Can you de scribe         the size of those package s?

15 A.       It was in a duffel          bag .

16 Q.       A black -- usual ly a black -- what color was the

17 duffel   bag ?

18 A.       Blue , black .

19 Q.       What size was it ?          If you could show us how big

20 the duffel       bag was .

21 A.       Something      like this .       (Witness   indicati ng .)

22 About this size .

23 Q.       Measuring      3 feet ?     Two feet ?

24 A.       Yeah , about 2 feet , 3 feet.

25 Q.       How heavy was it ?




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 1 A.       It was kind a heavy .

 2 Q.       Can you give us an idea of how much it weigh ed ?

 3 A.       About -- between      15 pounds , 20 pounds , something

 4 like that .

 5 Q.       Fifteen     to 20 pounds ?      And what would you do

 6 with the bag ?     What would you do after you got the bag

 7 from Louis ?

 8 A.       I just take it and give it to Ms. Martin .

 9 Q.       Was it one bag or two bag s?

10 A.       One bag .

11 Q.       How many trip s did you make with Louis during

12 this time period ?

13 A.       About four time s.

14 Q.       And on each of those four time s, what did you

15 take from Louis and take to Ms. Martin ?

16 A.       Bag -- the same bag .

17 Q.       Can you give us an approximate , based on your

18 lift ing the bag , what was in it ?         Can you give us an

19 idea of how many kilogram s of cocaine           you delivered    to

20 Ms. Martin     that was transport ed by Louis to Maryland ?

21          MR. MONTEMARANO :      Objection , Your Honor .       He's

22 never state d he look ed in the bag .

23          THE COURT:      Over ruled .

24          BY MS. JOHNSTON:

25 Q.       Based upon the weight          and your knowledge   of what




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 1 was in the bag , do you have an idea of how many

 2 kilogram s you were delivering          at a time to Ms. Martin ?

 3 A.         Nine or something       like that .

 4 Q.         Excuse     me ?

 5 A.         Nine .     Nine or ten , something     like that .

 6 Q.         Now , when you dropped      those kilogram s off to Ms.

 7 Martin , did she -- was anyone          else present ?

 8 A.         No .

 9 Q.         At what location s did you drop off the bag s with

10 the kilo s in it to Ms. Martin ?

11 A.         Over in Northeast       and Takoma    Park .

12 Q.         In terms     of the   house that we just look ed at

13 where you first picked           up the money for your dad , P-3 ,

14 did you ever drop off any drug s at that house ?

15 A.         No, ma'am .

16 Q.         The house in Northeast,       do you know who live d

17 there ?

18 A.         Excuse     me ?

19 Q.         Do you know who live d in the house in Northeast ?

20 A.         Granny .

21 Q.         Who was Granny ?

22 A.         I don't -- I don't know       her .    It 's Ms. Martin 's

23 friend .     She call ed her Granny .

24 Q.         Who call ed her Granny ?

25 A.         Ms. Mart in.




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 1 Q.       About how old was the woman ?

 2 A.       An old er lady .

 3 Q.       Other than this -- do you know whether             or not

 4 Ms. Martin    was liv ing there at the time or just using

 5 Granny 's house ?

 6 A.       She was liv ing there .

 7 Q.       Anyone   else living    there at the       time other than

 8 Ms. Martin    and this old woman call ed Granny ?

 9 A.       Just them two .

10 Q.       I want to show you a picture            that 's been mark ed

11 as Government 's Exhibit      P-215 .

12          Do you recognize      this photograph ?

13 A.       Yes, ma'am .

14 Q.       What is that a photograph        of ?

15 A.       The house in Northeast .

16 Q.       What house in Northeast ?

17 A.       Granny 's house .

18 Q.       Is that the house where you delivered             the

19 cocaine ?

20 A.       Yes .

21 Q.       Do you recognize      -- are you able to recognize

22 either   of the people    stand ing on the porch ?

23 A.       It look s like Ms. Martin .       I don't know      who else

24 that is .

25 Q.       Okay .   So the woman look s like Ms. Martin             to




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 1 you ?

 2 A.         Yes .

 3 Q.         When you dropped       off the kilogram s to Ms.

 4 Martin , were you paid by Ms. Martin ?

 5 A.         Yes .    She had give me money to take back .

 6 Q.         At the same time that you dropped           them off ?

 7 A.         No.     I dropped    it off and come back , then I go

 8 deliver    my load and come back and get the money .

 9 Q.         With Ms. Martin , when you arrive d at the house

10 and dropped        them off , was anyone   else present ?

11 A.         Maybe , like , early in the morn ing , so -- it

12 would be early in the morn ing , the old er lady who live d

13 there .

14 Q.         Would Granny,       the old er lady you referred    to ,

15 would she be actual ly in the room when you made the

16 delivery     to Ms. Martin ?

17 A.         No, ma'am .

18 Q.         So other than Ms. Martin , was there anyone              else

19 present    when you delivered        it to her ?

20 A.         No, ma'am .

21 Q.         Did you have any conversation           with her when you

22 dropped    it off ?

23 A.         I just gave it to her and how you do in , stuff

24 like that , and then I'd leave .

25 Q.         Where would you go when you would leave ?




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 1 A.      I'd go back to my truck and deliver           my load .

 2 Q.      How would you get from -- if you left your truck

 3 at the Safe way /Zaire s shop ping center , how would you

 4 get from there to Ms. Martin 's house ?

 5 A.      You just talk ing about the house in Northeast .

 6 They had another     -- it was another      that I had to walk

 7 down to .

 8 Q.      Let 's back up for a second .         The first time that

 9 you went there to get the $20,000 , where did you park

10 your truck ?

11 A.      I park ed at Zaire 's in the park ing lot .

12 Q.      Then the first trip that you made with Louis ?

13 A.      Yes .

14 Q.      Where did you two park your truck s?

15 A.      Park ed at Zaire 's one time .

16 Q.      For one of the cocaine        deliveri es , you park ed at

17 the Zaire 's /Safeway    shop ping center ?

18 A.      Yes, ma'am .

19 Q.      When you park ed there , where did you deliver            the

20 drug s on that trip ?

21 A.      Northeast .

22 Q.      To the house that you just --

23 A.      Yes .

24 Q.      Now , on the later trip s, where did you park your

25 truck before    taking   the drug s to Ms. Martin ?




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 1 A.      At Riggs Plaza .

 2 Q.      Excuse     me ?

 3 A.      Riggs Plaza .

 4 Q.      Where is that in relation         to Gran ny' s house ?

 5 A.      Two block s.

 6 Q.      On the first trip when you park ed at Zaire 's and

 7 Safe way , how did you get from that shop ping center           to

 8 Granny 's house in Northeast       to deliver    the drug s?

 9 A.      My friend , Marcus .

10 Q.      Who 's your friend , Marcus ?

11 A.      A guy I grew up with .

12 Q.      How did you get him to pick you up there ?

13 A.      I just call ed hi m and asked him to come and get

14 me .

15 Q.      Now , after you would drop off the kilo s, would

16 you go back to California ?

17 A.      No .     I go to do my load .

18 Q.      Your load being whatever        was in your trail er ?

19 A.      Yeah .

20 Q.      After you delivered       your load , did you return         to

21 Maryland ?

22 A.      Yes .

23 Q.      For what purpose      did you come back to Maryland ?

24 A.      To pick the money up from Ms. Martin .

25 Q.      How would you know to come back to get the




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 1 money ?

 2 A.        Because    my dad -- my dad was telling        me to go

 3 over there and get it .

 4 Q.        Excuse    me ?

 5 A.        My dad would tell me to go and get the money .

 6 Q.        He would call you on the phone ?

 7 A.        Yes .

 8 Q.        What would he say ?

 9 A.        He'd just say go by Paula house .

10 Q.        You knew what you were going by Paula 's house

11 for ?

12 A.        Yes .

13 Q.        Did you contact       Ms. Martin    by the phone to let

14 her know you were comi ng ?

15 A.        Yes , I did .

16 Q.        Do you recall       the telephone    number s you use d to

17 call her ?

18 A.        No , I don't .

19 Q.        Again , when you were comi ng back from delivering

20 your load , where would you park your truck ?

21 A.        At Riggs Plaza .

22 Q.        Where would you meet Ms. Martin ?

23 A.        I'd just go by the house .

24 Q.        What would you pick up from her ?

25 A.        A duffel    bag .




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 1 Q.       What was in the duffel           bag ?

 2 A.       Money .

 3 Q.       Have any idea of how much money was in the

 4 duffel   bag ?

 5 A.       About $20 0,000 , something         in that range .

 6 Q.       Excuse    me ?

 7 A.       About $200,000 .

 8 Q.       Did you actual ly count the money ?

 9 A.       No .    My dad , he would just say --

10          MR. MONTEMARANO :         Objection .    Move to strike .

11          MS. JOHNSTON:       What would your dad say ?

12          MR. MARTIN:       Objection .

13          THE COURT:       To what ?      What did the dad say ?

14          MR. MARTIN:       As to what the dad said .

15          MR. MONTEMARANO :         As to the amount .    Object    and

16 move to strike .

17          THE COURT:       What's    your response ?

18          MS. JOHNSTON:       Your Honor , it 's co -conspirator 's

19 statement s made in addition          to the co -con spiracy.

20          THE COURT:       Over ruled .

21          BY MS. JOHNSTON:

22 Q.       What would your dad tell you ?

23 A.       He would say go and get it , about $200,000              or

24 whatever .

25 Q.       In the several      trip s that you made , how much




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 1 money did your dad tell you to pick up from Ms. Martin ?

 2 A.        It was about the same amount .

 3 Q.        Which was what ?

 4 A.        $200,000 .

 5 Q.        And how would the money be package d when you'd

 6 pick it up from Ms. Martin ?

 7 A.        Well , it would be in a duffel       bag .    I don't even

 8 -- I didn't    even bother    look ing , cause I just get it ,

 9 put it in my truck , and take it to my dad .

10 Q.        Could you give us an idea of the weight           of that

11 bag ?

12 A.        You put it on your shoulder , it was kind of

13 heavy .

14 Q.        How heavy was it ?

15 A.        It was kind of heavy .      About 15 pounds .

16 Q.        How full was it in term s of the bag ?          You

17 demonstrate d for us about the size of the             bag , two to

18 three feet.     How full was it ?

19 A.        It was full .     You had to zip it up .

20 Q.        All right .     Then what did you do with that bag

21 of money ?

22 A.        Take it to my dad .

23 Q.        When you got to your dad , what did you do with

24 it ?

25 A.        I'd just give it to him .




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 1 Q.        Where is this out in California ?

 2 A.        Yes .

 3 Q.        After you gave the bag to your father , what did

 4 your father       say to you about what was in the bag ?

 5 A.        I gave it to him and he put it in his little

 6 office    and that was about it .          I mean , you know .

 7 Q.        Your father        ever complain   to you that the money

 8 was n't in the bag ?

 9           MR. MONTEMARANO :        Objection , Your Honor .

10 Lead ing .

11           THE COURT:         Sustained .

12           BY MS. JOHNSTON:

13 Q.        After you did the first trip where you delivered

14 the drug s and brought          back the bag of money , did there

15 come a time when you made a second              trip ?

16 A.        Yes .

17 Q.        And the second        trip , was Louis involve d in that

18 as well ?

19 A.        Yes .

20 Q.        Did you follow        the same proced ure you de scribe d

21 for us for the first trip with Louis ?

22 A.        Yes, ma'am .

23 Q.        What did you take from Mr. Louis ' truck and

24 deliver      to Ms. Martin      on the second    trip ?

25 A.        Yes .    Drug s.




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1 Q.        What kind of drug s?

2 A.        Cocaine .

3 Q.        Again , about how many kilo s of cocaine            did you

4 take ?

5 A.        About the same as the first one .

6 Q.        How were they package d?

7 A.        In a duffel     bag .

8 Q.        Did you personally         carry the duffel     bag ?

9 A.        Yes .

10 Q.       So you felt the weight         of the duffel     bag ?

11 A.       Fifteen , 20 pounds .

12 Q.       And in that regard , where did you deliver               the

13 second   load that you took ?

14 A.       The second     load ?     Granny 's house .

15 Q.       Same house ?

16 A.       Yes .

17 Q.       Anyone    present   other than Ms. Martin        when you

18 delivered   it to her ?

19 A.       No, ma'am .

20 Q.       Did Ms. Martin      say anything     to you when you

21 delivered   it ?

22 A.       Just general     conversation .

23 Q.       What kind of general         conversation     would you have

24 with Ms. Martin ?

25 A.       How you do ing ?        You know , how you feel ?




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 1 Q.         Did you know people       in common , you and Ms.

 2 Martin ?

 3 A.         Yes , we did .

 4 Q.         And who were some of the people           that you knew in

 5 common ?

 6            MR. MARTIN:       Objection .

 7            This question      was asked early on .      Asked and

 8 answered .

 9            THE COURT:       Over ruled .

10            BY MS. JOHNSTON:

11 Q.         Who were some of the people           you knew in common ?

12 A.         My mom , my dad , Harvey -- the guy she did

13 fashion     show s with -- and      my uncle .

14 Q.         So when you dropped       off a duffel     bag , your

15 conversation , was it general ly about each other and

16 people     you knew ?

17 A.         Yes .   I mean , that 's it .

18 Q.         Was there ever any question s from Ms. Martin

19 concern ing what was in the bag ?

20 A.         No .

21 Q.         After you delivered       the second     time -- strike

22 that .

23            When you delivered       the second     time , did Ms.

24 Martin     give you money when -- at the time you delivered

25 the drug s?




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 1 A.       No, ma'am .      I got in my truck and just delivered

 2 my load .    Every time I come back , I just get the bag

 3 and same routine .

 4 Q.       Same routine         as the first time when you were

 5 there with Louis ?

 6 A.       Yes, ma'am .

 7 Q.       Louis never went -- did Louis ever go with you

 8 to Ms. Martin 's ?

 9 A.       No , because     he didn't    want nobody   -- he didn't

10 want nobody      know ing .

11 Q.       You follow ed the same pattern          for the four trip s

12 or so that you made with Louis ; is that correct ?

13 A.       Yes, ma'am .

14 Q.       Any irregulariti es about any of those trip s?

15 A.       No, ma'am .

16 Q.       Now , during     this same time period , summer       of

17 2002 into 2003 , did you ever have any problem s with

18 your tractor-trailer ?

19 A.       Yes .

20 Q.       Where you need ed any money to get it fix ed ?

21 A.       Yes .

22 Q.       I want to show you what 's been mark ed as

23 Government 's Exhibit         R-2 .

24          Do you recognize         the second   page of that

25 document ?




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 1 A.        Yes .    It 's a money order .

 2 Q.        Do you recognize     the signature        of the person   who

 3 cash ed it ?

 4 A.        I do .

 5 Q.        Do you know who sent you that $200 ?

 6 A.        Ms. Martin .

 7 Q.        What did you need the money for ?

 8 A.        For a tire .

 9 Q.        Do you recall    if that was on a trip when you

10 were on your way to the east coast or on your way back

11 to the west coast ?

12 A.        Going to California .

13 Q.        Now , on each of those four trip s when you

14 return ed to California , what did you do with the bag of

15 money ?

16 A.        Give it to my dad .        Same thing .

17 Q.        And the amount     of money , based on your

18 conversation s with your dad and the weight             of the bag ,

19 was approximately       how much ?

20 A.        About the same .

21 Q.        Did there come a time in 2003 , short ly before

22 your arrest , when you had made a trip to deliver              drug s

23 to Ms. Martin      and pick up money ?

24 A.        Yes .

25 Q.        Okay .    Was there any problem s in that trip , the




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 1 trip before        your arrest ?

 2 A.         The trip before        I got arrested ?

 3 Q.         Yeah .    The trip before      you got arrested , was

 4 there any problem s either           in term s of the drug s or the

 5 money ?

 6 A.         No, ma'am .

 7 Q.         Did you follow     the same process        on that trip as

 8 you did on the previous            trip s with Louis ?

 9 A.         Yes .

10 Q.         After you return ed to California , did you learn

11 about whether        -- about whether     --

12            MR. MONTEMARANO :        Objection , Your Honor .

13 Lead ing .

14            THE COURT:     I haven't     heard the rest of the

15 question     yet .    Get the whole question      out and see if

16 it 's lead ing or not .

17            BY MS. JOHNSTON:

18 Q.         When you got back to California            -- talk ing about

19 the trip before        your arrest     -- did you have any

20 conversation s with your father           concern ing the amount      of

21 money you brought        back ?

22 A.         Yes .

23 Q.         What was that conversation ?

24 A.         He said that Paula owe d him some money .

25 Q.         How much money did your father            say that Paula




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 1 owe d him ?

 2 A.       $75,000 .

 3 Q.       Had you taken that $75,000           out of the bag ?

 4 A.       No, ma'am .

 5 Q.       What else -- did your father           say anything     else ,

 6 other than that Paula , Ms. Martin , still owe d him

 7 $75,000 ?

 8 A.       That was just it .        He asked me just to -- you

 9 know , I go back up there and pick it back up -- pick

10 the money up .

11 Q.       Did you ever get back up there to pick the money

12 up , the $75,000 ?

13 A.       No .

14 Q.       Why not ?

15 A.       I got arrested        in Indiana .

16 Q.       Now , when you got ar rested         in Indiana , was Louis

17 with you ?

18 A.       No .

19 Q.       How is it that you were traveling           without     Louis

20 on October      27 of 2003 ?

21 A.       Something     was wrong with Louis ' truck and it was

22 in the shop .

23 Q.       How do you know that ?

24 A.       Because     my dad told me .

25 Q.       What was your conversation           with your dad before




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1 you left California       on that last trip ?

2 A.        He just asked me to take the stuff up that I got

3 bus ted with to Paula and pick up the money that she

4 owe d him , and Louis -- I asked him , and he said Louis

5 ain't gonna make it because         there was something      wrong

6 with Louis ' truck .      It was in the shop .

7 Q.        So where were the drug s store d to go on the last

8 trip ?

9 A.        It was in my truck .

10 Q.       How was it package d?

11 A.       The same thing .       In the duffel   bag .

12 Q.       Where did you place it in your truck ?

13 A.       Un der my sleep er .

14 Q.       Under what ?

15 A.       My sleep er in my cab .

16 Q.       What happened    when you got to Indiana ?

17 A.       I got pull ed over and they check ed the truck and

18 found the drug s.

19 Q.       That was rough ly 18 kilogram s of cocaine ?

20 A.       Yes , it was 18 exact ly .

21 Q.       Was that more than you had taken with Louis ?

22 A.       Yes .

23 Q.       And did you have any conversation          with your

24 father   concern ing why you were taking        more than the

25 usual trip that you took with Louis ?




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 1 A.        He just said -- he just asked me to give it to

 2 Paula .

 3 Q.        In term s of the trip s that you made with Louis ,

 4 was it one duffel          bag or two ?

 5 A.        It was one single        bag .

 6 Q.        Excuse    me ?

 7 A.        One .

 8 Q.        How did that duffel           bag compare     to the two

 9 duffel    bag s you got stopped         with in term s of its

10 appearance    and its weight ?

11 A.        It was twice the weight           as the other bag s.

12 Q.        Excuse    me ?

13 A.        It was twice the weight           of the other bag s.

14 Q.        Which bag was twice the weight              of the   other

15 bag s?

16 A.        I'm say ing the bag s that I had when I got

17 busted,    it was heavier       than the other bag s.

18 Q.        Okay .    In term s of the appearance           of the duffel

19 bag , when Louis transport ed it , you said you

20 transport ed one duffel         bag .

21 A.        Right .

22 Q.        That duffel , bag in term s of its outward

23 appearance , was it the same or different                from the two

24 duffel    bag s that you got arrested          with ?

25 A.        About the same as one bag , yes .




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1 Q.        And the weight      of the bag , the single     bag s that

2 you would transport       with Louis , how did that weight

3 compare   to the two bag s that you brought          here -- tr ied

4 to bring here in October        of 2003 ?

5 A.        There was maybe about -- about the same bag s,

6 but it was broke down to two bag s this time instead               of

7 one bag and about the same -- about the same weight .

8 Q.        Same total weight ?

9 A.        About the same total weight .

10 Q.       When Louis transport ed the bag s, where would

11 they be store d?

12 A.       In the trail er .

13 Q.       Okay .    Where in the trail er ?

14 A.       In his trail er .     In the trail er part .

15 Q.       In the trail er part ?

16 A.       Yeah .

17 Q.       Why didn't    you store them in the trail er part of

18 your truck ?

19 A.       Because    my stuff was full all the way to the

20 back door .

21 Q.       Because    what ?

22 A.       My produce    was back to the back door .

23 Q.       You un screw ed the screw s and put the duffel          bag s

24 in your sleep er compartment ?

25 A.       Yes .




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 1 Q.         After you got arrested , were you -- did you

 2 remain     in jail ?

 3 A.         Yes , I did .

 4 Q.         Do you recall      where you were house d?

 5 A.         Mar ion County facility .

 6 Q.         Did you have any conversation          with your father

 7 after you were arrested ?

 8 A.         I just call ed and told him , you know , what

 9 happened     and that was about it .        I call ed him , like ,

10 two or three time s, see how he was do ing .

11 Q.         While you were arrested , what happened           to your

12 father ?

13 A.         He got kill ed .

14 Q.         When was that ?

15 A.         The day before      Thanksgiving .

16 Q.         Would that have been around          November   25 of 2003 ?

17 A.         Yes .

18 Q.         And where was he kill ed ?

19 A.         In front of his drive way .

20 Q.         In California ?

21 A.         California .

22 Q.         While you were incarcerate d in Indiana , did you

23 have access        to telephone s?

24 A.         Yes , I did .

25 Q.         Was that un limited       access ?




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 1 A.        Yes .

 2 Q.        How did the phone system      work there ?

 3 A.        Call collect .

 4 Q.        And do you know whether      or not   those call s were

 5 record ed ?

 6 A.        Yes .

 7 Q.        How did you know that ?

 8 A.        It says on the telephone .

 9 Q.        Excuse    me ?

10 A.        It said on the telephone .

11 Q.        When you talk ed to your father       before   he pass ed

12 away , was there any discussion        about what had been

13 taken from you in Indiana ?

14 A.        He know I got stopped , so I guess he knew what

15 happen ed.

16 Q.        Did you tell him that you were arrested           with the

17 drug s?

18 A.        No .    I just told him I'm lock ed up .

19 Q.        These $7 5,000 that he was owe d, were you ever

20 able to pick that up from Ms. Martin ?

21 A.        I was lock ed up .

22 Q.        Now , while you were incarcerate d after your

23 father    died , did you have occasion      to speak with Ms.

24 Martin    on the telephone ?

25 A.        Yes .




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1 Q.        Do you have any idea of how many time s you

2 call ed her ?

3 A.        A couple      of time s I call ed her .

4 Q.        In anticipation      of your testimony      here today ,

5 have you had occasion         to listen   to approximately      six

6 telephone     call s?

7 A.        Yes .

8 Q.        Okay .   Did you recognize      the voice s on those

9 call s?

10 A.       Yes .

11 Q.       Where were you when you participate d in those

12 telephone    conversation s?

13 A.       Lock ed up .

14 Q.       In Indiana ?

15 A.       Yes .

16 Q.       Were those conversation s -- the record ings ,

17 based on your re view of them , accurate ly record            your

18 conversation s with different        people ?

19 A.       Yes , it was .

20 Q.       In those conversation s, do you recognize            the

21 other person s who are participating            in addition   to

22 yourself ?

23 A.       Yes .

24 Q.       Are those the call s that we play ed to you that

25 we mark ed as Government 's Exhibit        CD-2 ?




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 1 A.        Yes .

 2 Q.        Did you also have occasion        to re view written

 3 transcript s that were prepared         of those call s?

 4 A.        Yes .

 5 Q.        And those transcript s, do they accurate ly

 6 reflect    the speak er s and what the speak er s were say ing

 7 to the best you could hear them on the record ings ?

 8 A.        Yes , it was .

 9           MS. JOHNSTON:       Your Honor , at this time , the

10 government    would like to play some of these cal ls.                We

11 would like to distribute         the transcript s to the jury .

12 Defense    counsel    and the Court already       have copies    of

13 those .

14           THE COURT:       Ladies and gentlemen    , you're    going

15 to be hear ing some record ings and the government              is

16 going to give you transcript s.          I want you to

17 understand    that these transcript s are what the

18 government    think s those tape s say .      They're   an aid to

19 help you listen       to the tape s, but it is what's         on the

20 tape that count s.       So if at any respect       you find that

21 the transcript       is not accurate , it is your listen ing

22 that you should       rely upon .   But the transcript s may be

23 of some assistance       to you , but as I said , should        th ere

24 be any discrepancy       if that 's not what you thought         the

25 person    said , what you should     listen   to is what you hear




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1 on the tape .

2           MS. JOHNSTON:       Your Honor , may I approach       the

3 witness ?

4           THE COURT:       Yes .

5           MS. JOHNSTON:       The Court should     have a copy .

6           THE COURT:       Yeah .

7           MS. JOHNSTON:       It 's CD-2 A is the exhibit     number ,

8 and it 's the call on Page 1 of the transcript             book .

9           BY MS. JOHNSTON;

10 Q.       before we get into those call s, Mr. King , when

11 you were arrested , were you inter view ed ?

12 A.       Excuse   me ?

13 Q.       After you were arrested , were you inter view ed by

14 police   authoriti es ?

15 A.       Yes .

16 Q.       Did you make statement s to them ?

17 A.       Yes , I did .

18 Q.       Were they truthful        statement s?

19 A.       No , it was n't .

20 Q.       Okay .   Do you recall      what you told them ?

21 A.       Yeah .   I told them what happened        about the

22 drug s, and I told them that I was delivering            the drug s

23 for somebody , and they was follow ing me .

24 Q.       Excuse   me?

25 A.       I told a different        story than what happen ed.




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 1 Q.         Why didn't     you tell them a truthful     story ?

 2 A.         I didn't   want to involve    my dad .

 3 Q.         Did you mention     Ms. Mart in at all to them

 4 either ?

 5 A.         No .

 6 Q.         Now , if we could turn the transcript s -- do you

 7 have the transcript        book in front of you ?      If you could

 8 open to Page 1.         Can tell us who the speak er s are in

 9 the call we're about to listen          to ?

10 A.         Yes .

11 Q.         Who are the two speak er s that are reflect ed on

12 the transcript ?

13 A.         Myself   and Ms. Martin .

14 Q.         If we could play CD-2 .

15            (Audio record ing begin s play ing at 12 :41 p.m .)

16            (Audio record ing stop s play ing at 12 :42 p. m.)

17            BY MS. JOHNSTON:

18 Q.         You can stop there please .         In that first part

19 of the     conversation    on Page 2, Ms. Martin      indicate s

20 somebody     name d Goody was going     to drive her .     Do you

21 know who she was referring         to as Goody ?

22 A.         Yes .

23 Q.         Who was that ?

24 A.         Her brother .

25 Q.         Had you ever met him ?




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1 A.          Yes .

2 Q.          And then further     down , she speak s about somebody

3 paid her a visit and they dropped            some little    piece s of

4 paper .     What did you understand        her to be referring      to ?

5 Still on Page 2, Mr. King .

6 A.          I'm listening .

7 Q.          At the bottom     of Page 2.

8 A.          Okay .

9 Q.          Who did you understand      her to be referring      to ?

10 A.         She just says somebody      dropped   some paper .    I

11 don't know .

12 Q.         Further     down , she says , and they didn't    get no

13 -- buy no fur s, you know , they didn't          get no fur s or

14 anything     from me .     What did you understand    her to be

15 tell ing you there ?

16 A.         The money .

17 Q.         What money ?

18 A.         $75,000 .

19 Q.         And how did -- what in that statement          referred

20 to $75,000 ?

21 A.         She said they didn't      get no fur s.

22 Q.         And why is it that you conclude        that the fur s

23 referred     to the $75,000 ?

24 A.         Because     she owe d the money to my dad .

25 Q.         Did you have anything      to do with any fur s with




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 1 Ms. Martin ?

 2 A.       No .

 3 Q.       Did your father       have anything    to do with fur s

 4 with Ms. Martin ?

 5 A.       Not to my belief .

 6 Q.       Did you ever transport        fur s from California       to

 7 Maryland to     Ms. Martin ?

 8 A.       No .

 9 Q.       Ever transport      fur s from Ms. Martin     out to your

10 father   in California ?

11 A.       No.

12 Q.       What were the only thing s that you transport ed

13 from your father      to Ms. Martin?

14 A.       The drug s.

15 Q.       What was the only thing you transport ed back

16 from Ms. Martin      to your father ?

17 A.       Money .

18 Q.       Now , if we -- then at the top of the next page ,

19 Page 3, you tell her , don't mess with those people

20 there , and then you say , I tell you what's           happened .

21 I'll tell you what you should         do .

22          What are you tell ing -- what are you referring

23 to in those statement s?

24 A.       She says something       about a picture .      I was ,

25 like , my mind was , like , what picture , you know ?           Of




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 1 who ?    What people ?

 2 Q.         Why do you tell her not to mess with those

 3 people ?

 4 A.         Because   I didn't know    the people .

 5 Q.         Now if we could turn to Page 4 and the call

 6 continue s.

 7            MS. JOHNSTON:     Agent Eveler , could we start at

 8 1:56 of the call ?

 9            (Audio record ing begin s play ing at 12 :45 p.m. )

10            (Audio record ing stop s play ing at 12 :47 p.m.)

11            BY MS. JOHNSTON:

12 Q.         Uncle Gene.     Who was does that refer to ?

13 A.         That 's my uncle .

14 Q.         Do you know his full name ?

15 A.         Yes .   Gene Bird .

16 Q.         In that -- is that -- did you then continue            in

17 the conversation       with Ms. Martin    about discus sing your

18 mother     and other people      that you knew ?

19 A.         Yes .

20 Q.         Now , if we could go back to just the end of that

21 call on Page 11 , and about the middle             of the page if we

22 could pick up there .

23            (Audio record ing begin s play ing at 12 :48 p.m .)

24            (Audio record ing stop s play ing at 12 :48 p.m.)

25            BY MS. JOHNSTON:




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 1 Q.         In that portion     of the call , you tell her to put

 2 a stop on those folk s, and that you will call her back

 3 to tell her what you know , and then she says she 's

 4 afraid    to go out .     What are the two of you talk ing

 5 about there ?        On Page 11 .

 6 A.         She says somebody        is suppose d to came and got

 7 the money , and I didn't       know nothing     about it .   I was

 8 just , like , you know , I don't know         what the people    she

 9 was talk ing about .

10 Q.         What , if any , relation      did that have with the

11 piece s of the picture       that was cut in piece s?

12 A.         She says a picture        that somebody   come to visit

13 her .    I don't know .

14 Q.         That 's what she said to you ?

15 A.         Right .

16 Q.         How do you know that they came to get the money

17 and she didn't        give it to them ?

18 A.         I don't know    this either .     That 's why I asked .

19 I was asking .        When she asked me , she 's tell ing me that

20 somebody     came to see her .       I just wondered   who come to

21 see her and about the money .           The only thing I think in

22 my mind was I knew my dad knew about the money .

23 Q.         If we could go to CD-2 B, which is on Page 12 .

24            (Audio record ing begin s play ing at 12 :50 p.m. )

25            (Audio record ing stop s play ing at 12 :52 p.m. )




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 1           BY MS. JOHNSTON:

 2 Q.        Again , who is speaking      in this conversation ?

 3 A.        Me and Ms. Martin .

 4 Q.        It would have taken place at around           the time

 5 that 's reflect ed on the top of the transcript            on

 6 December 21st at 1503 hours, which is 3 o'clock in the

 7 afternoon.     Is that the telephone        number   you call ed ,

 8 301 -27 0-9007 ?

 9 A.        Yes, ma'am .

10 Q.        Again , in this call , what are you and Ms. Martin

11 talk ing about , at least      this portion    of the call ?

12 A.        She 's tell ing me about the picture         again , about

13 the guy dropped      some paper , a picture      or something .

14 Q.        And then she says that she 's try ing to -- going

15 to come to see you .       Did she ever come to see you ?

16 A.        No, ma'am .

17 Q.        Again , there was a question       -- you asked her

18 about who , who and what they want .          Who are you asking

19 her about ?

20 A.        Whoever   this guy -- these people         she talk ing

21 about .

22 Q.        What people ?

23 A.        She said the picture      that she -- somebody        come

24 and vi sit her , some picture .       I was asking      her what did

25 they want .




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 1 Q.        And then -- she says on Page 13 , Mr. King , she

 2 says , ain't that something ?         And you said , I'm just

 3 say ing there 's no way .      What are you tell ing her ?

 4 There 's no way what ?

 5 A.        I was say ing , from my understand ing , it was just

 6 -- I knew about the money and my dad knew about the

 7 money .    I'm , like , the -- I don't think       my dad told

 8 nobody    else , from my understand ing , and he 's dead .         He

 9 died in -- the day before        Thanksgiving     and this is in

10 December .

11 Q.        Then at the -- again , at the bottom          of Page 13 ,

12 she tell s you that she took John with her because              I'm

13 not going nowhere       by myself .    Took John with her to go

14 where ?    What was your understand ing ?

15 A.        She just said she took John and go .           I don't

16 know , you know , what she was say ing about she took

17 John .

18 Q.        What did that have to do with the picture ?

19 A.        I don't know .

20 Q.        What did you understand        her to be tell ing you

21 when she said she took John ?

22           MR. MARTIN:      Objection .    These question s call

23 for speculation      and conjecture .

24           THE COURT:     All right .     Over ruled .

25           BY MS. JOHNSTON:




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 1 Q.        What did you understand        her to be tell ing you

 2 when she said she took John with her because              she was n't

 3 going anywhere     by herself .      Took John with her where ?

 4           MR. MONTEMARANO :        Objection , asked and answered .

 5 This is twice .

 6           THE COURT:     Over ruled .    Over ruled .

 7           MS. JOHNSTON:      You may answer .

 8           THE WITNESS:     I guess to meet .

 9           MR. WARD:     Objection     to what he guess es , Your

10 Honor .   It clear ly is a guess that 's what he said .

11           THE COURT:     I don't want you to      speculate    or to

12 guess .   If you have an understand ing what the

13 conversation     meant , you may give us that understand ing .

14 I don't   want you to guess or speculate .           Do you

15 understand     that ?

16           THE WITNESS:     Yes .

17           BY MS. JOHNSTON:

18 Q.        What did you understand        her to be tell ing you ?

19 A.        The picture    she 's talk ing about , the person .

20 She 's going to meet the person .

21 Q.        And when you tell that she -- to listen , they

22 could go F themselves , who are you tell ing them can go

23 F themselves ?

24 A.        The people    she 's talk ing about .

25 Q.        The people    that she told you she met with ?




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1 A.       Yes .

2 Q.       The same one s who drop ped the        picture ?

3 A.       Yes .

4 Q.       Why are you tell ing her that they should             just go

5 F themselves ?

6 A.       Because    I was feel ing -- my feel ing was , like I

7 said earlier , that the only thing I knew is that me and

8 my dad knew about the money , so where did this person

9 come from ?

10 Q.      Then she 's talk ing about somebody         should    keep

11 their mouth close d.      Who was that ?

12 A.      She 's talk ing about my mom .

13 Q.      And then if we turn to Page 15 , and then the

14 conversation     start s in about what had happened          up in D.

15 C. related     to the jail or something .       Do you see that

16 on the top of Page 15 ?

17 A.      Yes .

18 Q.      That have anything       to do with her meet ing with

19 these people ?

20 A.      No, ma'am .

21 Q.      This is general      conversation    you had with her ?

22 A.      Yes .

23 Q.      And do you continue       there discuss ing your mother

24 and some lady name d Cookie for a couple          of page s?

25 A.      Yes .




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 1 Q.       If we could go to the bottom          of Page 17 .    Let 's

 2 go to Page 18 in the middle         of the page .     After

 3 discuss ing your mother      and this woman , Ms. Cookie , do

 4 you get back to your reason         for want ing to talk to Ms.

 5 Martin   at the bottom     of Page 18 ?

 6 A.       Yes .

 7 Q.       Did the conversation       then return     to the money

 8 and your deal ings with Ms. Martin ?

 9 A.       Yes .

10 Q.       Why didn't    you just come out to her and say ,

11 where 's my money o n the phone ?

12 A.       I ain't gonna -- she knew what I was talk ing

13 about when I was asking        about the money .

14          MR. MONTEMARANO :      Objection , Your Honor .

15          THE WITNESS:      I mean , I didn't     want to come out

16 on the phone like that , just say --

17          BY MS. JOHNSTON:

18 Q.       Why would n't you just come out on a phone like

19 that and say where 's the       $75,000 ?

20 A.       Because    the phone was tapped .

21 Q.       If we could pick up on Page 18 .

22          (Audio record ing begin s play ing at 12 :58 p.m .)

23          (Audio record ing stop s play ing at 1: 00 p.m. )

24          BY MS. JOHNSTON:

25 Q.       What was that information          you just gave to Ms.




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 1 Martin ?

 2 A.         Where I was lock ed up at in Indianapolis .

 3 Q.         I want to show you what 's been mark ed as Hayward

 4 No. 7 .     I'm going to point you to a particular              page

 5 there .     Do you recognize         your name and the address ?

 6 A.         Yes .

 7            MR. WARD:        What is the exhibit ?

 8            MS. JOHNSTON:        The exhibit       is Hayward   7.     If I

 9 could put it up on the screen .

10            BY MS. JOHNSTON:

11 Q.         Is that the information         that you provided          to Ms.

12 Martin     during    this telephone      call ?

13 A.         Yes .

14            MS. JOHNSTON:        Your Honor , I don't know           if the

15 Court want s me to finish            this call -- it 's several        more

16 page s -- or if the Court want s to recess .               I know the

17 Court has a meet ing .

18            THE COURT:        Why don't we take a recess         now and

19 we will resume        -- I believe      someone    indicated   we had a

20 matter     we need ed to discuss .

21            Ladies and gentlemen        , I'm going to give you a

22 little     bit long er than normal        lunch break because we

23 have an     administrative      mat ter to    address    with the

24 attorney s.        Please   return    at 2:10 p.m ., and we will

25 resume     with this testimony .




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 1                  (Jury excused     at 1:01 p.m. )

 2                  (Off the record       at 1:01 p.m. )

 3                  (On the record       at 2:09 p.m. )

 4          THE COURT:      Counsel , I want to re mind you again ,

 5 I told the jury we would be resuming              at 2:10 .    That

 6 clock is actual ly slow .       It's now 2:09 , and when I said

 7 I would take up preliminary           matter s, I went 2 o'clock

 8 so we would have ten minute s to do it .

 9          So when people      aren't    here , you're   cut ting off

10 your time for preliminary        matter s.       I try -- I

11 earn estly try to have this court run a little                better    on

12 time record    than Amtrak , so I would ask your

13 cooperation    in being at the appoint ed place and time

14 when we're ready to address           thing s.

15          MR. WARD:     I thought      you said be back at 2:10 .

16 That 's what I wrote down .

17          THE COURT:      For the jury .      No , what I said

18 before   was I would add ten minute s to it so we could

19 have ten minute s for our preliminary             matter s.

20          MR. WARD:     If I mis understood , I apologize .

21          THE COURT:      I have got a hint of what's           afoot in

22 the issue that was alluded         to .   I don't think       this is

23 an issue for the witness        on the stand ; is that correct ?

24          MS. GREENBERG:       Correct , Your Honor .

25          MR. MARTIN:      That 's correct , Your Honor .




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 1            THE COURT:     If that 's the case , then I suspect

 2 that this witness        is going to be on the stand for a

 3 while .     Is this the next sequential       witness ?

 4            MS. GREENBERG:     It could be , Your Honor ,

 5 depend ing what time we finish        with this witness .

 6            THE COURT:     Is there a witness       you can take

 7 before    him ?   What I was thinking      of do ing was deal ing

 8 with this on the break .

 9            MS. GREENBERG:     Why don't we see where we are at

10 the break and whether he        switch    around   witness es .

11            THE COURT:     If you could switch       around , that

12 would be good , unless       it 's going to really      destroy     your

13 sequence     and timi ng and so forth , but I would prefer               we

14 bring the jury in as scheduled           at 2:10 , continue       with

15 this witness , conclude       this witness , see what the time

16 is , and if we need to take one witness            out of turn

17 then , whether     we address   this issue before       this witness

18 take s the stand , any problem       with that ?

19            MS. GREENBERG:     No , Your Honor .

20            THE COURT:     Let 's see if the jury is ready .          Did

21 I cut off your proffer ?        Did you want to make a

22 proffer ?

23            MR. MARTIN:     All I want ed to say , Your Honor ,

24 you may very well want to address           this motion    before

25 the jury come s back in because          there are motion s with




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 1 regard    to all defense      counsel , and I don't know        what

 2 cross-examination        will be to Nathan       King .

 3            THE COURT:      Unless somebody      tell s me they want

 4 to do the same thing with this witness , then I would

 5 defer to the next witness .

 6            MR. MONTEMARANO :       Then I think since I will          be

 7 lead ing on Mr. King , my intention            was to question     him

 8 about his prior record         as provided      to us last week by

 9 the government .        They provided   rap sheet s relating          to

10 his prior s.     It 's also in the other Jenks material , and

11 I was intend ing to inquire         of him relative        to that,

12 rather    standard   boring    operati ng procedure .

13            MS. JOHNSTON:      I don't know      what in particular

14 counsel    is intend ing to cross -examine         Mr. King about ,

15 jus t to give me that broad thing .             Anything    he 's been

16 arrested    about , we will question      him about .        We gave

17 him the complete        criminal   history .     Just so we're

18 clear , that was available         to them a week prior to the

19 start of trial June 6, not last week .

20            THE COURT:      We will cross that bridge         when we

21 get to the question , all right ?         And Mr. Sussman , did

22 you have -- did I cut you off on a proffer ?                 If you

23 want to make a proffer , make a proffer .

24            MR. SUSSMAN :     No , this is something        de sign ed to

25 save time Your Honor .         Two things,      Ms. Johnston    and I




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 1 have some professional         dis agreement s.      The first one

 2 concern    he r respond ing with a legal argument          to an

 3 objection    about the co -conspirator 's hearsay          rule .        I

 4 don't think     that 's a proper      argument .     I'm sure the

 5 Court know s the law and know s what counsel             is object ing

 6 to and know s what her theory is, and              I don't think        it 's

 7 appropriate .     I think if that need s to be said , it

 8 should    be said at the bench .

 9            MS. JOHNSTON:      I thought   the Court was asking               me

10 what my position        was , so I gave it to him .

11            THE COURT:      I will ask that we do those thing s

12 at the bench .     I agree with you .

13            MR. SUSSMAN :     Second   thing .

14            THE COURT:      What I'm try ing to      avoid , Mr.

15 Suss man , as you can obvious ly see , I'm try ing to

16 minimize    the number     of bench conference s with so many

17 lawyer s, but by no mean s do I wish to prejudice anybody

18 by having colloquies that shouldn't be heard by the

19 jury and    I will make certain we don't do that.

20            MR. SUSSMAN :     With respect       to the last witness .

21 Ms. Johnston     approach ed him with what she call ed Harden

22 -- I'm sorry , Hayward-7 .        Now , Hayward-7 , she show ed

23 him one document .        Hayward-7 , in my calculation , is a

24 group of document s, perhaps          60 or 70 page s, I don't

25 know if my count is right .           I asked Ms. Johnston         to




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 1 identify    for us what       exhibit s she would be using with a

 2 witness    before    taking    the stand .    She was un willing       to

 3 do so.

 4            I don't think      it 's appropriate     for her to have

 5 20 or 30 or 40 page s labeled          Hayward-7 , show the

 6 witness    one page , without       show ing it to us or put ting

 7 it on the screen , because          I don't know     what she 's

 8 showing    the witness , and I think that 's basic right .

 9            THE COURT:      I have not required       that either      side

10 dis close what the exhibit s are that they're              going to

11 use with that witness .          I do believe      she indicated      what

12 exhibit    number    it was , and that she was going         to a

13 specific    page .    Apparent ly it 's not paginate d.        If , in

14 the future , you are trouble d by the fact that you don't

15 know which page it is and you want to turn to it , just

16 tell me that and I'll make sure she told you .

17            MS. JOHNSTON:       I believe     I put it up on the

18 screen    so everyone    could see what I was referring              to .

19            MR. SUSSMAN :      I miss ed it if it was on the

20 screen , and they're       not paginate d.

21            THE COURT:      Please   don't hesitate     to interject

22 that you would like to know where it is in the book so

23 you can take a look at your exhibit s and see where it .

24 is.   I don't have      a problem     with it .     That 's fine .

25            MR. SUSSMAN :      In term s of delay ing the process ,




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 1 if it does , it does .

 2           THE COURT:      I want to re mind you , again , if you

 3 I cut you off on any proffer           you want to make , make

 4 sure you let me know .        We'll take it up as a

 5 preliminary     matter    and take as long a proffer       as you

 6 want .    In the meantime , we have the jury .         Let 's bring

 7 the jury in .

 8           MS. JOHNSTON:      Do we have our witness , Your

 9 Honor ?

10           THE COURT:      Oh , yes .

11           MR. MITCHELL:      One of the other issue s is the

12 monitor .

13           THE COURT:      Oh , you can't see .    Mr. Mitchell ,

14 how about if I just tell the witness           to sit up so that

15 people    can see him .

16                  (Jury return s at 2:16 p.m. )

17           THE COURT:      W e'll begin as soon as the witness

18 is brought    in , so just one moment .

19                  (Witness     resume s the stand at 2:19 p.m. )

20           THE COURT:      You may proceed , Ms. Johnston .

21           MS. JOHNSTON:      Thank you, Your Honor .

22           BY MS. JOHNSTON:

23 Q.        Mr. King , when we left off , I had show ed you

24 what was mark ed as government 's -- a page of what was

25 mark ed as Government 's Exhibit         Hayward-7 .




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 1           Did you recognize     that address      that was on that

 2 page ?

 3 A.        Yes .

 4 Q.        What is that in relation       to the call ?     What is

 5 that information ?

 6 A.        While I was incarcerate d.          You talk ing about the

 7 address    that you just show ed me ?

 8 Q.        The one that was on the screen          right next to

 9 you .    It should    be on the screen .

10 A.        Incarcerate d in Indianapolis .

11 Q.        Is that the information       you were giving      Ms.

12 Martin    during the    telephone   call ?

13 A.        Yes .

14 Q.        If we could continue      with the call , please .

15           (Audio record ing begin s play ing at 2:19 p.m .)

16           MS. JOHNSTON:      We're on Page 21 .

17           (Audio record ing stop s play ing at 2:23 p.m.)

18           BY MS. JOHNSTON:

19 Q.        On Page 25 , the reference         that you will write

20 her at the address        that you send me and then you say

21 Granny 's .

22           Is that the same address       where you dropped         off

23 the cocaine       and pick ed up the money from Ms. Martin ?

24 A.        Yes , it is .

25 Q.        Do you recall     the name of that street ?




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 1 A.       I believe     it 's Nicholson    Street .

 2 Q.       What part of Washington         was it ?

 3 A.       Northeast .

 4 Q.       Your conversation      there about on the same Page

 5 25 where you're      offering   to write her back and explain

 6 to her and you're      tell ing her that that 's BS.        And what

 7 are you referring      to there on Page 25 ?

 8 A.       I told her to write me back -- I told her write

 9 me back and , you know , send me the picture , write me

10 and -- you know , send me the picture , I look at it ,

11 I'll write her back .       And she was say ing something       else

12 about -- she was talk ing about something             about somebody

13 said something    and I was , like , that 's bull shit .

14 Q.       Continue .

15 A.       I'm say ing from my memory , that 's what I recall

16 of -- she was talk ing about somebody          -- somebody    else .

17 Q.       But when you said to her , okay , do that , and

18 tell me what's    going on , then you can tell this

19 shit head that you'll      feel a little     better    than what you

20 know .   What are you tell ing her there ?           What are you

21 tell ing her to send you or to do ?

22 A.       I don't recall     in my memory     on that .

23 Q.       That 's fine .    Now , at the bottom , was -- did the

24 transcript   accurately     reflect   that you told Ms. Martin

25 you loved her ?




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 1 A.         Yes , I did .     I told her that .

 2 Q.         Now , if we could go to the next call , which is

 3 CD-2 C, transcript     on Page 27 .

 4            Did you re view that transcript         and that call and

 5 did you listen      to the record ing and compare        it with the

 6 transcript ?

 7 A.         Yes , I did .

 8 Q.         Is the transcript        accurate   in term s of who the

 9 speak er s are ?

10 A.         Yes , it is .

11 Q.         Again , was this call while you were in the jail

12 in Indiana ?

13 A.         Yes , it is .

14 Q.         On or about the time and date reflect ed ?

15 A.         Yes .

16            MR. WARD:       Excuse   me , what is the date ?

17            MS. JOHNSTON:       The date is December     23 of '03.

18 It's Page 27 of the transcript            book .

19            MS. WARD:       Thank you .

20            MS. JOHNSTON:       If we could play that call ,

21 please .

22            (Audio record ing begin s play ing at 2:26 p.m. )

23            (Audio recording stops playing at 2         :29 p.m. )

24            BY MS. JOHNSTON:

25 Q.         The pic ture, is that the same as the picture            in




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 1 the first call ?

 2 A.       Yes .

 3 Q.       Who is Uncle Gene ?

 4 A.       That's    my uncle .

 5 Q.       You told her you tr ied to        call Uncle Gene to

 6 tell him to do something .         What was the something       you

 7 were going to ask Uncle Gene to do ?

 8 A.       To go talk to her about the money that -- the

 9 $75,000 .

10 Q.       To talk to whom about the $75,000 ?

11 A.       Paula .

12 Q.       Then further     down , Ms. Martin     says because    he

13 does n't know anything      about anything .

14 A.       Right .

15 Q.       What did you understand        her to be tell ing you ?

16 A.       She 's say ing Uncle Gene don't know nothing           about

17 the money .

18 Q.       The money being what money ?

19 A.       The $75,000 .

20 Q.       If we could go to the next call , CD-2 D on Page

21 30 .

22          Again , did you re view the call and the

23 transcript s for this call ?

24 A.       Yes , I did .

25 Q.       CD-2 D.    Did this call happen      on or about




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 1 Christmas      day of 2003 while you were still in Indiana ?

 2 A.        Yes .

 3 Q.        Does it correct ly identify       parti es ?

 4 A.        Yes , it does .

 5 Q.        Who are the part ie s to this call ?

 6 A.        Me and Ms. Martin .

 7 Q.        If we could play it , please .

 8           (Audio     record ing begin s play ing at 2:30 p.m. )

 9           (Audio recording st      op s playing    at 2:31 p.m. )

10           BY MS. JOHNSTON:

11 Q.        Does the conversation        go on for several      minutes

12 and you discuss        your mother    and other people    that you

13 and Ms. Martin        know ?

14 A.        Yes .

15 Q.        Calling your attention to the portion that we

16 played,   at the very end of the page , you ask how 's Aday

17 doing , at Page 30 at the bottom .          Who 's "Aday ?"

18 A.        That 's Ms. Martin 's grand daughter .

19 Q.        Above that , you ask ed how is D do ing .        Who is

20 the "D" you were referring           to , again on Page 30 , Mr.

21 King ?

22 A.        D?      I don't recall   who D is .     I don't know.

23 Q.        Above that , after you wish Ms. Martin          a Merry

24 Christmas , you asked her how you do ing , and Ms. Martin

25 respond ed , oh your uncle came to see me , and I -- I




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 1 gave him those paper s.

 2          What was your understand ing of what Ms. Martin

 3 was tell ing you ?

 4 A.       She gave Uncle Gene the money .

 5 Q.       Did you have conversation s then with Mr.              --

 6 Uncle Gen e -- do you know Uncle Gene 's full name ?

 7 A.       Yeah .    Eugene   Bird .

 8 Q.       Did you have conversation s with Mr. Bird

 9 concern ing whether     or not he received         any money from

10 Ms. Martin ?

11 A.       Yes , he did .

12 Q.       What was your conversation         with Mr. Bird ?

13 A.       He said that she had gave him some money , but it

14 was n't the money that I was look ing for .

15 Q.       Do you know how much money -- did Mr. Bird tell

16 you how much money she had given him ?

17 A.       It was,    like , $3,500    or something     like that .

18 Q.       Now , if we could go to call CD-2 E, which is on

19 Page 34 .    Do you have that page in front of you Mr.

20 King ?

21 A.       Yes , I do .

22 Q.       In term s of this call , it reflect s that it was

23 the day after Christmas , again from the Marion              County

24 Jail .   Now it 's to a different       number .

25          Do you recognize      that telephone       number   at the




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 1 top ?

 2 A.       Yes .

 3 Q.       Whose telephone           number   is that ?

 4 A.       My fiancee       number .

 5 Q.       Excuse   me ?

 6 A.       My fiance e, Elizab eth .

 7 Q.       What 's her name ?

 8 A.       Elizabeth       Evans .

 9 Q.       Who are the parti es to this conversation ?

10 A.       Me and Elizabeth .

11 Q.       Excuse   me ?

12 A.       Me and Elizabeth .

13 Q.       Does a third person           get on the phone during           this

14 conversation ?

15 A.       Yes , he does .

16 Q.       Who is that third person ?

17 A.       Uncle Gene .       Uncle     Gene .   Gene Bird .

18 Q.       If we could please           play this call , CD-2 E.

19          (Audio record ing begin s play ing at 2:33 p.m. )

20          MS. JOHNSTON:        If we could play jus t the first

21 couple   of line s to get him to recognize               the voice s.

22          (Audio recording           stop s playing      at 2:34 p.m. )

23          BY MS. JOHNSTON:

24 Q.       Who are the two voice s in the beginning                part ?

25 A.       Me and Elizabeth .




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 1 Q.       Do you have some conversation          with her at the

 2 beginning      concern ing her and Christmas       at the beginning

 3 of this conversation ?

 4 A.       Yes .

 5 Q.       If we could start at Page 35 about a third of

 6 the way up from the bottom         on Page 35 .

 7          (Audio    record ing begin s play ing at 2:34 p.m .)

 8          (Audio record ing stop s play ing at 2:35 p.m. )

 9          BY MS. JOHNSTON:

10 Q.       Who is she going to try to call for you at the

11 end of that call on the bottom          of Page 36 ?    Who do you

12 ask her to call ?

13 A.       Gene , my uncle .

14 Q.       How is that call going to be set up ?

15 A.       Three -way .

16 Q.       Were there any problem s with maki ng a three -way

17 call with you being on the phone from the jail ?

18 A.       Yeah .    You got to blow into the phone .

19 Q.       Why do you have to blow in the phone ?

20 A.       Because    it 's cut off , attempt ing to     make a

21 three -way .

22 Q.       In this conversation , do you then try to make a

23 three -way call by blow ing in the phone ?           Eventually , on

24 Page 38 , are you able to make connect            and have a

25 three -way conversation ?




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 1 A.       Yes .

 2 Q.       Okay .    If we could start with --

 3          (Audio record ing begin s play ing at 2:36 p.m .)

 4          (Audio    record ing stop s play ing at 2:38 p.m. )

 5          BY MS. JOHNSTON:

 6 Q.       Who are the three people        in that portion       of the

 7 conversation ?

 8 A.       Myself , Elizabeth     and Gene .

 9 Q.       What were you discus sing ?

10 A.       Discuss ing the money .

11 Q.       Was there a problem       with the money ?

12 A.       Yes , there was .

13 Q.       What was the problem       with the money ?

14 A.       It was n't money that was suppose d to have been

15 the money , $75,000 .

16 Q.       How do you know that ?

17 A.       Because    he said it was not .

18 Q.       Excuse    me ?

19 A.       Eugene    said it was not , he didn't       get the

20 $75,000 .

21 Q.       Did you continue      your conversation      with Ms.

22 Evans after Mr. Bird hung up ?

23 A.       Yes .

24 Q.       If we could continue       with play ing it .

25          (Audio record ing begin s play ing at 2:39 p.m .)




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 1          (Audio record ing stop s play ing at 2:39 p.m. )

 2          BY MS. JOHNSTON:

 3 Q.       Now, there, it's just you and           Elizabeth

 4 speaking.      What are you tell ing her when you say I

 5 don't know     what kind of game s they're       play ing , and she

 6 says you're     suppose d to be call ing her to get it

 7 straight .     Who are you suppose d to be call ing ?

 8 A.       Ms. Martin.

 9 Q.       What are you talk ing about when you say you

10 don't know what kind of game s they're           play ing ?   What

11 are you referring      to ?

12 A.       Game s with   the money .

13 Q.       If we could pick up again with the call on Page

14 45 .

15          (Audio record ing begin s play ing at 2:40 p.m .)

16          (Audio record ing stop s play ing at 2:41 p.m. )

17          BY MS. JOHNSTON:

18 Q.       If you could , in that portion          of the call , what

19 are you discuss ing when you -- when the reference              is

20 made to 75 ?

21 A.       It was $75,000 .

22 Q.       And then further       down on the page , you reference

23 that she play s dumb .        She ain't dumb .    It 's BS.    What

24 are you tell ing Elizabeth ?

25 A.       I was tell ing her she'll       -- you know , she owe s




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 1 $75,000 , she knew what I was talk ing about it .

 2 Q.       Who is the "she "?

 3 A.       Ms. Martin .

 4 Q.       And then Ms. Evans asks you what can she have to

 5 put in the bank , and what do you tell her ?

 6 A.       I had to get the money first .

 7 Q.       What money were you referring          to ?

 8 A.       The $75,000 .

 9 Q.       That call continue s, and during         that call , do

10 you talk about your expense s and what 's going on with

11 Ms. Evans back down where she live s?

12 A.       Yes .

13 Q.       If we could go to the last call , CD-2 F on Page

14 56 .

15          Again , did that call occur while you were in the

16 same jail facility ?

17 A.       Yes .

18 Q.       And was it a call to the number          that 's listed

19 there , 301 -27 0-9007 ?

20 A.       Yes .

21 Q.       And who are the parti es to the call ?

22 A.       Me and Ms. Martin .

23 Q.       Would that have occurred        on or about December       27

24 at the time indicated       on the call ?

25 A.       Yes .




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 1 Q.         If we could play it , please .

 2            (Audio record ing begin s play ing at 2:43 p.m .)

 3            (Audio record ing stop s play ing at 2:45 p.m.)

 4            BY MS. JOHNSTON:

 5 Q.         During that portion      of the conversation      that

 6 begin s on Page 56 , on Page 56 when you say got a

 7 letter , what came in the letter          that you got from Ms.

 8 Martin ?

 9 A.         A picture    of the person    she said came to see

10 her .

11 Q.         Was there an actual      letter   with it ?

12 A.         A little    note .

13 Q.         Did you recognize      those people ?

14 A.         No , I don't .

15 Q.         Had you ever seen those -- that person          before ?

16 A.         No , I did not .     No , I didn't .

17 Q.         And then on Page 57 where Ms. Martin          reference s

18 that your father       -- it says at the top , I told you your

19 father     had call ed .

20            At the time of this conversation , was your

21 father     still alive ?

22 A.         My father 's dead .

23 Q.         And had you had      any conversation s with your

24 father     before   he died about the $75,000      other than it

25 was n't paid ?




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1 A.         No , I didn't .

2 Q.         Now , further     down , there 's some conversation

3 about Ms. Martin        on Page 57 , says she just has to come

4 and see you .        Did she ever come to see you ?

5 A.         No, ma'am .

6 Q.         Then you say , let me see .      How can I say it this

7 way .   What were you hesitati ng about ?

8 A.         I don't recall      what I was hesitati ng about .

9 Q.         There 's some discussion      about paper s for your

10 brother    to go to school .      Do you have a brother ?

11 A.        Yes , I do .

12 Q.        What 's his name ?

13 A.        Billy Joe King .

14 Q.        Was he in any school      that you know of ?

15 A.        No .

16 Q.        Then we end ed up where Ms. Martin        says for your

17 brother , and you said don't mess with , and you were cut

18 off then .       Do you have an on going relationship      with

19 your brother ?

20 A.        No , I don't .

21 Q.        Were you telling      her not to mess with him ?

22 A.        Yes .

23 Q.        Then the conversation      goes into another      subject

24 talk ing about your mother 's business        and this lady

25 Cookie again .       Do you see that on Page 58 ?




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 1 A.        Yes .

 2 Q.        At the bottom       of -- why don't we just go ahead

 3 and play that straight          through , please .   Pick up right

 4 where we left off on Page 58 .

 5           (Audio record ing begin s play ing at 2:48 p.m .)

 6           (Audio record ing stop s play ing at 2:52 p. m.)

 7           BY MS. JOHNSTON:

 8 Q.        Now , Mr. King , at the bottom        of Page 8 where Ms.

 9 Martin    talk s about having      a show with R. Kelly and

10 Alicia    Keys and Nelly,       based on your knowledge , do you

11 know whether       or not   she was involve d with any of those

12 star s?

13 A.        No , I don't know .

14 Q.        Did she ever send you any flier s or anything             to

15 say she was producing         a show with them ?

16 A.        No .

17 Q.        Now , when we get to Page 59 , you start

18 stuttering       a little   bit and pausi ng and say -- ask a

19 about the paperwork         for the house and stuff , and you

20 say you gave it to Uncle Gene , the paperwork             for the

21 house for Uncle Gene .          What are you talk ing about when

22 you say the paperwork         for the house ?

23 A.        The money .       The $75,000 .

24 Q.        And then you say -- you said you gave it to

25 Uncle Gene and Ms. Martin          repeat s your question ; is




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 1 that correct ?     Did I give it to him ?

 2 A.         Yes .

 3 Q.         And then you have a discussion        about -- she says

 4 what he told me to , and you say that he 's se nile .            What

 5 were sen ile .

 6            What were you discuss ing with her there ?          Were

 7 you say ing that Mr. Bird is senile ?

 8 A.         I was say ing that he was n't understand ing what I

 9 was try ing to tell him about the money what -- how

10 much money to get .

11 Q.         And then again at the bottom , you refer to the

12 paperwork     with you .    What did you mean by the paperwork

13 with Ms. Martin      at the bottom    of Page 59 ?

14 A.         The money .

15 Q.         And then at the top of Page 60 , you indicate

16 that your dad never pick ed up the paperwork .             Again ,

17 paperwork     refer s to what ?

18 A.         The $75,000 , the money .

19 Q.         Why didn't    you just say $75,000     on the phone ?

20 A.         I don't know .    I ain't -- I was n't going to

21 discuss    like that money on the phone like that .

22 Q.         Why ?

23 A.         The phone was -- it says it 's record ing --

24 tapped .

25 Q.         Then Ms. Martin    then says that 's what the guy




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1 said he was suppose d to get .           What guy did you

2 understand       her to be referring      to ?

3 A.        I don't know .      She said , I guess the guy in the

4 picture , the picture      -- whoever      she 's send ing me the

5 picture   of .

6 Q.        You didn't    recognize   him ?

7 A.        No , I don't know     the guy .

8 Q.        Do you still have the picture ?

9 A.        Yes .

10 Q.       You saw the picture ?

11 A.       Yes .

12 Q.       Did you recognize      him ?

13 A.       I look ed at it .     I didn't know      who it was .   I

14 threw it in the trash can .

15 Q.       Then that continue s, and you tell her further

16 down on Page 60 that you had to straight en out that

17 contract , that contract , that paperwork           for the house .

18 What are you tell ing Ms. Martin ?

19 A.       Well , I feel that Ms. Martin          is play ing game s

20 with me about the      money , so I just told her , yeah , I

21 straight en the contract .      You need to give me the

22 money , and I don't know      who the guy is that you're

23 referring   to suppose d to get the money .          So I just --

24 Q.       Told her you had taken care of --

25 A.       That 's what I told her , yes .




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 1 Q.         And why did you tell her that ?

 2 A.         Because    I thought   that she was BS-ing me about

 3 the money .

 4 Q.         Why did you think she was BS-ing you about the

 5 money ?

 6 A.         Because    it was n't maki ng no sense .    She said she

 7 talk ed to my dad about the        money and my dad was dead .

 8 He 's pass ed away .

 9 Q.         And was that guy in the picture         anyone   you had

10 seen at your father 's yard or with your father ?

11 A.         I don't eve n know the guy .     Never seen him in my

12 life .

13 Q.         After that call , did you have more call s while

14 you were in jail with Ms. Evans and Mr. Bird and

15 perhaps    even Ms. Martin ?

16 A.         I believe    so .

17 Q.         Did you ever receive      the $75,000    from Ms.

18 Martin ?

19 A.         No , I did not .

20 Q.         To your knowledge , is that money still owe d to

21 your father        or to you ?

22 A.         Yes .

23 Q.         What -- that money was payment       for what ?

24 A.         It was the money I suppose d to pick up when I

25 delivered     the thing s -- the cocaine     that she didn't




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 1 give all the money to my dad .

 2 Q.        You use the word "thing s" and you've           use d the

 3 word "business " and you've         use d the word "paperwork ."

 4 Why don't you just say "cocaine ?"

 5 A.        Cocaine .

 6 Q.        Well , when you're      on the telephone , why don't

 7 you just say cocaine ?

 8           MR. MONTEMARANO :       Asked and answered , Your

 9 Honor .

10           THE COURT:      Over ruled .

11           THE WITNESS:        Because    I was in there for

12 trafficking       cocaine .    I didn't   want to say that on the

13 telephone .

14           BY MS. JOHNSTON:

15 Q.        Now , if I could show you a page of Government 's

16 Exhibit   Hayward -28 and ask you to look at this page .

17 There is a reference          to Nathan 's address     there .    Do you

18 recognize     that ad dress ?

19 A.        Yes .

20 Q.        Okay .    And what address       is that ?   Whose address

21 is it ?

22 A.        It's P. O. Box -- this is while I was lock ed up

23 in MDOC in Mississippi .

24 Q.        And then let me show you Hayward -26 .            Do you

25 recognize     that exhibit ?




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 1 A.        Yes .

 2 Q.        Whose information      is that ?

 3 A.        Elizabeth    Evans .

 4 Q.        Now , Mr. King , you were writted -- you were

 5 brought    in here to testify ; is that correct ?

 6 A.        Yes .

 7 Q.        Did you reach out to our office          to provide    this

 8 information ?

 9           MR. MARTIN:     Objection , lead ing .

10           THE COURT:     Sustained .

11           BY MS. JOHNSTON:

12 Q.        Mr. King , did you ever , on your own , attempt          to

13 contact    our office    to provide     information ?

14           MR. MONTEMARANO :      Objection .    Same objection .

15           MR. WARD:     Same question .

16           THE COURT:     Over ruled .

17           BY MS. JOHNSTON:

18 Q.        You may answer     the question .     Did you ever send

19 a letter    to our office ?

20 A.        No.

21 Q.        Call our office ?

22 A.        No .

23 Q.        Offer in any way that you had information             about

24 Ms. Martin       or other people ?

25 A.        No .




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 1 Q.         What sentence        are you serving     now , Mr. King ?

 2 A.         Twenty    year s.

 3 Q.         Do you have any expectation            of get ting any

 4 reduced     sentence    as a result     of your testimony       here ?

 5 A.         No .

 6 Q.         Just so the record        is clear , you reference d some

 7 people    as Mr. Eugene        Bird and some other folk s.        I want

 8 you to    look at CH-1 and tell me if you recognize               any of

 9 the people        that appear     on CH-1 .

10            MR. MARTIN:         Again , Your Honor , objection .         This

11 is very similar        to the initial         question   that was asked

12 about pan ning the courtroom           and recognizi ng people .

13            THE COURT:      I could n't hear the las t thing you

14 said .

15            MR. MARTIN:         I said , objection , Your Honor .

16 This is very similar           to the first question        that I had

17 object ed to .       I don't know     if you want me to approach

18 as opposed        to maki ng argument    in front of the       jury .

19            THE COURT:      Why don't you approach          so I can hear

20 you better .

21                       (At the bar of the Court.)

22            MR. MARTIN:         Your Honor , I think twice before ,

23 the government        trial counsel     had asked a pass ing

24 question     regard ing Mr. Learley           Goodwin , and at least

25 once after that , she had asked the witness                 to look




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 1 around   the courtroom , to pan the courtroom          and see if

 2 he recognize d anyone       else and he had answered       no .    I

 3 think he answered      no twice , and it seem s to me that

 4 this is a third attempt        to ask the same question , this

 5 time , though , by show ing an exhibit , so I would object ,

 6 asked and answered .

 7          MS. JOHNSTON:       I would tend to dis agree with Mr.

 8 Martin   in term s of asking     him about Mr. Goo dwin .         He

 9 identifi ed Ms. Martin .

10          COURT REPORTER:     I don't know what the noise is

11 up here, but I cannot hear you.

12          MS. JOHNSTON:       I'm using the chart because          this

13 witness , during     his testimony , has identifi ed any

14 number   of people    whose picture s appear      on that board ,

15 so I'd like him to identify         them on the record .

16          THE COURT:      What you   intend to ask him is not to

17 fin d Learley    Goodwin    on the chart , but to identify

18 people   he 's already     identifi ed by name , such as Eugene

19 Bird?

20          MS. JOHNSTON:       I want to ask him to identify

21 anyone   on the chart whom he recognize s on the chart .

22          MR. MARTIN:       That 's my objection .

23          MS. JOHNSTON:       Quite frankly , that would go to

24 cross-examination     , to go to the strength        if he does --

25 I don't know     that he is going to identify         with respect




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 1 to Mr. Goodwin .        I anticipate    he is going to identify

 2 Mr. Brim , his father ; Mr. Bird , his uncle ; probably                     Mr.

 3 Nunn , whom he also knew from grow ing up in the

 4 neighborhood .     I don't know       who else he may or may not

 5 identify    on that chart .     And I don't think         it 's

 6 appropriate     for me to lead him .

 7            THE COURT:     I d on't have     a perfect   memory .        I do

 8 remember    you asking     him does he recognize        any people           in

 9 the courtroom , and he identifi ed Paulette             Martin .        I

10 heard that question        asked .    It may have   been -- the

11 record   will be my guide on that .          I don't see any

12 reason   why you can't ask him to tell you whether                 he

13 recognize s any person s on the chart .

14            MS. JOHNSTON:     That 's what I was going to ask

15 him .

16            THE COURT:     If on cross-examination         you think

17 that he's somehow        being in consistent , you can pound him

18 on the fact that he didn't           identify   anybody    else when

19 he was asked to .

20            MR. MARTIN:     Your Honor , there 's another          way for

21 her to do that .

22            THE COURT:     This chart has far more than the

23 people   on trial here .

24            MR. MARTIN:     That 's true .

25            THE COURT :    She want s to know which of these




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 1 people   on this chart he know s.

 2          MR. MARTIN:      What she can do is she can make

 3 reference     to his testimony .     Now , you mentioned      Mr.

 4 So -and -so , and you mention ed Mr. So -and -so .        Would you

 5 point out where he is ?        Would you point out where she

 6 is ?   You mention ed Ms. Paulette       Martin .    Point out

 7 where she is .     You know , he said he does n't recognize

 8 --

 9          MS. JOHNSTON:       I don't think    there 's anything

10 wrong with me asking       the question .     I don't think       this

11 jury should     get the impression      that I have told him who

12 to identify     on the chart , which is what they will do --

13          THE COURT:      Why don't you ask it his way and

14 then if there 's anybody       else on the chart you

15 recognize .

16          MS. JOHNSTON:       If that 's the way the Court would

17 like me to ex tend the question ing , I will do that .

18          MR. WARD:     Your Honor , before      we leave the

19 bench , I would like to make a comment .

20          THE COURT:      Wait a minute .

21          MR. MONTEMARANO :      The reason    I object    to this

22 chart at this point is there are name s on the picture s.

23          MS. JOHNSTON:       The name s have been covered         up .

24          MR. MONTEMARANO :      Are they all covered       up ?

25          MS. JOHNSTON:       We have put tape on it that 's




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 1 re movable .

 2           MR. WARD:      Your Honor , if I may .         This    Court has

 3 been consistent ly prod ding us during             the trial to move

 4 it along , and I don't take issue with              that .

 5           THE COURT:      You use d to do it yourself .

 6           MR. WARD:      I use d to do it myself , and I've

 7 understood      -- understand       that , but I've lost count

 8 during    this last episode         of direct    examination      how many

 9 time s the witness       was asked , and what does the 75 refer

10 to ?    Of course    it refer s to $75,000 , but he was asked

11 so many time s, I lost count of it .              Same thing with

12 what was the $75,000        for ?     Was it for cocaine ?            I lost

13 count of that , too .       No w, either      counsel    think s that

14 this jury is a bunch of mor ons --

15           THE COURT:      I think the jury may be able to hear

16 you .

17           MR. WARD:      Either     counsel   think s the jury is a

18 bunch of mor on s, or I've lost -- I just don't

19 understand      what's   going on here .        It seem s to me if

20 we're wasting       time , repetitive     question s is wasting           an

21 awful lot of time on counsel .

22           THE COURT:      I hear your concern .          I think that

23 she 's entitle d to ask that question , because                 the

24 reference      is made so many time s in the document .                 And

25 if she goes too far , I'll cut her off .                I recognize




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 1 what your concern       is , but I do think that when a person

 2 use s 75 over and over again in that document , it could

 3 mean different     thing s.

 4          MS. JOHNSTON:        Your Honor , Mr. Ward can

 5 certain ly make his comment s and his objections , but I

 6 do take exception       to his personal      comment s that the

 7 government    think s the jury consist s of nothing         but --

 8          THE COURT:      His objection .

 9          MR. WARD:      But mor on s is the word I use d.

10          THE COURT:      Wait , wait counsel .      Your objection

11 is too late .     I hear your concern , and if she goes too

12 far , object , and I'll stop it .          All right ?

13          MR. WARD:      Thank you .      And I only drew that

14 conclusion    because    I could think of      no other conclusion

15 that made sense .

16          THE COURT :     All right .      Thank you .

17                        (Back in open court .)

18          BY MS. JOHNSTON:

19 Q.       Mr. King , I'm show ing you this chart here and

20 asking   you to -- excuse        me .   Just a moment .

21          MS . JOHNSTON:       Your Honor , I'm going to need

22 about three minute s.

23          MR. WARD:      Excuse    me , Counsel , would you keep

24 your voice up please ?        Those us at the far end of the

25 courtroom    can't hear anything .




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 1           MS. JOHNSTON:      Your Honor , I'm going to need

 2 about three minute s because         there 's an issue with the

 3 chart as it now exist s before          I show it to the witness .

 4 I want to take care of a matter .

 5           THE COURT:      All right .    Why don't you just take

 6 care of it ?       I don't want to recess     and re convene .

 7 There 's no such thing as a five -minute          recess    with this

 8 battleship , so take care of your problem            and we'll

 9 wait .

10                    (Off the record      at 3:05 p.m. )

11                    (On the record    at 3:08 p.m. )

12           MS. JOHNSTON:      Your Honor , I apologize .       What I

13 thought    was covered    up was not complete ly covered         up ,

14 so I've asked the agent to cover it up so the name s are

15 not dis close d to the witness .

16           THE COURT:      All right .

17                         (Off the record     at 3:08 p.m .)

18                         (On the record     at 3:10 p.m.)

19           BY MS. JOHNSTON:

20 Q.        Mr. King , I'm going to ask you to look at these

21 photograph s and tell us if you recognize            any of the

22 people    whom you've    mention ed here during      your

23 testimony .

24 A.        Yes .

25 Q.        Okay .    If you could just point to who you




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 1 recognize .

 2 A.       (Witness     indicati ng .)

 3 Q.       Who is that ?

 4 A.       That 's Ms. Martin .

 5 Q.       Okay .     Do you recognize       anyone    else ?

 6 A.       Eugene     Bird .

 7 Q.       Anyone     else ?

 8 A.       (Witness     indicati ng .)

 9 Q.       Who is that ?

10 A.       Goody .

11 Q.       Okay .     Anyone    else ?

12 A.       La rry .

13 Q.       Larry who ?

14 A.       Nunn , right there .          And Larry .

15 Q.       Okay .     You've identifi ed a few people .            I'm

16 going to ask you to          take this pen and write the name s

17 next to the people       you've    identifi ed and then continue

18 look ing .    I don't know      if you were finish ed or not , but

19 start ing with Paula , write how you know her , what her

20 name is , by what name you know her , and then I want you

21 to initial     and date it .      Not on that tape .          Put it

22 right next to her picture          over here .

23 A.       Okay .     (Witness    indicati ng .)

24 Q.       Tell us what you've           written .

25 A.       Paula Martin .




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1 Q.       Okay .     You have to speak into the micro phone .

2 A.       Paula Martin .

3 Q.       Put your initial s and today 's date --

4 A.       (Witness     indicati ng .)

5 Q.       -- which is the 14 th of June .

6          Who else have you recognized ?

7 A.       Goody .    ( Witness   indicati ng .)

8 Q.       What did you write there ?

9 A.       Goody .

10 Q.      And if you could , initial        and date it .

11 A.      (Witness     indicati ng .)

12 Q.      Anyone     else you recognize     on the picture      -- on

13 the chart ?

14 A.      Mr. Bird .

15 Q.      Mr. Bird ?

16 A.      Eugene .

17 Q.      Anyone     else on the picture     you recognize ?

18 A.      Yes .

19 Q.      Who do you recognize ?

20 A.      Larry Nunn .

21 Q.      If you could write it not on the white tape , but

22 next to the picture      and put your initials      .

23 A.      (Witness     indicati ng .)

24 Q.      If you need to look at the chart .              Who else do

25 you recognize ?




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 1 A.        My dad .

 2 Q.        If you could write your dad 's name next to his

 3 picture .

 4 Q.        Maybe if I hold it for you , it will be easier               to

 5 do .

 6 A.        (Witness     indicati ng .)

 7 Q.        And anyone     else do you recognize ?

 8 A.        Yeah .

 9 Q.        Who is that ?

10 A.        Larry Lane .

11 Q.        How do you know Mr. Lane ?

12 A.        We grew up as kids .

13 Q.        Okay .

14 A.        (Witness     indicati ng .)

15 Q.        Is he related     to anyone      you've    identifi ed on the

16 chart ?

17 A.        Yes .

18 Q.        Who is he related      to ?

19 A.        Goody .

20 Q.        What's     the relationship      between    Larry Lane and

21 Goody ?

22 A.        Stepfather .

23 Q.        Who 's -- Mr. Goody --

24 A.        Yeah .

25 Q.        -- is the stepfather          for Mr. Lane ?




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1 A.       Yes .

2 Q.       Anyone     else you recognize       on there ?

3 A.       Yes .

4 Q.       Okay .     Who 's that ?

5 A.       (Witness     indicati ng .)

6 Q.       All right .     Let me put it down again .            First of

7 all , turn towards      the jury and tell them who you're

8 identify ing .

9 A.       Phil pot .

10 Q.      Say it --

11 A.      Philpot .

12 Q.      And point to which picture             is Philpot .

13 A.      (Witness     indicati ng .)

14 Q.      If you could please          initial    and write the name

15 you know him by and initial           and date it .

16 A.      (Witness     indicati ng .)

17 Q.      How do you know Mr. Phil pot ?

18 A.      He 's like a God brother        to me .

19 Q.      A what ?

20 A.      God brother .

21 Q.      And in one of the          call s that we play ed , there

22 was a reference      to a Philpot .

23 A.      Right .

24 Q.      Is that the same Philpot          you've    identifi ed ?

25 A.      Yes .




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 1 Q.        Was that in your call with Ms. Martin          that we

 2 play ed earlier      today ?

 3 A.        Yes .

 4 Q.        Anybody     else you recognize ?     There are a lot of

 5 picture s.

 6 A.        Bridge t.

 7 Q.        Who ?

 8 A.        Bridge t, my dad 's -- my dad 's wife .

 9 Q.        Where is that ?

10 A.        (Witness     indicati ng .)

11 Q.        Okay .     If you would write her name in and

12 initial   it and date it , please .

13 A.        (Witness     indicati ng .)

14 Q.        Anyone     else ?

15 A.        Louie .

16 Q.        Who ?

17 A.        Loui e.

18 Q.        Okay .     Who 's Louie ?

19 A.        Friend .     Friend   of the family .

20 Q.        I didn't     hear you .     Please speak into the

21 micro phone .

22 A.        Friend     of the family .

23 Q.        Could you , again , write Louis or Loui e next to

24 Loui e and put your initial s and the date ?

25 A.        (Witness     indicati ng .)




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 1 Q.         Is that it ?

 2 A.         That 's all .

 3            MS. JOHNSTON:        I have no further   question s of

 4 this witness .

 5            MR. MARTIN:        Just for the record , I've been to

 6 the Fourth        Circuit.    I re new my earlier   objection .

 7            THE COURT:        Your objection   is note d and

 8 over ruled .

 9            Mr. Montemarano , you may proceed .

10            MR. MONTEMARANO :       Thank you .

11                              CROSS-EXAMINATION

12 Q.         Good afternoon , Mr. King .        How are you ?

13 A.         All right .

14 Q.         We have never met before ; have we ?

15 A.         No .

16 Q.         My name is Michael       Montemarano .   I represent

17 Paulette      Martin .   That 's her right here ; right ?

18 A.         Yes .

19 Q.         I'd like to ask you just a few question s, if I

20 could .      Let 's start with your father 's untimely

21 pass ing .     He died at Thank sgiving       of 2003 ; is that

22 correct ?

23 A.         The day before       Thank sgiving .

24 Q.         The day before .       And if my math serve s, that 's

25 just about a month after you were arrested             in




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 1 Indian apolis;   is that correct , sir ?

 2 A.      Yes .

 3 Q.      And you told -- in response          to Ms. Johnston 's

 4 question , you said your father        had been shot ; is that

 5 correct ?

 6 A.      Yes .

 7 Q.      His shoot ing didn't      have anything     do with drug s

 8 now ; did it ?

 9 A.      I don't know .      I was n't there .    I don't know .

10 Q.      You don't know ?

11 A.      I don't .

12 Q.      You don't know .      Is that your answer , sir ?

13 A.      Yes .

14 Q.      Okay .   Do you   remember    testify ing on the 10 th of

15 November , 2004 , before    a grand jury in this build ing ?

16 A.      Yes .

17 Q.      Do you remember      do ing that ?

18 A.      Excuse me ?

19 Q.      Do you remember      do in g that , testify ing before

20 the grand jury here in this courthouse           back in 2004 , in

21 November ?

22 A.      Yes .

23 Q.      Remember    being asked question s by Ms. Johnston ?

24 A.      Yes .

25 Q.      Do you remember      about half way through      your




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 1 testimony    being asked the follow ing question ?              Tell you

 2 what , I'll put it up on the monitor             so it will be

 3 easier   for you to follow         along --

 4          MS. JOHNSTON:          I'm going to object      to it being

 5 place d before    the jury .       He's question ing a witness .

 6          THE COURT:        Sustained .

 7          MR. MONTEMARANO :         Sure , Your Honor .        I'll show

 8 it to him then .      Exhibit      for Defense    2.

 9          BY MR. MONTEMARANO :

10 Q.       This will comport         be with your recollection ;

11 would it not , sir ?       November    10 , 2004 ?

12 A.       Yes .

13 Q.       Nathan   king ?

14 A.       Yes .

15 Q.       Okay .   That 's you ; right ?

16 A.       Yes .

17 Q.       Page 32 of your testimony .          See where you're

18 asked this question ?           I'm going to read it to you .

19 Now , had you had any discussion s with              anyone   concern ing

20 what happened     to your father ?       Remember      that question ?

21 A.       Yes .

22 Q.       Why don't you read your answer              to the ladies and

23 gentlemen of the jury       ?     Speak up , make sure they can

24 hear you .

25          MS. JOHNSTON:          Objection .




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 1           THE COURT:     Come to the bench .

 2                      (At the bar of the court .)

 3           MS. JOHNSTON:      I don't know    for what purpose

 4 this is being offered , but he asked him whether             or not

 5 he -- how his father       had been kill ed and that it was n't

 6 over drug s, and he said no .        The answer    here is not

 7 in consistent    with the testimony      he gave , so I don't

 8 understand    where we're going with this .

 9           THE COURT:     Let me see what the answer        is .

10           MS. JOHNSTON:      And I should    advise   counsel , if

11 counsel    is going to open this door , then it will come

12 out that this witness       know s that there was meet ings

13 with Lionel     Nunn , and that he believe s Ms. Martin           may

14 have information       about his father 's death , and that Ms.

15 Martin    may have    been involve d in the whole incident

16 involving    how Mr. Brim end ed up shot .

17           The case is still open in Los Angeles           County ,

18 but there are connection s -- allege d connection s

19 between    the second    wife , Mr. and Mrs. Nunn , Ms. Brim ,

20 his mother , and Ms. Martin .        So , there are connection s

21 between    all of them .    I don't know     that this is where

22 anyone    want s to go with this matter , and I just want

23 that clear to counsel .

24           THE COURT:     Mr. Montemarano , I will read , for

25 the record , what the response        is that you're      try ing to




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 1 get him to read .       The question    is now had you -- strike

 2 that .

 3            Now , had you had discussion s with anyone

 4 concern ing what happened       to your father ?      The answer

 5 you want ed him to read was , I call ed my grandmother             and

 6 my aunt and the family , and then they discuss ed about

 7 him get ting kill ed and stuff .        His wife and him was

 8 get ting a divorce      and he -- he was going through         that .

 9 Now , how is that in consistent        with his testimony ?

10            MR. MONTEMARANO:      It continue s further       where it

11 talk s about him going to his stepmother 's home -- Mr.

12 Brim , that is , going to his wife 's home , his new wife 's

13 home and get ting shot by her new boyfriend .

14            MS. JOHNSTON:      The Court can read it .

15            THE COURT:    I'll read it .     It goes on to say ,

16 did your father      ever tell you that he was concerned

17 about his wife threatening         him or hiri ng anyone      to kill

18 him ?    Answer :   Well , they had an incident       one day .    I

19 was not there .      It was something     that he told me .       He

20 went to the house to go see my young er brother , and

21 there was a guy there , and him and Bridg et , that was

22 his wife , they had a little        heat ed argument    or

23 something , and this guy -- Bridg et gave the gun to this

24 guy to shoot my dad a gun .         My dad told me that 's what

25 happened    and after that the police        came .   They told my




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 1 dad he 'd have to leave .           My dad left .     He went back to

 2 New York .

 3            How is that in consistent          with what he said ?

 4 This is de scribi ng an earlier          incident , not his murder .

 5            MR. MONTEMARANO :        I'll leave it alone , Your

 6 Honor .

 7            THE COURT:      Well I'll sustain        the objection .

 8            MR. MONTEMARANO :        Fair enough .

 9            THE COURT:      Wait a minute .        Mr. Montemarano ,

10 come back .

11            MR. SUSSMAN :     The mike s are on .       Can we check

12 the micro phone s?

13            THE COURT:      You're    asking    the wrong person     here .

14 I think the answer      is probably       yes .     It is probably

15 yes , but I would have to get the IT people               up here to

16 answer     that question .

17            MR. SUSSMAN :     That 's the way --

18            THE COURT:      I profess    my lack of confidence         on

19 that issue .

20            MS. JOHNSTON:      I don't know        if they could just

21 turn off -- if they just turn off the --

22            THE COURT:      In 2A, I know you can .

23            MS. JOHNSTON:      They can see our monitors        o n our

24 table s.     He was asking     if something       could be dis play ed

25 only to the witness        and not to the jury , not




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 1 micro phone s.

 2                       (Back in open court .)

 3          THE COURT:      The objection     was sustained .     You

 4 may proceed .

 5          MR. MONTEMARANO :      Thank you , Your Honor .

 6          BY MR. MONTEMARANO :

 7 Q.       Did you ever speak to your father           about the

 8 difference s he was having wi th his prior wife ?

 9          MS. JOHNSTON:       Objection .

10          THE COURT:      Sustained .

11          MR. MONTEMARANO :      Court 's indulgence , please .

12          BY MR. MONTEMARANO :

13 Q.       Now , when you were arrested        in Indian apolis,

14 that was n't your -- that 's the time you're           serving   now ,

15 right , from 2003 ; correct , sir ?

16 A.       Yes .

17 Q.       That 's a 20 -year sentence ?

18 A.       Yes , it is .

19 Q.       Federal    time ?

20 A.       Yes , it is .

21 Q.       Non -parole ; correct , sir ?

22 A.       Yes .

23 Q.       Did you go to trial ?

24 A.       No .

25 Q.       Take a plea ?




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 1 A.         Yes , I did .

 2 Q.         Did you have        a lawyer ?

 3 A.         I had an appoint ed lawyer .

 4 Q.         Appoint ed one .       Are you not happy with your

 5 appoint ed lawyer ?

 6 A.         Yes .     I mean --

 7 Q.         You want ed to hire your own ; didn't         you ?

 8 A.         Excuse     me ?

 9 Q.         You want ed to hire your own lawyer ; did you not ,

10 sir ?

11 A.         No .    I got appoint ed one .

12 Q.         The arrest        in Indian apolis   was not your first

13 arrest ; correct , sir ?

14 A.         No , it was n't .

15 Q.         Nor did it result          in your first conviction ;

16 correct , sir ?

17 A.         Right .

18 Q.         Nor did it        result   in your first conviction     for

19 narcotic s trafficking ; correct , sir ?

20 A.         Right .

21 Q.         In fact , your first conviction          was in 19 85 ; was

22 it not .

23            MS. JOHNSTON:         Objection , may we approach      the

24 bench ?

25                          (At bar of the court .)




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 1           MS. JOHNSTON:      This is that issue that

 2 apparent ly -- I would like a proffer            in term s of --

 3           MR. WARD:    Whoa , whoa , whoa.       We're not up here

 4 yet .

 5           THE COURT:     Wait until the whole crew get s in .

 6           MS. JOHNSTON:      We should    have had this proffer

 7 outside    of the presence     of the jury .      I had asked

 8 before    what Mr. Montemarano       intend ed to do in term s of

 9 the witness ' prior record .         We , as a courtesy , gave

10 them a total printout .        We didn't    dis close -- he didn't

11 dis close to us , as is required         by the rule , what prior

12 convictions     he was going to rely on , and we are

13 entitle d to advance      notice .

14           I've had to object      in front of the jury .        It

15 look s like the government       is try ing to     hide something .

16 I don't know     what he 's going to ask him about , if it 's

17 a littering     conviction , a possession        of marijuana

18 conviction , if it 's a drug trafficking           conviction , but

19 to do this in front of the jury without             giving   the

20 government     prior notice    is in appropriate .

21           THE COURT:     Where do you intend       to go wit h this ,

22 Mr. Montemarano ?

23           MR. MONTEMARANO:      Excuse    me ?

24           THE COURT:     Where do you intend       to go with this ?

25           MR. MONTEMARANO:      I'm going to lay out to the




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 1 Court , that based upon the material           provided       by the

 2 government , a criminal        record    printout    as well as prior

 3 question ing of Mr. King under oath , he has a 19 85

 4 possession     of cocaine     conviction    in D. C. ; he has a

 5 19 86 as sa ult with a d ead ly weapon       in D. C. ; 19 87 , he

 6 has a threat ening in 19 89 , and he denies            it , at least

 7 on -- it's virtually         identical    to the Indianapolis          --

 8 vir tually    identical .     Just change    the lo cation       and it

 9 sounds    the same .     About 15 kilogram s of cocaine           in side

10 the sleep er of his truck , et cetera .             Stopped    by the

11 local police     on a traffic      stop ; search     in cident    with

12 consent    leads to the seizure         and he get s six year s in

13 Mississippi     for that .     He get s out in either         2000 or

14 2002 .

15            I was going    to inquire     about that because        the

16 material     provided    by the   government   suggest s 2002 .

17 However , he testifi ed previously          under oath , he get s in

18 and out    2000 , and then the arrest        at the end of 2003

19 for the identical        crime as in Mississippi .

20            MS. JOHNSTON:      Your Honor , perhaps      it might be

21 appropriate     to take the afternoon        recess    for the jury

22 so that they're        not sitting    here while we have this

23 discussion .

24            THE COURT:     Why don't we do that and we can

25 continue     this discussion ?       I will tell them to break




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 1 until about a quarter       till .

 2           MR. MARTIN:     Your Honor , my issue remain s --

 3           THE COURT:     I will tell them we will talk while

 4 they're     out and we will take a brief break .

 5                            (Back in open court .)

 6           THE COURT:     Ladies and gentlemen       , I'm going to

 7 let you recess     until quart er of 4:00 .

 8                   (Jury excused      at 3:30 p.m. )

 9           MR. MCKNETT:     Your Honor , may Ms. Ali step out ?

10           THE COURT:     Ms. Ali you have a right to be

11 present .     If you want to step out while we have this

12 argument , you may do so .       Let the record       reflect    she

13 waive s her right to be present          during    this discussion

14 on the issue that 's been raise d.

15           All right .    Counsel , settle    down so we can

16 proceed     on this .   I have received     but have not had a

17 chance    to study the notice        filed by counsel    for Learley

18 Reed Goodwin     with respect    to all government       witness es ,

19 that include     but not limited       to Horace    Smith , who we

20 haven't     reach ed yet , but I'm assuming        that the issue

21 identifi ed in this Notice of Intent and the

22 government 's opposition       to it is the same issue on this

23 witness ; is that correct ?

24           MS. GREENBERG:      Yes , Your Honor .      Just for the

25 record , we got that , I think , around           noon today .




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 1            THE COURT:     This notice ?

 2            MR. MARTIN:       It was during    the morn ing break at

 3 11 :30 .

 4            MS. GREENBERG:       Okay . 11 :30 , not noon , but for

 5 the record , that 's when we got that .

 6            THE COURT:     I have      a case that may be germane          to

 7 this , United    States      versus   Vgeri , V G E R I, and --

 8            MR. MONTEMARANO :       Is there a cite , Your Honor ?

 9            THE COURT:     I'm get ting there .     51 F.3d , 876

10 from the 9t h Circuit .         Tell me , Ms. Johnston    or Ms.

11 Greenberg , what your position           is on this issue ?

12            MS. JOHNSTON:       Your Honor , I think Ms. Greenberg

13 can address     it in term s of Mr. Goodwin 's claim in term s

14 of Horace     Smith in term s of Mr. Montemarano 's attempt

15 with Mr. Nathan      king .

16            In term s of the question        asked in front of the

17 jury , as to that question , the government           will withdraw

18 its objection     because      the question    has already    been

19 before     the jury and the government         does n't want the

20 jury to think that it is hidi ng something            in term s of

21 Mr. King 's criminal         history .

22            However , the government        object s to any further

23 question ing about any of his other arrest s and

24 convictions     up to his conviction         that he sustained       in

25 Mississippi     in 19 95 .     There were several    that counsel




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 1 rattle d off .     We have not received         any notice   as is

 2 required    under 609 for any convictions           that are more

 3 than ten year s lapse d, and we're entitle d to advance

 4 written    notice , and that 's not been compli ed with .            So

 5 that 's the government 's position            as it appli es to Mr.

 6 King .

 7            Ms. Greenberg     provide d the Court and counsel

 8 with a copy of that Ninth Circuit              opinion , which also

 9 quote s a Third Circuit        opinion   say ing that not giving

10 advanced    notice   is certain ly a basis to exclude          the

11 testimony .      I didn't    quick ly jot down what Mr.

12 Montemarano      said at the bench , but there are such

13 thing s as possession        of marijuana      and --

14            MR. MONTEMARANO :     Cocaine .

15            MS. JOHNSTON:      Excuse   me ?

16            MR. MONTEMARANO :     Cocaine .

17            MS. JOHNSTON:      Possession      of cocaine .   I assume

18 he 's say ing there was a conviction , that there was also

19 a charge    of a threat      or an assault      with a dead ly weapon

20 that are all old convictions           well outside     that ten -year

21 limit time period .         We have not been given any notice

22 of his intent      to use those convictions .

23 Counsel    has known of those convictions           since we

24 provided    Jenks , which would have been available            to him

25 a week prior to the start of the trial date , which was




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 1 June 6th , and we didn't       get notice    of that .    Had we

 2 gotten   notice   of it , we would have asked the Court to

 3 rule .

 4            We could have brought     it out in our direct

 5 examination .     That 's why the    rule is there , but because

 6 we were not given notice        of his intent     to do so , we did

 7 not cover those issue s in direct         examination , and so

 8 now to allow him to do it in cross-examination                 in

 9 violation     of the notice    requirement , we believe , is not

10 appropriate .

11            MS. GREENBERG:     Your Honor , may I add to that ?

12 This came up with        Mr. Martin 's witness , and just to

13 complete     everything    on the government 's behalf         before

14 he speak s.     Your Honor , the case was just pull ed out

15 today because     we , again , received     the notice    at 11 :30 ,

16 the 9th Circuit      case, and even the 9th Circuit            said

17 that when somebody        had one full business      day to provide

18 the requisite     notice , it was in sufficient       to have them

19 leave to cross -examine       that person    that day without

20 providi ng the notice .       In this case , we gave out Jenks

21 approximately     three week s ago -- week before         trial , so

22 it 's about three week s ago ; is that correct           Ms.

23 Johnston ?

24            MR. MARTIN:     It was May 31 .

25            MS. GREENBERG:     Two week s, and it was during




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 1 th is morn ing when Mr. Martin        and I had a conversation

 2 where he advise d me that he was going to rely on 19 91

 3 convictions    as to Mr. Smith .       They relate      to burglary

 4 and larceny -type offense s, not the type of offense s

 5 that are on trial here .

 6           Your Honor , the ten -year requirement           is listed

 7 specifically     in 60 9(b) and it require s sufficient

 8 advance   written    notice .     We had given written      notice     to

 9 each of the defendant s about the nature             and substance

10 of their convictions .          So not only is the timi ng

11 in correct   in this case , but the substance           of the notice

12 does not give the government          notice   about what

13 convictions    are more than ten year s old that the

14 defense   want s to rely on , so just on both prong s, the

15 sufficiency    of the notice       and the timi ng in the notice

16 are in appropriate      and un allow ed for cross-examination

17 because   they don't comply        with the rule .

18           MR. MARTIN:     May I approach       before   respond ing ,

19 Your Honor ?

20           THE COURT:     Sure .

21           MR. MARTIN:     What government       is referring    to and

22 --

23           THE COURT:     Can I see the exhibit ?

24           MR. MARTIN:     Yes .

25           On May 31 , 2006 , the defense        received    discovery




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 1 from the government , including         the Jenks information

 2 that was jus t referred        to by Madam Trial Counsel .       Your

 3 Honor , what you have now in front of you is the Jenks

 4 material , in no particular        order , I might add , de spite

 5 what the government       has represent ed earlier , and next

 6 to that you see one , two, three, four,           five ream s of

 7 copy paper , each ream having , I guess,          about 500

 8 sheet s.

 9            The point being , there were over 3,000 page s

10 that were submitted       to the defense     that we had to spend

11 time put ting in some kind of discern able order .             Now ,

12 the government     has also mention ed that I'm reach ing

13 back to 19 91 to talk about crime s of dis honesty , to go

14 to his credibility , his trust worthiness.            The fact of

15 the have mat ter is,      I'm reach ing back to crime s that

16 start in 19 95 , go through       19 97 , that isn't the real

17 issue .

18            The real issue is whether       or not there is

19 surprise    here and whether      or not   there is sufficient

20 notice .    The government      certain ly can't claim that

21 they're    surprise d I intend ed to use this information              in

22 my cross-examination       because   they provided     it to us ,

23 but they didn't      provide    it to us in a way that was

24 going to leap off the page or leap from outside               those

25 3,000 page s that they --




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 1           THE COURT:     You 're basically       say ing that they

 2 gave you hay stack .

 3           MR. MARTIN:     They gave us a hay stack .           We found

 4 a needle , and to my surprise , that is the first time in

 5 year s I've had a government         counsel     tell me I'm not

 6 going to let you cross -examine          him on that because          you

 7 didn't    give me written     notice .       I do admit I gave her

 8 written    notice   this morn ing , but Your Honor , the whole

 9 point be hind 40 4(b) and 609(b) is to avoid surprise.

10 And the real question        here is whether       or not they have

11 gotten    sufficient    notice    that the defense     intends    to

12 use .

13           THE COURT:     What is your --

14           MR. MARTIN:     Your Honor , please .

15           THE COURT:     Just one question        is on my mind .

16 Let me hear what your answer          is .     Their position    is

17 that , among other s, the purpose            of this notice

18 requirement    is to allow them to bring it out themselves

19 on direct    examination , and when you don't give it to

20 them early enough , they -- you can't effectively                do

21 that with the witness .          What is your response        to that ?

22           MR. MARTIN:     They can recall        the witness .    He 's

23 subject    to withdrawal .       Presumably     -- Mr. Smith has n't

24 take n the stand yet .       Mr. Nathan       King is still here ,

25 but if Your Honor would let me continue              with my




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 1 argument .

 2           The case that they cite out in the 9th Circuit

 3 was one where the witness        was on the stand very similar

 4 to as we have here now , and the defense           counsel

 5 attempt ed to cross -examine       that witness    regard ing

 6 earlier   mis conduct s and earlier      convictions , and the

 7 Court said , no , we're not going to allow you leave to

 8 do that at this point because         the government      didn't

 9 have any notice .

10           We don't know if the defense        actual ly got this

11 information     or if they got the information         from the

12 government     as is the case here .      They had it , they gave

13 it to us .     There is no surprise .       Your Honor , you've

14 got to read 404 (b) and 609 (b) together , and the reason

15 you have to do that is because          the two essentially        have

16 the same purpose .

17           One , you know , regards      to the accused , the other

18 one regards     witness es .   You will notice     under 404 (b),

19 there is no written       requirement    that burden    is only

20 place d upon the defense , otherwise         the government     could

21 have come over to me and give n me oral notice             a few

22 day s before , and I, as a courtesy , have always            given

23 the government     oral notice , but this time they're

24 say ing , no , we want it in writing , so I gave it to them

25 in writing .




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 1           She didn't   say she was surprise d.          She didn't

 2 say that there 's nothing       that she can do to counter            it .

 3 She has n't argue d any prejudice        whatsoever , and I

 4 submit    to you that I've compl ied with        the rule .     The

 5 rule does n't state to give notice          within     a specific

 6 period    of time , otherwise    I lose the right to do it .

 7 It just says that it has to be in writing , and we've

 8 done that.

 9           I would ask the Court that because            the

10 government    has argue d no prejudice       here , and I've

11 compl ied with    the rule , that Mr. Goodwin          be allow ed to

12 cross -examine    Mr. Horace    Smith with respect        to his

13 prior act s of mis conduct      that go direct ly to his

14 credibility .

15           MR. MONTEMARANO :     Your Honor , if I may .

16           THE COURT:     You may .

17           MR. MONTEMARANO :     I'd like to supplement         Mr.

18 Martin 's comment s with certain        ones more relevant         to my

19 position .

20           Initial ly , when the Jenks became         an issue , I

21 brought    it to the Court 's attention       and to Ms.

22 Johnston 's attention , by letter        to Ms. Johnston , which

23 I faxed to chamber s.       When it was raise d initial ly at

24 the beginning     of the   trial , Your Honor said you would

25 address    it on a witness -by -witness      basis .     The




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 1 government     had its chance       to demand   notice    at that

 2 point .

 3            We made clear we could not make sense of this

 4 material    inter wove n together      in a way that we were not

 5 able to understand        or ascertain .      I will tell the Court

 6 as an officer     of the court , I've got almost           a third of

 7 the Jenks that I haven't           even manage d to figure        out

 8 where it goes yet .        I've got Jenks that I have         in file s

 9 with label s on them that have no relation               to the stuff

10 the government       claim s is there because      I don't

11 understand     what it 's about .

12            Now , that photograph      was taken in my office            by

13 me with my digital        camera    before   I began with the Jenks

14 so I would have a record           of what we receive d.      It was

15 not Bates- stamp ed .      This would easily      be a solvable

16 problem    if I could point the government          to a particular

17 page , Page 27 42 .      We can't do that .

18            Your Honor has said we'll address         it as each

19 witness    come s up .    The government , being happy with

20 that , cannot    now claim there is no prior notice .               We

21 brought    it up and gave the government          a chance    to get

22 well out in front on this issue when it happened , and

23 in deed , the defense      in this case , because        of the

24 wonders    of electron ic mail , has been in constant

25 contact    with --




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 1            THE COURT:      Let me ask you this , Mr.

 2 Montemarano :     I did make note s and could n't keep track

 3 of the specific      thing s you want ed to talk about .

 4            MR. MONTEMARANO :     Yes, sir .

 5            THE COURT:      I could n't tell which of these were

 6 more than ten and which one s were less than ten from

 7 pure memory , but let me ask you this:             Assume you

 8 prevail    on this argument .        We still get to the question

 9 of whether     a ten -year conviction       come s in or not under

10 the test of the probative         value outweigh s the

11 prejudicial     effect .    What's     your position   on that ,

12 assuming    you win on the argument         being made by the

13 government .

14            MR. MONTEMARANO:      For start er s, Ms. Johnston 's

15 suggestion     that 19 96 is the limit is pate ntly wrong .

16 The limit would be , by any sort of mathematic s, 19 89 or

17 19 90 .   Mr. King has spent seven of the last ten year s

18 under lock and key .        That toll s the ten -year -- he went

19 away in Mississippi        in '96 , came out in 2000 or '02, at

20 least four to five year s there , and has been lock ed up

21 for three year s on the in cident conviction,            which he 's

22 current ly serving      time .   So we're going back at least

23 to '90, and probably        to '88 .     Let 's split the

24 difference     and say '89 .

25            The only convictions        beyond   that limit are one




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 1 in '85 for cocaine .       He has said to the grand jury , I

 2 didn't    get involve d in cocaine       until '88 or '89.        I

 3 suggest    that is specifically        admissible    to rebut his

 4 claim under oath .       And in '86 it 's clear ly a crime of

 5 moral turpitude,       assault   with a dead ly weapon .     Now if

 6 Ms. Johnston     did not understand       I was going    to go into

 7 this , I suggest     that the claim is rather         disingenuous .

 8 The rep lication     that this is being done by a

 9 Mississippi    prosecutor    when Mr. King take s a stand in

10 the 19 96 Mississippi      case and a Motion to Suppress

11 where , under oath , Mr. King lie s to a judge out there

12 is set out in the material           they gave to us .

13           THE COURT:      Mr. Montemarano , let me cut you off .

14           MR. MARTIN:      Your Honor , would you like me to

15 tell you --

16           THE COURT:      Gentlemen , do not snatch      defeat       from

17 the jaw s of victory .      Stop .     Stop right there .    All

18 right .    I have re view ed this .      There 's a two -step

19 process    I'm required    to go through .

20           I certain ly think that the probative          value of

21 these convictions       outweigh s the prejudicial       effect ; and

22 second ly , under the circumstances         of the notice    in this

23 case , the notification      came from the government .           And

24 while it might have been nice for them              to bring this

25 out on direct , I don't agree that this is a matter                   that




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 1 would be govern ed by the case from the 9th Circuit

 2 that 's been brought        to my attention .

 3           In addition , the question          there was whether         it

 4 was an abus iv e of discretion            to deny cross-examination          .

 5 I view this as discretionary              and I will    permit    the

 6 cross-examination      .    All right .      Now , we're going to

 7 take a five -minute        recess .

 8           MR. MONTEMARANO:        Your Honor , while we're on

 9 this subject , again , I don't want to snatch               defeat .

10           THE COURT:       Don't snatch      defeat .

11           MR. MONTEMARANO:        Yes, sir .     However    can we be

12 clear how far back I'm going to be permitted                 to go , or

13 can we do that after the break ?

14           MS. JOHNSTON:       Can we have some notice            of what

15 he 's going to go into , even though            we haven't       been

16 give n the notice      we're entitle d to under the rule ?

17 Whether   we provided       him the document      or not , we don't

18 know what he's going to use           .

19           THE COURT:       Mr. Montemarano , will you please

20 give her some notice         of what you 're going to do ?

21           MR. MONTEMARANO :       I will .

22           THE COURT:       You had some note s there .

23           MR. MONTEMARANO :       Yes, sir.

24           THE COURT:       If you need to write them down and

25 give them to her , give them to her , and it would help




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 1 if you wrote it        down and gave it to me , too , so I can

 2 take a look at it .

 3            MR. MONTEMARANO :    Absolute ly, Your Honor .

 4            THE COURT:     And if you want to have a copy made ,

 5 we'll make copies        for you , but I need to see them .        And

 6 what you should        do is to make certain     you go with the

 7 young er than tens first .       And then I will take a look

 8 in more de tail .

 9            MS. JOHNSTON:     Your Honor , can we have an Order

10 from the Court that we receive          notice   of what they

11 intend   to use for all future       witness es at least     a

12 business    day prior to them call ing those witness es?

13            THE COURT:     Counsel , I want you to     give Ms.

14 Johnston    notice     of what specific   thing s you intend     to

15 use at least     a day before    so we don't have this food

16 fight again .     All right ?

17            MR. HALL:     Of course , Your Honor , we don't know

18 --

19            MR. WARD:     As so on as we get notice     of what

20 witness es are going to be , Your Honor .

21            MS. JOHNSTON:     Your Honor , they have been

22 get ting not ic e of who the witness es are going to be and

23 they have --

24            THE COURT:     If there 's a problem , Mr. Ward , you

25 let me know .




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 1           MR. WARD:    If we get notice        the next day , we

 2 will give responsive       notice , I mean when we know who

 3 they're    going to call .

 4           THE COURT:    T he faster    they give you the notice ,

 5 the faster      you can give notice     back because     I don't

 6 want to have trial by ambush          and surprise .     If I have

 7 to stretch      it out that they get two day s' notice           to

 8 secure    this problem , I'll do it .         I'm not prepared        to

 9 do that yet .      I'm asking     you -all to behave    yourselves .

10 Counsel , I'm going to take a precise ly fi ve-minute

11 recess.     I want to have this jury back in here at ten

12 minute s of .

13                   (Off the record      at 3:46 p.m. )

14                   (On the record     at 3:56 p.m. )

15           THE COURT:     Please    be seat ed .    All right .     All

16 right .    Now , Mr. Montemarano , I have the list here of

17 three con victions     that I assume        are one s -- please       be

18 seat ed -- that are one s that have a -- the completion

19 of con finement     more than ten year s ago ?

20           MR. MONTEMARANO :       Correct

21           THE COURT:     Correct ?    And the other one s are all

22 within    the ten year s; correct ?

23           MR. MONTEMARANO :       Yes, sir .

24           THE COURT:     What are the specific        fact s and

25 circumstance s that outweigh         prejudicial    effect   on these




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 1 three ?

 2           MR. MONTEMARANO :        Court 's indulgence , just for a

 3 second , because     I want to make sure I'm giving the

 4 correct    reference     to the Court .

 5           19 86 -- excuse    me , 19 85 , he was arrested     in

 6 Washington     for possession      of -- depend ing on when you

 7 ask him in 19 96 , my understand ing is that he admit s to

 8 having    been possession     of cocaine .

 9           THE COURT:      Let me ask you this :       You referred ,

10 I thought     in your colloquy , to grand jury testimony .

11 You weren't     referring    to his direct      testimony ; were

12 you ?

13           MR. MONTEMARANO :        This is -- so the Court is

14 clear , Mr. King testifi es in 19 96 on the 19 th of

15 September .

16           THE COURT:      Excuse    me , can you take the witness

17 back out for a few minute s?           While we're tak ing him

18 out , I want to tell you that I'm please d to advise               you

19 that we now can switch        off the monitor s for the jury .

20 We now know how to do it .          So if we need to turn them

21 off , we'll turn them off when the appropriate             time

22 come s.    All right .     I didn't think      it was appropriate

23 to do it with him --

24           MR. MONTEMARANO :        You're   right , Your Honor .    I

25 should    have thought     of that .




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 1          THE COURT:        Go ahead .

 2          MR. MONTEMARANO:           This come s from

 3 cross-examination     .

 4          THE COURT:        During    what , the grand jury ?

 5          MR. MONTEMARANO:           In a Motion to Suppress       in the

 6 Mississippi     arrest     in 19 96 where he is quizzed       about

 7 his prior record , and he admit s to many an '85

 8 conviction     in D. C. , and '86 conviction           in D. C ., and

 9 an '87 PWID in Maryland .            The '86 was assault     with a

10 dead ly weapon ; the 85 was possession , apparent ly it

11 says cocaine .      I cannot    find the reference , and I did

12 not highlight      my copy , but when he 's asked in front of

13 our grand jury here , he admit s to sell ing marijuana                  and

14 PCP at the time .         So he certain ly admit s to having           done

15 it , but I believe        --

16          THE COURT:        He has n't testifi ed to that on

17 direct   today .

18          MR. MONTEMARANO:           No .

19          THE COURT:        So how is it impeachment        of what he

20 said today ?

21          MR. MONTEMARANO:           It 's a question    of his

22 character .     His prior narcotic s distribution           going back

23 ten year s before     the Mississippi         arrest , which he 's

24 free ly admit today previously             under oath , either    in

25 front of the grand jury or in Mississippi .




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 1            THE COURT:    Okay .    So that is your answer        with

 2 respect    to all three of these convictions ?

 3            MR. MONTEMARANO :      Yes , Your Honor .

 4            THE COURT:    Ms. Johnston .

 5            MS. JOHNSTON:      Your Honor , my problem     is sort of

 6 two -fold .     One is that I don't know      if counsel     is going

 7 to intend      to say that he lie d between      -- before      the

 8 grand jury because       he said one thing in Mississippi             and

 9 another    thing in the grand jury , which we would object

10 to because      that 's not impeach ing him concern ing his

11 testimony      here today .    That would be evidence      of

12 extraneous      matter s that are not before      this jury .

13            So , if that 's what counsel     is intend ing to , then

14 I would object      to that.      We still object     to the use of

15 these convictions       because    of the issue with 609 .        They

16 don't go to his credibility          as a witness .     They go to

17 the fact that he is an admitted          drug deal er , which he

18 has admitted      in the past , and I told the Court I was

19 going to withdraw       my objection    to the first question

20 because    -- I will do that in front of the jury because

21 if the Court is going to let it in , I should             have had

22 notice .      We would have brought     it out in our case , so I

23 don't -- I want to limit the prejudice            the government

24 is going to in cur with        the jury for having      not bring ing

25 it out .




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 1           THE COURT:      I will permit    you to    withdraw     it .

 2           MS. JOHNSTON:      I think it 's im proper     for counsel

 3 to introduce     evidence    of specific    prior incident s where

 4 the defense    counsel     think s he can prove that a witness

 5 has lie d because       I don't think   that 's the proper        manner

 6 of impeach ing him .

 7           THE COURT:      I think you can im peach him with

 8 respect    to matter s that he lie d about today in his

 9 direct    testimony .     Now , it may very well be that you

10 impeach    him with something      he said in a transcript             in a

11 Mississippi    proceed ing , but I don't know why it would

12 be appropriate     to go into his later grand jury

13 testimony    and delve into in consistenci es there .

14           I mean , you're    using this examination        for the

15 purpose    of impeach ing him as a witness          today based on

16 what he said today , and I don't think           you should       go

17 that far , Mr. Montemarano .        So if you would , you may ,

18 as I've already      indicated , use the young er convictions .

19 She 's going to withdraw       her objection     in any event as

20 to the more than ten -year -old convictions .

21           You may use them in examination           of this witness .

22 If he deny s them , you can use the transcript             from

23 Mississippi    you just mention ed .       I don't think     we need

24 to go into that .        He said something    late r in front of

25 the grand jury here that 's in consistent            with the




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 1 Mississippi .

 2          MR. MONTEMARANO :       My proffer    of the Court is if

 3 he told the grand jury he got involve d in cocaine                  in

 4 '88 or '89 .

 5          THE COURT:        And you know it happened        earlier

 6 than that ?

 7          MR. MONTEMARANO :       He 's already   admitted      it .       I

 8 would intend      before    I get to that question        to inquire

 9 about his '86 Mississippi         possession .

10          THE COURT:        If he says something        in consistent

11 that that would go to , if he says something               on cross

12 that 's in consistent , you can pound him in two on that .

13          MR. MONTEMARANO :       Thank you , Your Honor .

14          THE COURT:        Until he says something        that 's

15 in consistent .     I mean , let 's see where he goes with it .

16          MR. MONTEMARANO :       I think I understand .

17          THE COURT:        Look , we're going be argui ng until

18 4:30 , and then we're going to send the jury home .                   I

19 don't want to go too long .

20          MS. JOHNSTON:        The problem    now is counsel         is

21 asking   him a question       about another    act .     He should        be

22 bound by his answer s because        it 's not something        that

23 goes to his direct         examination .    He is going to ask him

24 about statement s that he may have           made in Mississippi

25 before   -- during    a motion s hear ing about his criminal




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 1 history .

 2           THE COURT:     He 's not going to go there unless

 3 the witness     deny s the conviction .

 4           MS. JOHNSTON:      I just want to make sure that

 5 that 's --

 6           MR. MONTEMARANO:       That 's what I understood , Your

 7 Honor .

 8           THE COURT:     My ruling , hopi ng that I'm right , is

 9 that you may inquire       as to these convictions , and I'm

10 going to give you latitude          to do that , but I don't      want

11 to have you wandering       off into transcript s if you don't

12 need to .     If the witness     says yes, sir , I was convict ed

13 of that and that 's what it said in Mississippi , you

14 don't wander     into that Mississippi       transcript .

15           MR. MONTEMARANO:       Of course   not .

16           THE COURT:     All right .    Bring the jury in .

17           Let me re mind you , Counsel , that the jury will

18 be here at 10:00 .      I'm going to ask that everybody           be

19 here by quarter      of 10:00,     just in case pesky little

20 matter s arise that you would like to bring to my

21 attention , so I will      be on the bench at 9:00 with a

22 guilty    plea , so I should     be finish ed up by quarter       of

23 10:00 at the latest       unless    the defendant    is late or

24 something .

25                  (Witness    resume s the stand .)




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 1                    (Jury return s at 4:04 p.m. )

 2           THE COURT:      All right , you may proceed .

 3           MR. MONTEMARANO :       Thank you , your Honor .

 4           THE COURT:      Ms. Johnston ?

 5           MS. JOHNSTON:        Your Honor , based on the

 6 additional       information   the government    received , the

 7 government       will withdraw   its objection .

 8           THE COURT:      All right .   The objection     is

 9 withdrawn .       You may proceed , Mr. Montemarano .

10           MR. MONTEMARANO :       Thank you, Your Honor .

11           BY MR. MONTEMARANO :

12 Q.        Okay .    Let 's re -establish   where you are , Mr.

13 King .    You're right now do ing 20 -year , non -parole

14 federal    sentence    from your arrest     and conviction      in

15 Indianapolis ; correct , sir ?

16 A.        Yes .

17 Q.        That was for about 17 and half kilo grams of

18 cocaine , give or take ?

19 A.        Yes .

20 Q.        Under the sleep er of your cab ; correct , sir ?

21 A.        Yes .

22 Q.        It 's fair to say that 's not your first arrest

23 under those circumstance s?

24 A.        No .

25 Q.        Not your first con viction       under those




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1 circumstance s; correct , sir ?

2 A.         No.

3 Q.         19 96 , almost    the same thing happened     to you in

4 Pearl , Mississippi ; did it not , sir ?

5 A.         Yes .

6 Q.         You received      a six -year sentence    from that ?

7 A.         Yes , I did .

8 Q.         You got out about when , if you recall ?            2000 ?

9 2002 ?

10 A.        Two -- about 2000 , 2001 ?

11 Q.        2000 or 2001 .      So it would be fair you hadn't

12 been on the street         for more than maybe two year s top s

13 when you were pick ed up in Indianapolis ?

14 A.        Yes .

15 Q.        Okay .   And your 19 96 arrest    in Mississippi , that

16 was n't your first involve ment in cocaine ; was it , sir ?

17 A.        Yes , it -- I had a PCP charge .         That was it .

18 Q.        When did you start deal ing cocaine ?

19 A.        It was back in 19 96 .     I mean , between    -- I got

20 caught    -- I got busted      in '96 , arrested   in '96 .

21 Between    '94 and '96.

22 Q.        You didn't      start deal ing cocaine    in '88 or '89 ?

23 A.        No .

24 Q.        Out of abundance      of caution , may we approach ,

25 Your Honor ?




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 1          THE COURT:      You may .

 2                    (At the bar of the Court.)

 3          MR. MONTEMARANO :        My copy to --

 4          THE COURT:      Okay .

 5          MR. MONTEMARANO :        After his arrest , is there a

 6 prior arrest     in D. C. ?    Did there come a time when you

 7 got involve d in cocaine ?         Yes, sir .    Approximately     when

 8 was that ?    Approximately       -- had to be about '89 .        He

 9 just said '96 .

10          MS. JOHNSTON:        I think it goes on in the grand

11 jury to explain      he was the middleman .

12          THE COURT:      You may want to clear that up .

13          MR. MONTEMARANO :        Fair enough .

14          THE COURT:      I mean , it sounds        to me like he 's

15 interpret ing your question         to be when you're      deal ing ,

16 and he may think that there 's much more a quantity                he

17 was n't deal ing .

18          MR. MONTEMARANO :        That 's fair .

19          THE COURT:      And it goes into another         matter .

20          MR. MONTEMARANO :        I totally     agree and thought       I

21 would approach .

22                        (Back in open court .)

23          BY MR. MONTEMARANO :

24 Q.       Let me ask the question         a little     different ly ,

25 Mr. King , because     I don't want to confuse          you .   Before




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 1 19 96 , the arrest     in Mississippi , were you involve d with

 2 cocaine    in any way ?

 3 A.        Basic s.

 4 Q.        Do you recall      testify ing in front of the      grand

 5 jury here in this court house?

 6 A.        I don't recall .

 7 Q.        Let 's cut right to the chase .        Do you remember

 8 Ms. Johnston       asking   you was there a time when you got

 9 involve d with co caine,       and you're   tell ing her about

10 19 89 ?   Does that refresh      your recollection ?      Does that

11 sound wrong ?

12 A.        Yeah .     I got pick ed up -- I was charge d, but I

13 never got charge d on the charge .

14 Q.        Just asked you if you were involve d.           Just

15 because    you don't get caught      does n't mean you're        not

16 involve d; does it , sir ?

17 A.        Listen , I was at a house .       I was on a block .

18 They sweep ed the whole block and went to court of

19 what's    his name .    I never got charge d for that .          I was

20 on the block when they came and swept the whole

21 neighborhood .       They lock ed everybody    up on the block .

22 Q.        So you weren't      charge d?

23 A.        No , I was n't charge d.

24 Q.        How about in 19 87 in Maryland , were you charge d

25 there ?




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1 A.       Yeah , what's    his name charge d, PCP --

2 Q.       Is that with intent ?

3 A.       The PCP charge ?

4 Q.       PCP, not cocaine .

5 A.       No .

6 Q.       And that '87 charge , you would have been , let me

7 see if my math ser ves, 22 ?

8 A.       I was about 21 year s old when I got my charge .

9 Q.       You're    41 now ?

10 A.      Right , yes .

11 Q.      It 's fair to say you've       been involve d with

12 drug s, one way or another , for about 20 year s?

13 A.      Yes , you could say that .

14 Q.      Now , it 's your testimony      that you 're repeat edly

15 bring ing drug s to Maryland      on behalf   of your father      for

16 Ms. Martin ; is that a correct       statement ?

17 A.      Yes .

18 Q.      Every time you bring the drug s, Ms. Martin            pay s

19 you ; is that a correct      statement ?

20 A.      She paid when -- she pay s when I'd come back .

21 Q.      But when she came and gave you something ,

22 correct --     rather , when you came and gave her

23 something , she did not give you money in return            at that

24 point ; is that correct ?

25 A.      No .




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 1 Q.      And you testifi ed on direct          that she could n't

 2 pay then ; isn't that what you said ?           Correct ?

 3 A.      Right .

 4 Q.      But it 's your testimony          that she eventually    paid

 5 your father ; correct ?

 6 A.      Yes .

 7 Q.      In fact , she was n't pay ing you ; correct ?         She

 8 was pay ing your dad ?

 9 A.      Right .

10 Q.      That 's Steve Brim .

11 A.      Yes .

12 Q.      In fact , it 's your testimony         that you would haul

13 the cocaine     cross -country .   What is that , three - or

14 four -day trip ?      Three -day trip ?

15 A.      Four -day trip .

16 Q.      Four -day trip , and then you 'd haul the money

17 back to LA, another       four -day trip ?

18 A.      Yes .

19 Q.      You never look ed in those duffel          bag s full of

20 money ; correct , sir ?

21 A.      No .

22 Q.      You never knew what was in side ; correct ?

23 A.      I knew there was money in there .

24 Q.      You understood       it was money , but you never

25 look ed ; correct ?




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 1 A.        Right .

 2 Q.        There came a time when you were haul ing not just

 3 $20,000 , but $200 ,000 back across the country           in the

 4 sleep er cab of your truck ; correct , sir ?

 5 A.        Yes .

 6 Q.        You had a flat tire in Arizona , was it ?

 7 A.        Yes .

 8 Q.        Where in Arizona      was it exact ly ?

 9 A.        Eloy .

10 Q.        Excuse    me ?

11 A.        Eloy .

12 Q.        Eloy , that 's it .    My memory   is fadi ng , I'm

13 afraid , sir .      In Eloy , Arizona , you're   stuck ; correct ,

14 sir ?

15 A.        Right .

16 Q.        Arizona , that 's right next door to California ,

17 you're    most of the way home ?

18 A.        Yes .

19 Q.        You have to pick up the      phone to call somebody

20 to give you some help with that flat tire ; right ?

21 A.        Yes .

22 Q.        Tire s for a big old tractor -trail er like your s,

23 they're    not cheap .     They cost a couple    hundred dollars

24 or something ?

25 A.        Yes , they do .




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 1 Q.       You pick ed up the phone and you call ed Paulette

 2 Martin   to get help with your flat tire ; correct , sir ?

 3 A.       Yes .

 4 Q.       This is while you're       maki ng this trip back to

 5 California      with $200,000   in cash sitting      under your

 6 hinny because      you're , like , sitting    -- no , that 's the

 7 sleep er that 's back here , so it 's , like , right be hind

 8 you ; right ?

 9          Sir , you're    drivi ng along , there's     $200,000    back

10 here ; correct , sir ?

11 A.       Yes .

12 Q.       So you went all the way to the phone , pick ed up

13 the phone and call ed Paulette        Martin ; right ?     Right ?

14 A.       Yeah .

15 Q.       And she went to Western        Union and sent you $200 ;

16 is that right ?

17 A.       Excuse     me , can I have a minute ?

18 Q.       Please .

19 A.       When you said that with the money that Ms.

20 Martin   send me , I was n't haul ing no money back .          Not

21 every time I come up here , that does n't mean I was

22 haul ing drug s to her .

23 Q.       You testifi ed on direct       you were going back with

24 a cab full of money and got a flat tire , sir .

25          MS. JOHNSTON:       Objection .




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 1           THE WITNESS:      No, sir .

 2           MS. JOHNSTON:      I'll withdraw     it .

 3           BY MR. MONTEMARANO :

 4 Q.        Now you're    tell ing us that trip was n't with

 5 money ?

 6 A.        No .

 7 Q.        Court 's indulgence .

 8           Now , remember    being asked some question s about

 9 one of the call s, and Ms. Martin         discuss ing Alicia       Keys

10 and promoting       concert s?    Do you remember     that ?

11 A.        Yes .

12 Q.        At the time you're       talk ing to her , you're      lock ed

13 up ; is that a fair statement ?

14 A.        Yes .

15 Q.        So you're    say ing you didn't     know anything      about

16 that ; is that correct ?         You didn't   know anything      about

17 her involve ment with concert s; is that correct ?

18 A.        No , I didn't .

19 Q.        In fact , when you're      on the phone with her ,

20 you're    talk ing about thing s that are important            to you ;

21 correct , sir ?

22 A.        Yes .

23 Q.        They're    not giving    you furlough s from the Marion

24 County jail to go concert s, now ; are you ?

25 A.        No .




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 1 Q.         In fact , that 's not the only phone call you

 2 talk ed to her about concert s, did you ?

 3 A.         I recall    that was it .

 4 Q.         You don't recall        there being anywhere        else in

 5 any of the phone call s you talk ed to her about

 6 concert s?

 7 A.         No .

 8 Q.         You don't recall ?

 9            MR . MONTEMARANO:        Your Honor , if could ask Task

10 Force Officer        Eveler   to cue up Phone Call No. 2 --

11 excuse    me , Phone Call No. 1 at Page -- Court 's

12 indulgence , please -- Page 6.            It 's right about where

13 the government        stopped     play ing that call .   Why don't we

14 go from there ?        Can you do that , Task Force Officer

15 Eveler    -- or Detective         Eveler ; is that more correct ?

16            DETECTIVE    EVELER :     Ei ther one .

17            MR. MONTEMARANO:         This is on Page 6 of your

18 transcript , ladies and gentlemen of the jury              .     Towards

19 the bottom        of the page .

20            DETECTIVE    EVELER :     I said yes , but --

21            MR. MONTEMARANO:         Take your time .     Appreciate

22 your assistance .

23            MS. JOHNSTON:        Perhaps   Counsel    could move to

24 another     area of cross-examination         and we can get the

25 computer     boot ed up and turn ed on .       We didn't       know it




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 1 was going to      be need ed .

 2           THE COURT:       We'll have him holler     when he 's

 3 ready .

 4           MR. MONTEMARANO :      That 's fine, Your Honor .

 5 Thank you .

 6           BY MR. MONTEMARANO :

 7 Q.        You told us that your trip s back here to deliver

 8 cocaine   to Paulette      Martin   were under taken with this

 9 gentleman     by the name of Louis ; correct ?

10 A.        Yes .

11 Q.        And unless      I'm very wrong , you told the

12 government     and the grand jury what you knew about

13 Louis , right ?

14 A.        Yes .

15 Q.        You told them he 's African-American ; correct ?

16 A.        Yes , he is .

17 Q.        Age 54 , give or take ?

18 A.        Yes .

19 Q.        About 5'9" , right ?

20 A.        Yes .

21 Q.        About 200 pounds , 210 , something        like that ?

22 A.        Yes .

23 Q.        You don't know his last name .

24 A.        No , I don't .

25 Q.        You don't know where he live s?




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 1 A.      No , I don't .

 2 Q.      You don't know if he 's marri ed ?

 3 A.      No , I don't .

 4 Q.      This is a guy you're       drivi ng cross -country      with ,

 5 eight -day round trip s how many       different    time s?

 6 A.      About four time s.

 7 Q.      About four time s.       So four time s eight , that 's

 8 32 -- you spent a month with this gentleman            and you

 9 don't know any more than his height          and his weight      and

10 his complex ion ?

11 A.      No , I don't .    I told her the weight       and height

12 and the complexion .

13 Q.      This guy 's been work ing with your dad , right ?

14 A.      Yes .

15 Q.      It 's your testimony      when you would pick up the

16 money from Paul Mart in's house , you would park a few

17 block s away at a shop ping center ?

18 A.      Yes .

19 Q.      You would walk to her house ; correct ?

20 A.      Yes .

21 Q.      That 's the house on Nicholson ?

22 A.      Yes .

23 Q.      Northeast     D. C. ?

24 A.      Northeast .

25 Q.      You'd pick up , like , I guess , a duffel bag full




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 1 of money ?

 2 A.         Yes .

 3 Q.         You'd go march ing back to your truck , right ?

 4 A.         Yes .

 5 Q.         And you did that with $20,000 ; right ?

 6 A.         Yes , I did .

 7 Q.         And you did it with $200,000 , and you're              walk ing

 8 down the street s of Washington , D. C. ; is that a fair

 9 statement ?

10 A.         Yes , it is .

11            MR. MONTEMARANO :       Okay .   Are we close ?

12            DETECTIVE    EVELER :    Fair ly .

13            BY MR. MONTEMARANO :

14 Q.         I'll go on .

15            During   all those trip s up and down the block s,

16 nobody     ever disturb ed you or accosted          you or anything

17 else ; right ?

18 A.         No .

19 Q.         You 've spoken     about a woman Paulette          Martin

20 live d with , Granny .

21 A.         Yes .

22 Q.         Do you know Granny by any other name ?

23 A.         Probably    told me .    I forgot     her na me.     I know

24 Granny .

25 Q.         You forgot      her name .   Eugene    Bird , the gentleman




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 1 you mention ed , Gene Bird also .        That 's your uncle ;

 2 right ?

 3 A.        Yeah .

 4 Q.        Do you know Granny 's his cousin ?

 5 A.        Yes .

 6 Q.        It didn't     occur to you to mention      that ?

 7 A.        I don't know     her name .

 8 Q.        And you've     testifi ed earlier    today that you're

 9 not expect ing any sort of benefit          for your testimony

10 today ; is that correct ?

11 A.        Yes .

12 Q.        So you're     not expecting    the government       to ask

13 the judge in Indiana        to cut you some kind of break ?

14 A.        No.

15 Q.        So , if they were to tell the judge you want a

16 short er sentence , you'd tell them no ; right ?

17           MS. JOHNSTON:      Objection .

18           THE COURT:      Over ruled .

19           BY MR. MONTEMARANO :

20 Q.        You don't want any kind of benefit          for your

21 testimony    here ; is that right , sir ?

22 A.        Yes .

23 Q.        You don't .     You're   tell ing us here under oath ,

24 God is your witness , when they offer you some kind of

25 break off that 20 -year bit , you're          going to say , nah ,




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 1 that 's okay ?

 2            MS. JOHNSTON:         Object ion .

 3            THE COURT:       Sustained .

 4            BY MR. MONTEMARANO :

 5 Q.         I asked you earlier           about you want ing a private

 6 lawyer     and you said not really          out in Indiana ; correct ?

 7 Did you ever talk to Paulette              at all about money for a

 8 lawyer ?

 9 A.         I don't recall        it .

10 Q.         You don't recall ?           You don't recall      her

11 suggest ing maybe she could send you about $1,000 ?

12 A.         I don't    recall .

13 Q.         Maybe that 75 was $7,500 the lawyer                was going to

14 charge     you ?

15 A.         I don't recall        it .

16 Q.         You don't recall        anything     like that ?

17 A.         No.

18 Q.         You weren't      very happy with the job he did ; were

19 you ?

20 A.         Excuse    me ?

21 Q.         You weren't      very happy with the job he did on

22 that case that got you 20 year s; were you ?

23 A.         I mean , from the statute s of the guideline s in

24 the book , that 's what it was .

25 Q.         But you thought        that search     should   have been




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 1 thrown   out ; didn't       you ?

 2 A.       Excuse    me ?

 3 Q.       You thought        that search        of your truck should

 4 have been thrown      out ; didn't        you ?

 5          MS. JOHNSTON:          Objection      to the      relevance .

 6          THE WITNESS:         No .

 7          THE COURT:         Wait a minute .

 8          Sustained .        Dis regard    the answer .

 9          MR. MONTEMARANO :            Your Honor , at this time I

10 need to go on to the transcript .                 We're seconds      away .

11          THE COURT:         Are we seconds        away ?

12          DET ECTIVE       EVELER :     Yes .

13          THE COURT:         All right .

14          BY MR. MONTEMARANO :

15 Q.       Let 's go back to your dad 's cocaine                 business   for

16 a moment .      He's send ing cocaine          here , you're     taking

17 money back .      You're not get ting paid for this ; right ?

18 A.       No .

19 Q.       But he did help            you buy your truck ; right ?

20 A.       Yes .

21 Q.       Your business        -- you've        told us your business

22 was haul ing produce         west and commercial           freight   west ;

23 is that a fair statement ?

24 A.       Yes .

25 Q.       The fact is , your business              was haul ing cocaine ;




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 1 was n't it ?

 2 A.        My business     haul ing cocaine ?

 3 Q.        Well , when you were asked by Ms. Johnston             what

 4 did you do , you said I tran sported         produce      and then I

 5 return ed with commercial        freight .

 6 A.        Yes .

 7 Q.        The fact is,     you're hauling      cocaine .    That 's

 8 where you're       maki ng your money ; right ?

 9 A.        No .

10 Q.        You didn't     ever make money haul ing cocaine ?

11 A.        No .     I live d off my paycheck s off my loads .

12 Q.        Lionel     Nunn never paid you $5,000      a load to

13 bring cocaine ?

14 A.        That was back in -- that was back in the 90s.

15 Q.        Back in the 90s ?

16 A.        Yes .

17 Q.        So long before     '96 , you're    haul ing cocaine     in

18 your truck ; right ?

19 A.        Yes .

20 Q.        Okay .     In fact , when you're     arrested    in 19 96 ,

21 you talk ed to the police ; correct ?          You told them you

22 were taking       that cocaine   to New Jersey ; didn't       you ?

23 A.        Yes .

24 Q.        You didn't     say anything   about Paulette       Martin ;

25 right ?




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 1 A.         No .

 2 Q.         Didn't    say anything     about Lionel    Nunn ?

 3 A.         No.

 4 Q.         Didn't    say anything     about anybody , but you lie d

 5 to them ; didn't       you ?

 6 A.         No , I did not .

 7 Q.         You were tak ing that       cocaine   to New Jersey ?

 8 A.         Yes .

 9 Q.         Why don't you go ahead and play it , Detective

10 Eveler , please ?

11            MR. WARD:      What page is this ?

12            MR. MONTEMARANO :        Page 6 of the transcript        book .

13            (Audio record ing begin s play ing at 4:24 p.m .)

14            (Audio record ing stop s play ing at 4:25 p.m. )

15            BY MR. MONTEMARANO :

16 Q.         The call that Ms. Johnston          asked you about back

17 on Page 58 , sir , was a call on the date of -- bear with

18 me , please .       It 's at 5:48 p.m. on the 26 th of December ,

19 the day after Christmas ?

20 A.         Yes .

21 Q.         That 's when you said , I remember         us talk ing

22 about concert s then , but you didn't            seem to remember

23 this call .        This call took place on the 14 th , two week s

24 before .     Fourteenth        of December   at 8:12 in the morn ing .

25 A.         Yes .




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 1 Q.        First thing in the morn ing , you don't remember

 2 that call ; correct , sir ?

 3 A.        Yes , I do now .

 4 Q.        You do now ?

 5 A.        I mean , you asked me the question .         I thought

 6 you was talk ing about Kansas        City , not St. Louis and

 7 Detroit .

 8 Q.        Okay .    If I could turn your attention        as well to

 9 the second     call in the book , the one on the 21st that

10 begin s on Page 12 .      Would you be surprise d to learn

11 that four page s in on that one , you're           talk ing about

12 another     trip out of town ?     I'm going to be on the road

13 a lot ?

14           Do you remember      Paulette   say ing that to you ?

15 Does that refresh       your recollection , sir ?      Would you

16 like me to play the call in -- excuse            me , would you

17 like Detective       Eveler   to play the call ?

18 A.        You can play it .      You can play it .

19 Q.        Do you need to hear it or does that refresh             your

20 recollection       so that three of the six call s here , she 's

21 tell ing you about being out of town promoting             tour s and

22 concert s; correct ?      Is that a fair statement ?

23 A.        Yes .

24 Q.        Okay .    Now , you had mention ed at one point you

25 met a gentleman       by the name of Harvey.




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 1 A.         yes .

 2 Q.         That would that be Harvey       Washington ?

 3 A.         Yes .

 4 Q.         Okay .   He 's an African-American       gentlemen ?

 5 A.         Yes , he is .

 6 Q.         Little   heavy set ?

 7 A.         Yes .

 8 Q.         About 40 ?      Kind of look s like Luther       Van dross in

 9 a young er day maybe ?

10 A.         Yes .

11 Q.         That 's a fair description      of him ?    And he

12 promoted     fashion    show s; did he not , sir ?

13 A.         Yes , he did .

14 Q.         Ms. Martin      help ed him promote    fashion    show s;

15 correct , sir ?

16 A.         Excuse   me ?

17 Q.         Ms. Martin      help ed him promote    fashion    show s; did

18 she not , sir ?

19 A.         From my understand ing , that 's what she say .

20 Q.         That 's your understand ing ; correct , sir ?          Did

21 you ever go to any of those show s?

22 A.         No , I've never been to one of them .

23 Q.         You had no reason      to think that was n't

24 happening , now ; did you ?

25 A.         I don't know .      I know Harvey     -- Harvey




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 1 Washington , he did show s.

 2 Q.         So you certain ly know about that ; correct , sir ?

 3 A.         Yes .

 4 Q.         Okay .    Court 's indulgence .

 5            MR. MONTEMARANO :      Will the Court be great ly

 6 offend ed if I ask if we can break for the day ?             I've

 7 got more question s, but I want to make sure I'm not

 8 repeat ing myself .       I'd like to organize      my note s.

 9            THE COURT:     Well , do you int end to repeat

10 yourself     the next day ?      You may want to go a little

11 further , and then you can finish            and we'll switch    to

12 other counsel        tomorrow   morn ing .

13            MR. MONTEMARANO :      Thank you , Your Honor .

14            BY MR. MONTEMARANO :

15 Q.         So all those phone call s that we listened            to

16 when you were in the jail talk ing about paperwork               was

17 really   talk ing about the $75,000          you claim Paulette

18 Martin   didn't      pay ; is that a correct     statement , sir ?

19 A.         Yes .

20 Q.         Every one of those call s about the paper s, you

21 never use d the word debt ; correct ?

22 A.         No .

23 Q.         Never talk ed about owi ng anything ; correct ?

24 A.         Right .

25 Q.         Never said anything       about that was due my dad ;




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 1 correct ?

 2 A.         Yes .

 3 Q.         Now you're   tell ing me here today , three year s

 4 later , you're      tell ing us that 's what these call s mean ;

 5 right , sir ?

 6 A.         Yes .

 7            MR. MONTEMARANO :       No further   question s, Your

 8 Honor .

 9            THE COURT:    All right .     Perfect   timi ng .   We're

10 do ing better      than Amtrak .

11            Ladies and gentlemen      , we will adjourn    for the

12 day .     Please   be back , ready to go at 10 o'clock

13 tomorrow , and counsel      and the parti es should       be here at

14 quarter     of 10:00 so we can take up any preliminary

15 matter s and have the jury in the box ready to go at 10

16 o'clock .     Thank you very much .

17                    (Off the record     at 4:30 p.m. )

18

19

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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 June 14 , 2006.

11

12       I further certify that the foregoing 2           21 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 21st day of April 2008.

19

20

21                                    __________________________

22                                    TRACY RAE DUNLAP, RPR , CRR
                                      OFFICIAL COURT REPORTER
23

24

25




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